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                              No. 21-2683


In the United States Court of Appeals for the Seventh Circuit

                          JANAY E. GARRICK,
                           Plaintiff-Appellee,

                                     v.

                       MOODY BIBLE INSTITUTE,
                          Defendant-Appellant.



           On Appeal from the United States District Court for the
               Northern District of Illinois, Eastern Division
    Case No. 1:18-cv-00573 – Judge John Lee, Magistrate Judge Young Kim

                      APPELLANT’S APPENDIX

      Christian M. Poland                  Daniel H. Blomberg
      Counsel of Record                    Luke W. Goodrich
      BRYAN CAVE LEIGHTON                  Laura Wolk Slavis
       PAISNER LLP                         Colten L. Stanberry
      161 N. Clark St.,                    THE BECKET FUND FOR
       Ste. 4300                            RELIGIOUS LIBERTY
      Chicago, IL 60601-3315               1919 Pennsylvania Ave. N.W.,
      (312) 602-5050                        Ste. 400
      christian.poland@bclplaw.com         Washington, DC 20006
                                           (202) 955-0095
                                           dblomberg@becketlaw.org


                    Counsel for Defendant-Appellant
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                                                                                        APPEAL,KIM,MIDP
                            United States District Court
         Northern District of Illinois − CM/ECF NextGen 1.7.1.1 (Chicago)
                  CIVIL DOCKET FOR CASE #: 1:18−cv−00573

Garrick v. Moody Bible Institute et al                            Date Filed: 01/25/2018
Assigned to: Honorable John F. Kness                              Jury Demand: Both
Case in other court: 21−02683                                     Nature of Suit: 442 Civil Rights: Jobs
Cause: 42:2000e Job Discrimination (Employment)                   Jurisdiction: Federal Question
Plaintiff
Janay E Garrick                                   represented by Jamie S. Franklin
                                                                 Law Offices of Chicago−Kent
                                                                 565 W. Adams St., Suite 600
                                                                 Chicago, IL 60661
                                                                 (312) 906−5048
                                                                 Fax: Active
                                                                 Email: jfranklin5@kentlaw.iit.edu
                                                                 ATTORNEY TO BE NOTICED


V.
Defendant
Moody Bible Institute                             represented by Christian Mark Poland
                                                                 Bryan Cave Leighton Paisner LLP
                                                                 161 North Clark Street
                                                                 #4300
                                                                 Chicago, IL 60601−3206
                                                                 (312) 602−5000
                                                                 Fax: Not a member
                                                                 Email: christian.poland@bclplaw.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

Defendant
Board of Trustees of Moody Bible
Institute
TERMINATED: 11/05/2019


 Date Filed    #     Docket Text
 01/25/2018       1 COMPLAINT filed by Janay E Garrick; Jury Demand. Filing fee $ 400, receipt
                    number 0752−14049484.(Franklin, Jamie) (Entered: 01/25/2018)
 01/25/2018       2 CIVIL Cover Sheet (Franklin, Jamie) (Entered: 01/25/2018)
 01/25/2018       3 ATTORNEY Appearance for Plaintiff Janay E Garrick by Jamie S. Franklin (Franklin,
                    Jamie) (Entered: 01/25/2018)
 01/25/2018          CASE ASSIGNED to the Honorable John Z. Lee. Designated as Magistrate Judge the
                     Honorable Young B. Kim. (meg, ) (Entered: 01/26/2018)
 01/26/2018       4 NOTICE TO THE PARTIES − The Court is participating in the Mandatory Initial
                    Discovery Pilot (MIDP). The key features and deadlines are set forth in the attached
                    Notice which includes the MIDP Standing Order. Also attached is a checklist for use
                    by the parties. In cases subject to the pilot, all parties must respond to the mandatory
                    initial discovery requests set forth in the Standing Order before initiating any further
                    discovery in this case. Please note: The discovery obligations in the Standing Order
                    supersede the disclosures required by Rule 26(a)(1). Any party seeking affirmative
                    relief must serve a copy of the attached documents (Notice to Parties and the Standing
                    Order) on each new party when the Complaint, Counterclaim, Crossclaim, or


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                 Third−Party Complaint is served. (kp, ) (Entered: 01/26/2018)
01/26/2018    5 REQUEST for Waiver of Service sent to Moody Bible Institute on 01/26/2018 by
                Plaintiff Janay E Garrick. Waiver of service due by 2/26/2018. (Franklin, Jamie)
                (Entered: 01/26/2018)
01/26/2018    6 REQUEST for Waiver of Service sent to Board of Trustees of Moody Bible Institute
                on 01/26/2018 by Plaintiff Janay E Garrick. Waiver of service due by 2/26/2018.
                (Franklin, Jamie) (Entered: 01/26/2018)
02/02/2018    7 MINUTE entry before the Honorable John Z. Lee: Initial status hearing set for 4/12/18
                at 9:00 a.m. Judge Lee participates in the Mandatory Initial Discovery Pilot Project
                ("Project"). The Project applies to all cases filed on or after June 1, 2017, excluding
                the following: (1) cases exempted by Rule 26(a)(1)(B), (2) actions brought by a person
                in the custody of the United States, a state, or a state subdivision, regardless of whether
                an attorney is recruited, (3) actions under the Private Securities Litigation Reform Act,
                (4) patent cases governed by the Local Patent Rules, and (5) cases transferred for
                consolidated administration in the District by the Judicial Panel on Multidistrict
                Litigation ("Exempt Cases").For all cases to which the Project applies, Judge Lee
                requires (1) each attorney appearing on behalf of Plaintiff(s) to file a "Certification by
                Attorney Regarding Discovery Obligations Under Mandatory Initial Discovery Pilot
                Project" form within 28 days after the filing of the Complaint and (2) each attorney
                appearing on behalf of Defendant(s) to file the certification form with the Answer. The
                parties are directed to file a joint initial status report four business days prior to the
                initial status hearing. The certification form and initial status report requirements are
                set forth in Judge Lee's standing order regarding the "Mandatory Initial Discovery
                Pilot Project" available on the Courts website. For all Exempt Cases, the parties are
                directed to file a joint initial status report four business days prior to the initial status
                hearing in accordance with the standing order governing "Initial Status Report in Cases
                Exempt from the Mandatory Initial Discovery Pilot Project" also available on the
                Court's website. Mailed notice (ca, ) (Entered: 02/02/2018)
02/06/2018    8 CERTIFICATE by Attorney Regarding Discovery Obligations Under MIDP (Franklin,
                Jamie) (Entered: 02/06/2018)
02/21/2018    9 WAIVER OF SERVICE returned executed by Janay E Garrick. Moody Bible Institute
                waiver sent on 1/26/2018, answer due 3/27/2018. (Franklin, Jamie) (Entered:
                02/21/2018)
03/09/2018   10 ATTORNEY Appearance for Defendant Moody Bible Institute by Christian Mark
                Poland (Poland, Christian) (Entered: 03/09/2018)
03/09/2018   11 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Moody Bible Institute
                (Poland, Christian) (Entered: 03/09/2018)
03/09/2018   12 MOTION by Defendant Moody Bible Institute to stay Court proceedings pending
                termination of EEOC proceeding (Attachments: # 1 Exhibit A)(Poland, Christian)
                (Entered: 03/09/2018)
03/09/2018   13 NOTICE of Motion by Christian Mark Poland for presentment of motion to stay 12
                before Honorable John Z. Lee on 3/14/2018 at 09:00 AM. (Poland, Christian)
                (Entered: 03/09/2018)
03/14/2018   14 MINUTE entry before the Honorable John Z. Lee: Motion hearing held on 3/14/18.
                For the reasons stated on the record, Defendant's motion to stay Court proceedings
                pending termination of EEOC proceeding 12 is denied. The case will proceed on the
                current schedule. Defendant's answer and motion to dismiss shall be due by 4/6/18. A
                motion to stay pending resolution of the motion to dismiss is limited to five pages shall
                be due by 3/31/18; Plaintiff's response shall be due by 3/28/18. Mailed notice (ca, )
                (Entered: 03/14/2018)
03/21/2018   15 MOTION by Defendant Moody Bible Institute to stay discovery pending adjudication
                of Moody's Motion to Dismiss Plaintiff's Complaint (Attachments: # 1 Exhibit s A
                through L)(Poland, Christian) (Entered: 03/21/2018)
03/28/2018   16 RESPONSE by Janay E Garrickin Opposition to MOTION by Defendant Moody Bible
                Institute to stay discovery pending adjudication of Moody's Motion to Dismiss
                Plaintiff's Complaint 15 (Franklin, Jamie) (Entered: 03/28/2018)


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04/06/2018   17 CERTIFICATE by Attorney Regarding Discovery Obligations Under Mandatory
                Initial Discovery Pilot Project (Poland, Christian) (Entered: 04/06/2018)
04/06/2018   18 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant Moody
                Bible Institute [Motion to Dismiss Pursuant to Rule 12(B)(1) and 12(B)(6)] (Poland,
                Christian) (Entered: 04/06/2018)
04/06/2018   19 MEMORANDUM IN SUPPORT OF MOTION TO DISMISS PURSUANT TO RULE
                12(B)(1) AND 12(B)(6) (Attachments: # 1 Exhibit s A through L)(Poland, Christian)
                (Entered: 04/06/2018)
04/06/2018   20 NOTICE of Motion by Christian Mark Poland for presentment of Motion to Dismiss
                for Failure to State a Claim 18 before Honorable John Z. Lee on 4/12/2018 at 09:00
                AM. (Poland, Christian) (Entered: 04/06/2018)
04/06/2018   21 ANSWER to Complaint by Moody Bible Institute(Poland, Christian) (Entered:
                04/06/2018)
04/09/2018   22 STATUS Report (Joint) by Janay E Garrick (Franklin, Jamie) (Entered: 04/09/2018)
04/12/2018   23 MINUTE entry before the Honorable John Z. Lee: Status and motion hearing held on
                4/12/18. Defendant's motion to stay discovery 15 is denied. Discovery shall proceed.
                Oral motion to dismiss Board of Trustees for the Moody Bible Institute is granted.
                Plaintiff's response to Defendant's motion to dismiss 18 shall be due by 5/11/18; reply
                due by 6/1/18. The parties should meet and confer and submit a proposed discovery
                schedule by 4/23/18. Status hearing set for 4/25/18 at 9:00 a.m. Mailed notice (ca, )
                (Entered: 04/12/2018)
04/19/2018   24 MOTION by Defendant Moody Bible Institute for reconsideration of the denial of Its
                request that discovery be limited at this stage to Its constitutional defenses, or in the
                alternative for Section 1292(b) certification (Attachments: # 1 Exhibit s A and
                B)(Poland, Christian) (Entered: 04/19/2018)
04/19/2018   25 NOTICE of Motion by Christian Mark Poland for presentment of motion for
                reconsideration, 24 before Honorable John Z. Lee on 4/25/2018 at 09:00 AM. (Poland,
                Christian) (Entered: 04/19/2018)
04/20/2018   26 TRANSCRIPT OF PROCEEDINGS held on 4/12/2018 before the Honorable John Z.
                Lee. Order Number: 30571. Court Reporter Contact Information: ALEXANDRA
                ROTH, alexandra_roth@ilnd.uscourts.gov, (312) 408−5038.

                 IMPORTANT: The transcript may be viewed at the court's public terminal or
                 purchased through the Court Reporter/Transcriber before the deadline for Release of
                 Transcript Restriction. After that date it may be obtained through the Court
                 Reporter/Transcriber or PACER. For further information on the redaction process, see
                 the Court's web site at www.ilnd.uscourts.gov under Quick Links select Policy
                 Regarding the Availability of Transcripts of Court Proceedings.

                 Redaction Request due 5/11/2018. Redacted Transcript Deadline set for 5/21/2018.
                 Release of Transcript Restriction set for 7/19/2018. (Roth, Alexandra) (Entered:
                 04/20/2018)
04/23/2018   27 Rule 26(f) Report for Mandatory Initial Discovery Pilot (MIDP) / Jointly Proposed
                Discovery Schedule, filed by Defendant Moody Bible Institute. (Poland, Christian)
                (Entered: 04/23/2018)
04/25/2018   28 MINUTE entry before the Honorable John Z. Lee: Status and motion hearing held on
                4/25/18. Plaintiff's response to Defendant's motion to reconsider the denial of its
                request that discovery be limited at this stage to its constitutional defenses, or in the
                alternative for section 1292(b) certification 24 shall be due by 5/18/18; reply no longer
                than five pages shall be due by 5/25/18. Discovery is stayed pending the ruling on the
                motion to reconsider. Status hearing set for 6/6/18 at 9:00 a.m. Mailed notice (ca, )
                (Entered: 04/26/2018)
05/03/2018   29 NOTICE by Christian Mark Poland of Change of Address /Name Change Only
                (Poland, Christian) (Entered: 05/03/2018)




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05/11/2018   30 RESPONSE by Janay E Garrickin Opposition to MOTION TO DISMISS FOR
                FAILURE TO STATE A CLAIM by Defendant Moody Bible Institute [Motion to
                Dismiss Pursuant to Rule 12(B)(1) and 12(B)(6)] 18 (Franklin, Jamie) (Entered:
                05/11/2018)
05/18/2018   31 RESPONSE by Janay E Garrickin Opposition to MOTION by Defendant Moody Bible
                Institute for reconsideration of the denial of Its request that discovery be limited at this
                stage to Its constitutional defenses, or in the alternative for Section 1292(b)
                certification 24 (Franklin, Jamie) (Entered: 05/18/2018)
05/25/2018   32 REPLY by Defendant Moody Bible Institute in Support of Its Motion to Reconsider,
                or in the Alternative for Section 1292(B) Certification (Poland, Christian) (Entered:
                05/25/2018)
06/01/2018   33 REPLY by Defendant Moody Bible Institute to Motion to Dismiss for Failure to State
                a Claim 18 [REPLY MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
                DISMISS PURSUANT TO RULE 12(B)(1) AND 12(B)(6) (Attachments: # 1 Exhibit
                M)(Poland, Christian) (Entered: 06/01/2018)
06/05/2018   34 MINUTE entry before the Honorable John Z. Lee:The status hearing set for 6/5/18 is
                reset to 7/5/18 at 9:00 a.m.Mailed notice (ca, ) (Entered: 06/05/2018)
07/03/2018   35 ORDER : Defendants Moody Bible Institute and the Board of Trustees for the Moody
                Bible Institute ("Moody") have filed a motion 24 seeking reconsideration of the
                Court's denial of Moody's request to limit discovery at this stage to that which is
                necessary to resolve whether the "ministerial exception" defeats Plaintiff Janay
                Garrick's claims. Moody's motion is granted in part and denied in part. Signed by the
                Honorable John Z. Lee on 7/3/18. [For further details see order].Mailed notice(ca, )
                (Entered: 07/03/2018)
07/05/2018   36 MINUTE entry before the Honorable John Z. Lee: Status hearing held on 7/5/2018.
                Fact discovery deadline for both the breach of contract and ministerial exception
                portions of this case is set for 11/30/2018. Status set for 9/18/2018 at 9:00 a.m. Mailed
                notice (cn). (Entered: 07/06/2018)
08/08/2018   37 MOTION by Defendant Moody Bible InstituteMotion for Leave to Cite Additional
                Authorities in Support of Pending Motion to Dismiss (Attachments: # 1 Supplement al
                Authority)(Poland, Christian) (Entered: 08/08/2018)
08/08/2018   38 NOTICE of Motion by Christian Mark Poland for presentment of motion for
                miscellaneous relief 37 before Honorable John Z. Lee on 8/16/2018 at 09:00 AM.
                (Poland, Christian) (Entered: 08/08/2018)
08/15/2018   39 MINUTE entry before the Honorable John Z. Lee:Defendant's motion for leave to cite
                additional authorities in support of its pending motion to dismiss 37 is granted. No
                appearance is required on the motion.Mailed notice (ca, ) (Entered: 08/15/2018)
09/17/2018   40 MINUTE entry before the Honorable John Z. Lee:The status hearing set for 9/18/18 is
                reset to 10/31/18 at 9:00 a.m.Mailed notice (ca, ) (Entered: 09/17/2018)
09/27/2018   41 MOTION by Attorney Jamie S. Franklin to withdraw as attorney for Janay E Garrick.
                New address information: Janay Garrick, PO Box 1729 Orlando FL 32802 (Franklin,
                Jamie) (Entered: 09/27/2018)
09/27/2018   42 NOTICE of Motion by Jamie S. Franklin for presentment of motion to withdraw as
                attorney 41 before Honorable John Z. Lee on 10/3/2018 at 09:00 AM. (Franklin,
                Jamie) (Entered: 09/27/2018)
09/27/2018   43 NOTIFICATION of Party Contact Information for Janay E Garrick Janay Garrick, PO
                Box 1729 Orlando FL 32802 re MOTION by Attorney Jamie S. Franklin to withdraw
                as attorney for Janay E Garrick. New address information: Janay Garrick, PO Box
                1729 Orlando FL 32802 41 (Franklin, Jamie) (Entered: 09/27/2018)
10/03/2018   44 MINUTE entry before the Honorable John Z. Lee:Status hearing held on 10/3/18.
                Jamie Franklin's motion to withdraw as counsel 41 is granted. Plaintiff is granted 45
                days to retain counsel. Fact discovery is stayed until 11/14/18. Status hearing set for
                11/14/18 at 9:00 a.m. Mailed notice (ca, ) (Entered: 10/03/2018)



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10/04/2018   45 MINUTE entry before the Honorable John Z. Lee:The status hearing set for 10/31/18
                is stricken. The Court set a status hearing for 11/14/18 at 9:00 a.m. Mailed notice (ca, )
                (Entered: 10/04/2018)
10/08/2018   46 MOTION by Defendant Moody Bible Institute to supplement , and to cite additional
                authorities in support of, its pending motion to dismiss (Poland, Christian) (Entered:
                10/08/2018)
10/08/2018   47 NOTICE of Motion by Christian Mark Poland for presentment of motion to
                supplement 46 before Honorable John Z. Lee on 10/16/2018 at 09:00 AM. (Poland,
                Christian) (Entered: 10/08/2018)
10/09/2018   48 MINUTE entry before the Honorable John Z. Lee: Defendant has filed a motion 46 to
                supplement its motion to dismiss with additional legal authorities and evidence. The
                Court construes this filing as a motion to amend Defendant's pending motion to
                dismiss 18 , and grants the motion. Accordingly, the pending motion to dismiss 18 is
                stricken. Defendant to file a new motion, including all the argument and authorities to
                which it intends to refer by 10/24/18.Mailed notice (ca, ) (Entered: 10/09/2018)
10/16/2018   49 ENTERED in Error. (Poland, Christian) Modified on 10/16/2018 (kp, ). (Docket Text
                Modified by Clerk's Office) Modified on 10/22/2018 (smm). (Entered: 10/16/2018)
10/16/2018   50 MOTION by Defendant Moody Bible Institute Motion to Modify the Court's October
                9, 2018 Order in Light of Plaintiff Garrick's Intention to Seek Leave to Add a New
                Claim to Her Complaint (Attachments: # 1 Exhibit A−B)(Poland, Christian) (Entered:
                10/16/2018)
10/16/2018   51 ENTERED in Error. (Poland, Christian) Modified on 10/22/2018 (smm, ). (Entered:
                10/16/2018)
10/16/2018   52 NOTICE of Motion by Christian Mark Poland for presentment of motion for
                miscellaneous relief, 50 before Honorable John Z. Lee on 10/23/2018 at 09:00 AM.
                (Poland, Christian) (Entered: 10/16/2018)
10/19/2018   54 RESPONSE by Janay E. Garrick in Opposition to MOTION by Defendant Moody
                Bible Institute Motion to Modify the Court's October 9, 2018 Order in Light of
                Plaintiff Garrick's Intention to Seek Leave to Add a New Claim to Her Complaint 50 .
                (jh, ) (Entered: 10/23/2018)
10/22/2018   53 NOTICE of Correction regarding notice of motion 51 , MOTION by Defendant
                Moody Bible Institute Motion to Modify the Court's October 9, 2018 Order in Light of
                Plaintiff Garrick's Intention to Seek Leave to Add a New Claim to Her Complaint 49 .
                (smm) (Entered: 10/22/2018)
10/23/2018   55 MINUTE entry before the Honorable John Z. Lee: Motion hearing held on 10/23/18.
                Ms. Garrick requests time to secure counsel in order to determine if she will be
                amending her complaint. This case is stayed until 11/14/18. Defendant's motion to
                modify the Courts October 9, 2018 order in light of Plaintiff Garrick's intention to seek
                leave to add a new claim in her complaint 50 is entered and continued until 11/14/18.
                The status hearing set for 11/14/18 at 9:00 a.m. will stand. Mailed notice (ca, )
                (Entered: 10/23/2018)
11/14/2018   56 MINUTE entry before the Honorable John Z. Lee: Status hearing held on 11/14/18.
                Ms. Garrick reports that she has been unable to retain counsel. Plaintiff's motion for
                leave to file an amended complaint, attaching the proposed amended complaint, shall
                be due by 12/5/18 and should be noticed up for presentment on 12/13/18 at 9:15 a.m.
                Defendant's motion to modify the Court's October 9, 2018 order 50 is entered and
                continued for 12/13/18 at 9:15 a.m. Discovery remains stayed. Status hearing set for
                12/13/18 at 9:15 a.m. Mailed notice (ca, ) (Entered: 11/14/2018)
12/04/2018   57 MOTION by Plaintiff Janay E Garrick for leave to file first amended complaint.
                (Exhibits) (nsf, ) (Entered: 12/04/2018)
12/04/2018   58 MOTION by Plaintiff Janay E Garrick for telephonic hearing. (nsf, ) (Entered:
                12/04/2018)
12/04/2018   59 NOTICE of Motion by Janay E Garrick for presentment of motion for leave to file 57 ,
                motion for hearing 58 before Honorable John Z. Lee on 12/13/2018 at 09:15 AM. (nsf,
                ) (Entered: 12/04/2018)

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12/06/2018   60 MINUTE entry before the Honorable John Z. Lee:Plaintiff's motion for a telephonic
                hearing 58 is granted. Ms. Garrick should contact the courtroom deputy the day before
                with a call in number. Mailed notice (ca, ) (Entered: 12/06/2018)
12/12/2018   61 RESPONSE by Defendant Moody Bible Institute to motion for leave to file 57 a First
                Amended Complaint [Partial Opposition] (Attachments: # 1 Exhibit s A and
                B)(Poland, Christian) (Entered: 12/12/2018)
12/12/2018   62 RECEIVED Modified First Amended complaint by Janay E Garrick against Moody
                Bible Institute (One service copy)(las, ) (Entered: 12/13/2018)
12/12/2018   63 RECEIVED Modified First Amended complaint by Janay E Garrick against Moody
                Bible Institute (One service copy) (las, ) (Entered: 12/13/2018)
12/13/2018   64 MINUTE entry before the Honorable John Z. Lee: Status and motion hearing held on
                12/13/18. Defendant's motion to modify the Court's October 9, 2018 order in light of
                Plaintiff's intention to seek leave to add a new claim to her complaint 50 is granted.
                Plaintiffs motion for leave to file first amended complaint 57 is granted, but should be
                amended as suggested in Defendants motion. Plaintiff's amended complaint shall be
                due by 12/20/18. Defendant motion to dismiss limited to 20 pages shall be due by
                1/17/19; Plaintiff's response limited to 20 pages shall be due by 2/14/19; Defendant's
                reply limited to 15 pages shall be due by 3/7/19; ruling will be by mail. Discovery will
                remain stayed. Mailed notice (ca, ) (Entered: 12/13/2018)
12/18/2018   65 SECOND modified First Amended Complaint by Janay E Garrick against All
                Defendants (las, ) (Entered: 12/18/2018)
01/07/2019   66 RECEIVED THIRD MODIFIED FIRST AMENDED complaint by Janay E Garrick
                against All Defendants. (tt, ) (Entered: 01/09/2019)
01/07/2019   67 RECEIVED THIRD MODIFIED FIRST AMENDED complaint by Janay E Garrick
                against All Defendants (Exhibits). (tt, ) (Entered: 01/09/2019)
01/17/2019   68 MOTION to dismiss for failure to state a claim by Defendant Moody Bible Institute /
                MOODY BIBLE INSTITUTE'S motion to dismiss plaintiff's first amended complaint
                pursuant to Rule 12(b)(1) and 12(b)(6) (Poland, Christian) Text Modified on
                1/18/2019 (las, ). (Entered: 01/17/2019)
01/17/2019   69 MEMORANDUM by Moody Bible Institute in support of Motion to Dismiss for
                Failure to State a Claim 68 (Attachments: # 1 Exhibit s A through M)(Poland,
                Christian) (Entered: 01/17/2019)
02/07/2019   70 MOTION by Plaintiff Janay E Garrick for miscellaneous relief regarding response in
                opposition to defendant's memorandum of law in suppport of its motion to dismiss
                Plaintiff's first amended complaint pursuant to Rule 12(b)(1) and 12(b)(6). (gcy, )
                (Entered: 02/07/2019)
02/08/2019   71 MINUTE entry before the Honorable John Z. Lee: Plaintiff's motion for a four−week
                extension to file her response brief 70 is granted. Plaintiff's response to Defendant's
                motion to dismiss will be due 3/14/19, with Defendant's reply due 4/4/19. Further, in
                light of Plaintiff's pro se status, her motion to use five additional pages for her
                response brief is granted. Mailed notice (ca, ) (Entered: 02/08/2019)
03/14/2019   72 RESPONSE by Janay E Garrick in Opposition to MOTION TO DISMISS FOR
                FAILURE TO STATE A CLAIM by Defendant Moody Bible Institute / MOODY
                BIBLE INSTITUTE'S MOTION TO DISMISS PLAINTIFF'S FIRST AMENDED
                COMPLAINT PURSUANT TO RULE 12(b)(1) and 12(b)(6) 68 (Exhibit) (las, )
                (Entered: 03/18/2019)
03/14/2019   73 PRO SE Appearance by Plaintiff Janay E Garrick (las, ) (Entered: 03/18/2019)
03/18/2019   74 MAIL RETURNED, for document # 71 sent to Janay Garrick returned as
                undeliverable, return to sender. Re−mailed to Tallahassee, Florida (las, ) (Entered:
                03/19/2019)
03/18/2019   75 MAIL RETURNED, for document # 70 sent to Janay Garrick returned as
                undeliverable, return to sender. Re−mailed to Tallahassee, Florida (las, ) (Entered:
                03/19/2019)



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04/02/2019   76 MOTION by Defendant Moody Bible Institute for extension of time to file
                response/reply in support of its motion to dismiss plaintiff's first amended complaint
                and for leave to file overlength reply brief (Poland, Christian) (Entered: 04/02/2019)
04/02/2019   77 NOTICE OF AGREED MOTION / NOTICE of Motion by Christian Mark Poland for
                presentment of motion for extension of time to file response/reply 76 before Honorable
                John Z. Lee on 4/9/2019 at 09:00 AM. (Poland, Christian) (Entered: 04/02/2019)
04/02/2019   78 MINUTE entry before the Honorable John Z. Lee:Agreed motion for extension of time
                until April 11, 2019 to file its reply brief in support of the motion to dismiss 76 is
                granted; the reply is limited to 20 pages. No appearance is required on the
                motion.Mailed notice (ca, ) (Entered: 04/02/2019)
04/11/2019   79 REPLY by Moody Bible Institute to MOTION TO DISMISS FOR FAILURE TO
                STATE A CLAIM by Defendant Moody Bible Institute / MOODY BIBLE
                INSTITUTE'S MOTION TO DISMISS PLAINTIFF'S FIRST AMENDED COMPLAINT
                PURSUANT TO RULE 12(b)(1) and 12(b)(6) 68 / MOODY BIBLE INSTITUTE'S
                REPLY MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS
                PLAINTIFF'S FIRST AMENDED COMPLAINT PURSUANT TO RULE 12(b)(1) AND
                12(b)(6) (Poland, Christian) (Entered: 04/11/2019)
05/09/2019   80 MOTION by Defendant Moody Bible Institute for Leave to Cite Additional Authority
                in Support of Moody's Pending Motion to Dismiss Plaintiff's First Amended
                Complaint (Poland, Christian) (Entered: 05/09/2019)
05/09/2019   81 NOTICE of Motion by Christian Mark Poland for presentment of motion for
                miscellaneous relief 80 before Honorable John Z. Lee on 5/16/2019 at 09:00 AM.
                (Poland, Christian) (Entered: 05/09/2019)
05/13/2019   82 MINUTE entry before the Honorable John Z. Lee:Motion for leave to cite additional
                authority 80 is granted. No appearance is required on the motion.Mailed notice (ca, )
                (Entered: 05/13/2019)
06/25/2019   83 MOTION by Defendant Moody Bible InstituteMotion for Leave to Cite Additional
                Authority in Support of Pending Motion to Dismiss First Amended Complaint (Poland,
                Christian) (Entered: 06/25/2019)
06/25/2019   84 NOTICE of Motion by Christian Mark Poland for presentment of motion for
                miscellaneous relief 83 before Honorable John Z. Lee on 7/3/2019 at 09:00 AM.
                (Poland, Christian) (Entered: 06/25/2019)
06/25/2019   85 CORRECTED NOTICE of Motion by Christian Mark Poland for presentment of
                (Poland, Christian) (Entered: 06/25/2019)
06/26/2019   86 MINUTE entry before the Honorable John Z. Lee:Motion for leave to cite additional
                authority in support of its pending motion to dismiss 83 is granted. No appearance is
                required on the motion.Mailed notice (ca, ) (Entered: 06/26/2019)
08/19/2019   87 MOTION by Defendant Moody Bible Institutefor Leave to Cite Additional Authority
                in Support of Moody's Pending Motion to Dismiss Plaintiff's First Amended
                Complaint (Poland, Christian) (Entered: 08/19/2019)
08/19/2019   88 NOTICE of Motion by Christian Mark Poland for presentment of motion for
                miscellaneous relief 87 before Honorable John Z. Lee on 8/27/2019 at 09:00 AM.
                (Poland, Christian) (Entered: 08/19/2019)
08/20/2019   89 MINUTE entry before the Honorable John Z. Lee:Defendant's motion for leave to cite
                additional authority in support of its pending motion to dismiss 87 is granted. No
                appearance is required on the motion.Mailed notice (ca, ) (Entered: 08/20/2019)
09/25/2019   90 MINUTE entry before the Honorable John Z. Lee: For the reasons stated in the
                memorandum opinion and order, Moody's motion to dismiss 68 is granted. Counts I,
                II, and VI are dismissed with prejudice. Counts III, IV and V are dismissed without
                prejudice, and Garrick is granted leave to amend her complaint to restate those claims
                consistent with this order within twenty−one days. If she does not do so, this action
                will be dismissed with prejudice, and judgment entered in Moodys favor. Garrick is
                cautioned that an amended complaint must stand complete and on its own, without
                referring back to prior pleadings. [For further details see memorandum opinion and
                order].Mailed notice (ca, ) (Entered: 09/25/2019)

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09/25/2019    91 MEMORANDUM Opinion and Order Signed by the Honorable John Z. Lee on
                 9/25/19.Mailed notice(ca, ) (Entered: 09/25/2019)
09/25/2019    92 MINUTE entry before the Honorable John Z. Lee: Status hearing set for 10/23/19 at
                 9:00 a.m.Mailed notice (ca, ) (Entered: 09/25/2019)
10/11/2019    93 MOTION for miscellaneous relief regarding court's granting of leave to amend
                 complaint as stated in the memorandum opinion and order by Plaintiff Janay E Garrick
                 (pk, ) (Entered: 10/15/2019)
10/15/2019    94 MINUTE entry before the Honorable John Z. Lee:Motion for an extension of time
                 until November 6, 2019 to amend her complaint 93 is granted. The status hearing set
                 for 10/23/19 is reset to 11/13/19 at 9:00 a.m.Mailed notice (ca, ) (Entered: 10/15/2019)
11/05/2019    95 MOTION for telephonic hearing by Plaintiff Janay E Garrick (pk, ) (Entered:
                 11/06/2019)
11/05/2019    96 NOTICE of Motion by Janay E Garrick for presentment of motion for for telephonic
                 hearing 95 before Honorable John Z. Lee on 11/13/2019 at 09:00 AM. (pk, ) (Entered:
                 11/06/2019)
11/05/2019    97 SECOND AMENDED complaint by Janay E Garrick. (Exhibits) (pk, ) (Entered:
                 11/06/2019)
11/05/2019    98 SECOND AMENDED complaint by Janay E Garrick against Moody Bible Institute
                 (pk, ) (Entered: 11/06/2019)
11/08/2019    99 MINUTE entry before the Honorable John Z. Lee:Plaintiff's motion for a telephonic
                 hearing 95 is granted. Ms. Garrick should contact the courtroom deputy with her
                 contact number. Mailed notice (ca, ) (Entered: 11/08/2019)
11/13/2019   100 MINUTE entry before the Honorable John Z. Lee:Status hearing held on 11/13/19.
                 Defendant's motion to dismiss limited to 20 pages is due by 12/4/19; Plaintiff's
                 response limited to 20 pages is due by 1/10/20; Defendant's reply limited to 15 pages
                 is due by 1/24/20. Status hearing set for 3/5/20 at 9:00 a.m.Mailed notice (ca, )
                 (Entered: 11/13/2019)
12/04/2019   101 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant Moody
                 Bible Institute (Poland, Christian) (Entered: 12/04/2019)
12/04/2019   102 NOTICE of Motion by Christian Mark Poland for presentment of Motion to Dismiss
                 for Failure to State a Claim 101 before Honorable John Z. Lee on 12/12/2019 at 09:00
                 AM. (Poland, Christian) (Entered: 12/04/2019)
12/04/2019   103 MEMORANDUM by Moody Bible Institute in support of Motion to Dismiss for
                 Failure to State a Claim 101 (Attachments: # 1 Exhibit A)(Poland, Christian) (Entered:
                 12/04/2019)
12/11/2019   104 MINUTE entry before the Honorable John Z. Lee:The Court entered a briefing
                 schedule on the motion to dismiss on 11/13/19. No appearance is necessary on the
                 motion. Mailed notice (ca, ) (Entered: 12/11/2019)
01/07/2020   105 MOTION to stay district court proceedings pending resolution of the supreme court's
                 decision in St. James School v. Biel by Plaintiff Janay E Garrick to stay (pk, )
                 (Entered: 01/08/2020)
01/08/2020   106 RESPONSE by Moody Bible Institutein Opposition to MOTION by Plaintiff Janay E
                 Garrick to stay 105 this Matter Pending Resolution of the Supreme Court's Decision in
                 St. James School v. Biel (Poland, Christian) (Entered: 01/08/2020)
01/08/2020   108 MOTION for telephonic hearning by Plaintiff Janay E Garrick (Attachments: # 1
                 Notice of Motion)(Received for docketing on 1/9/2020)(pk, ) (Entered: 01/10/2020)
01/09/2020   107 MINUTE entry before the Honorable John Z. Lee:The motion to dismiss response and
                 reply deadlines are stricken until the Court rules on the motion to stay. Hearing on the
                 motion to stay 105 is set for 1/16/20 at 9:00 a.m. Plaintiff should provide the
                 courtroom deputy a call in number the day before the hearing.Mailed notice (ca, )
                 (Entered: 01/09/2020)



                                          A.008
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01/13/2020   109 MINUTE entry before the Honorable John Z. Lee:Motion for telephonic hearing 108 is
                 granted. As specified in the Court's 1/9/2020 Minute Entry, Plaintiff should provide
                 the courtroom deputy with a call in number the day before the hearing.Mailed notice
                 (ca, ) (Entered: 01/13/2020)
01/16/2020   110 MINUTE entry before the Honorable John Z. Lee:Status hearing held on 1/16/20.
                 Plaintiff's motion to stay the proceedings pending the resolution of the Supreme
                 Court's decision 105 is denied. Plaintiff's oral motion for additional time to file her
                 response is granted. Plaintiff's response to the motion to dismiss 101 is due by 2/27/20;
                 Defendant's reply due is by 3/19/20. The status hearing set for 3/5/20 is reset to
                 4/29/20 at 9:00 a.m. Mailed notice (ca, ) (Entered: 01/16/2020)
02/26/2020   111 RESPONSE in Opposition to defendant's memorandum of law in support of its motion
                 to dismiss plaintiff's second amended complaint by Plaintiff Janay E Garrick. (Exhibit)
                 (pk, ) (Entered: 02/26/2020)
03/16/2020   112 ORDER Amended General Order 20−0012 IN RE: CORONAVIRUS COVID−19
                 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R. Pallmeyer on March
                 16, 2020. All open cases are impacted by this Amended General Order. See attached
                 Order for guidance.Signed by the Honorable Rebecca R. Pallmeyer on 3/16/2020:
                 Mailed notice. (pj, ) (Entered: 03/18/2020)
03/19/2020   113 REPLY by Defendant Moody Bible Institute in Support of Its Motion to Dismiss
                 Plaintiff's Second Amended Complaint (Poland, Christian) (Entered: 03/19/2020)
03/23/2020   114 ORDER Seconded Amended General Order 20−0012 IN RE: CORONAVIRUS
                 COVID−19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R.
                 Pallmeyer on March 30, 2020. All open cases are impacted by this Second Amended
                 General Order. Amended General Order 20−0012, entered on March 17, 2020, and
                 General Order 20−0014, entered on March 20, 2020, are vacated and superseded by
                 this Second Amended General. See attached Order for guidance.Signed by the
                 Honorable Rebecca R. Pallmeyer on 3/23/2020: Mailed notice. (docket7, ) (Entered:
                 03/31/2020)
03/30/2020   115 ORDER CORRECTED ENTRY: ORDER Seconded Amended General Order
                 20−0012 IN RE: CORONAVIRUS COVID−19 PUBLIC EMERGENCY Signed by
                 the Chief Judge Rebecca R. Pallmeyer on March 30, 2020. All open cases are
                 impacted by this Second Amended General Order. Amended General Order 20−0012,
                 entered on March 17, 2020, and General Order 20−0014, entered on March 20, 2020,
                 are vacated and superseded by this Second Amended General. See attached Order for
                 guidance. Signed by the Honorable Rebecca R. Pallmeyer on 3/30/2020: Mailed
                 notice...Signed by the Honorable Rebecca R. Pallmeyer on 3/30/2020:Mailed
                 notice(docket7, ) (Entered: 04/03/2020)
04/07/2020   116 MINUTE entry before the Honorable John Z. Lee:Pursuant to the Second Amended
                 General Order 20−0012, In re: Coronovirus COVID−19 Public Emergency (dated
                 Mar. 30, 2020), the status hearing set for 4/29/20 is hereby stricken. The Court will
                 issue an order scheduling a status hearing at a future date. Mailed notice (ca, )
                 (Entered: 04/07/2020)
04/24/2020   117 ORDER Third Amended General Order 20−0012 IN RE: CORONAVIRUS
                 COVID−19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R.
                 Pallmeyer on April 24, 2020. All open cases are impacted by this Third Amended
                 General Order. Parties are must carefully review all obligations under this Order,
                 including the requirement listed in paragraph number 5 to file a joint written status
                 report in most civil cases. See attached Order. Signed by the Honorable Rebecca R.
                 Pallmeyer on 4/24/2020: Mailed notice. (docket3, ) (Entered: 04/27/2020)
05/12/2020   118 STATUS Report / JOINT STATUS REPORT by Moody Bible Institute (Poland,
                 Christian) (Entered: 05/12/2020)
05/26/2020   119 ORDER ORDER Fourth Amended General Order 20−0012 IN RE: CORONAVIRUS
                 COVID−19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R.
                 Pallmeyer on May 26, 2020. This Order does not extend or modify any deadlines set in
                 civil cases. For non−emergency motions, no motion may be noticed for presentment
                 on a date earlier than July 15, 2020. See attached Order. Signed by the Honorable
                 Rebecca R. Pallmeyer on 5/26/2020: Mailed notice. (docket3, ) (Entered: 05/26/2020)


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07/10/2020   120 ORDER Fifth Amended General Order 20−0012 IN RE: CORONAVIRUS
                 COVID−19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R.
                 Pallmeyer on July 10, 2020. This Order does not extend or modify any deadlines set in
                 civil cases. No motions may be noticed for in−person presentment; the presiding judge
                 will notify parties of the need, if any, for a hearing by electronic means or in−court
                 proceeding. See attached Order. Signed by the Honorable Rebecca R. Pallmeyer on
                 7/10/2020: Mailed notice. (Clerk2, Docket) (Entered: 07/10/2020)
07/13/2020   121 MOTION by Defendant Moody Bible Institute for leave to file Defendant Moody
                 Bible Institute's Motion for Leave to Cite Additional Authority in Support of Its Motion
                 to Dismiss Plaintiff's Second Amended Complaint (Poland, Christian) (Entered:
                 07/13/2020)
07/14/2020   122 MINUTE entry before the Honorable John Z. Lee: Moody's motion for leave to file
                 additional authority 121 is denied as unnecessary. The Court stays abreast of
                 developments in the case law and is aware of the Supreme Court's recent decision in
                 Our Lady of Guadalupe School v. Morrissey−Berru, No. 19−267, 2020 WL 3808420
                 (U.S. July 8, 2020). Mailed notice (ca, ) (Entered: 07/14/2020)
09/25/2020   123 MOTION by Plaintiff Janay E Garrick for leave to cite additional authorities in
                 support of Plaintiff's Second Amended Complaint. (lma, ) (Entered: 09/25/2020)
09/28/2020   124 MINUTE entry before the Honorable John Z. Lee: Plaintiff's motion for leave to cite
                 additional authorities 123 is denied as unnecessary. As noted, the Court stays abreast
                 of developments in the relevant case law, and is aware of the Seventh Circuit's recent
                 decision in Demkovich v. St. Andrew the Apostle Parish, No. 19−2142 (7th Cir.
                 2020). Mailed notice (ca, ) (Entered: 09/28/2020)
10/13/2020   125 MINUTE entry before the Honorable John Z. Lee:For the reasons stated in the
                 memorandum opinion and order, Moody's motion to dismiss 101 is granted in part and
                 denied in part. Garrick's disparate treatment and retaliation claims (Counts II to IV)
                 may proceed, but her hostile work environment (Count I) and class claims (to the
                 extent that Garrick intended to raise such claims) cannot. A telephone status hearing is
                 set for 10/22/20 at 9:15 a.m. to discuss the scope and timing of discovery. In light of
                 the COVID−19 pandemic and the related General Orders, the Court finds that it is
                 necessary to conduct the status hearing via telephone conference. The call−in number
                 is 888−273−3658 and the access code is 1637578. Counsel of record will receive a
                 separate email at least 12 hours prior to the start of the telephonic hearing with
                 instructions on how to join the call. All persons granted remote access to proceedings
                 are reminded of the general prohibition against photographing, recording, and
                 rebroadcasting of court proceedings. Violation of these prohibitions may result in
                 court−imposed sanctions, including removal of court issued media credentials,
                 restricted entry to future hearings, denial of entry to future hearings, or any other
                 sanctions deemed necessary by the Court. All participants should review the Court's
                 standing order regarding telephone conferences that is on Judge Lee's website, which
                 can be found at:
                 https://www.ilnd.uscourts.gov/judge−info.aspx?4Qf5zc8loCI5U7rfMP9DHw==. [For
                 further details see memorandum opinion and order]. Mailed notice (ca, ) (Entered:
                 10/13/2020)
10/13/2020   126 MEMORANDUM Opinion and Order Signed by the Honorable John Z. Lee on
                 10/13/20.Mailed notice(ca, ) (Entered: 10/13/2020)
10/14/2020   127 MINUTE entry before the Honorable John Z. Lee:The status hearing set for 10/22/20
                 is reset to 11/5/20 at 9:00 a.m., the dial in number remains the same.Mailed notice (ca,
                 ) (Entered: 10/14/2020)
10/27/2020   128 MOTION by Defendant Moody Bible Institute for reconsideration of this Court's
                 denial of Moody's Motion to Dismiss as to the Termination of Claims in Plaintiff's
                 Second Amended Complaint (Poland, Christian) (Entered: 10/27/2020)
10/27/2020   129 NOTICE of Motion by Christian Mark Poland for presentment of motion for
                 reconsideration 128 before Honorable John Z. Lee on 11/5/2020 at 09:15 AM.
                 (Poland, Christian) (Entered: 10/27/2020)
10/28/2020   130 MINUTE entry before the Honorable John Z. Lee:Plaintiff's response to Defendant's
                 motion to reconsider 128 is due by 11/25/20; Defendant's reply by 12/11/20. No
                 appearance is required on the motion. Mailed notice (ca, ) (Entered: 10/28/2020)

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11/05/2020   131 MINUTE entry before the Honorable John Z. Lee:Status hearing held on 11/5/20. The
                 briefing scheduled entered on 10/28/20 will stand. The Court will issue its ruling on
                 the motion for reconsideration by mail.Mailed notice (ca, ) (Entered: 11/09/2020)
11/25/2020   132 OPPOSITION by Janay E Garrick to Defendant's motion to reconsider the
                 memorandum and order on Defendant's motion to dismiss or, in the alternative, motion
                 for certification of interlocutory appeal. (ph, ) (Entered: 11/30/2020)
12/11/2020   133 REPLY by Defendant Moody Bible Institute in Support of Its Motion to Reconsider
                 This Court's Denial of Moody's Motion to Dismiss as to the Termination Claims in
                 Plaintiff's Second Amended Complaint (Poland, Christian) (Entered: 12/11/2020)
08/12/2021   134 ORDER : For the reasons below, Moody Bible Institute's ("Moody") motion to
                 reconsider the Court's denial in part of its motion to dismiss Janay Garrick's second
                 amended complaint, or alternatively to certify an interlocutory appeal, is denied 128 .
                 Signed by the Honorable John Z. Lee on 8/12/21. [For further details see order].(ca, )
                 (Entered: 08/12/2021)
08/12/2021   135 MINUTE entry before the Honorable John Z. Lee: Status hearing set for 9/1/21 at 9:00
                 a.m. The call−in number is 888−273−3658 and the access code is 1637578. Counsel of
                 record will receive a separate email at least 12 hours prior to the start of the telephonic
                 hearing with instructions on how to join the call. All persons granted remote access to
                 proceedings are reminded of the general prohibition against photographing, recording,
                 and rebroadcasting of court proceedings. Violation of these prohibitions may result in
                 court−imposed sanctions, including removal of court issued media credentials,
                 restricted entry to future hearings, denial of entry to future hearings, or any other
                 sanctions deemed necessary by the Court. All participants should review the Court's
                 standing order regarding telephone conferences that is on Judge Lee's website, which
                 can be found at:
                 https://www.ilnd.uscourts.gov/judge−info.aspx?4Qf5zc8loCI5U7rfMP9DHw==. (ca, )
                 (Entered: 08/12/2021)
08/26/2021   136 ATTORNEY Appearance for Plaintiff Janay E Garrick by Jamie S. Franklin (Franklin,
                 Jamie) (Entered: 08/26/2021)
09/01/2021   137 MINUTE entry before the Honorable John Z. Lee:Status hearing held on 9/1/21.
                 Written discovery requests are to be served by 9/10/21; responses are due by 10/8/21.
                 Defendant's answer is due by 9/22/21. The discovery as to the ministerial exception to
                 be completed by 11/30/21. The parties request a settlement conference. This case is
                 referred to Magistrate Judge Kim for a settlement conference. Magistrate Judge Kim
                 may modify the schedule if he deems it appropriate. Status hearing set for 12/2/21 at
                 9:00 a.m. The call−in number is 888−273−3658 and the access code is 1637578.
                 Counsel of record will receive a separate email at least 12 hours prior to the start of the
                 telephonic hearing with instructions on how to join the call. All persons granted
                 remote access to proceedings are reminded of the general prohibition against
                 photographing, recording, and rebroadcasting of court proceedings. Violation of these
                 prohibitions may result in court−imposed sanctions, including removal of court issued
                 media credentials, restricted entry to future hearings, denial of entry to future hearings,
                 or any other sanctions deemed necessary by the Court. All participants should review
                 the Court's standing order regarding telephone conferences that is on Judge Lee's
                 website, which can be found at:
                 https://www.ilnd.uscourts.gov/judge−info.aspx?4Qf5zc8loCI5U7rfMP9DHw==. (ca, )
                 (Entered: 09/02/2021)
09/02/2021   138 Pursuant to Local Rule 72.1, this case is hereby referred to the calendar of Honorable
                 Young B. Kim for the purpose of holding proceedings related to: settlement
                 conference.(ca, ) (Entered: 09/02/2021)
09/03/2021   139 MINUTE entry before the Honorable Young B. Kim: A preliminary settlement
                 discussion is scheduled for September 10, 2021, at 11:00 a.m. by phone. The
                 conference call number is (877) 336−1839 and the passcode is 4333213. Mailed notice
                 (ma,) (Entered: 09/03/2021)
09/10/2021   140 MINUTE entry before the Honorable Young B. Kim: Preliminary settlement
                 discussion held by phone. A telephonic settlement conference is scheduled for
                 November 16, 2021, at noon by phone. Parties are to use the same call−in information.
                 Parties are ordered to review and follow the court's standing order on "Settlement


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                   Conferences" on its webpage. The individuals with the authority to settle this matter
                   must appear and be present by phone for the duration of the conference. Plaintiff to
                   email a written settlement position statement to Defendant, with a copy to the court, by
                   October 1, 2021. Defendant to respond in writing, with a copy to the court, by October
                   15, 2021. Defendant must also include a draft settlement agreement so that Plaintiff is
                   aware of the terms Defendant requires to resolve this matter. These settlement position
                   statements are not to be filed with the clerk's office. Defendant's unopposed request to
                   stay discovery is granted. The written discovery schedule the court issued on
                   September 1, 2021, (R. 137), stricken. The court will reset this schedule when
                   appropriate. Mailed notice (ma,) (Entered: 09/10/2021)
09/13/2021   141 MINUTE entry before the Honorable Young B. Kim: Defendant's unopposed request
                 to strike the September 22, 2021 deadline for answering the second amended
                 complaint is granted. The answer deadline is stricken and the court will reset it if and
                 when appropriate. Mailed notice (ma,) (Entered: 09/13/2021)
09/13/2021   142 NOTICE of appeal by Moody Bible Institute regarding orders 126 , 125 , 134 Filing
                 fee $ 505, receipt number 0752−18661034. Receipt number: n (Poland, Christian)
                 (Entered: 09/13/2021)
09/14/2021   143 NOTICE of Appeal Due letter sent to counsel of record regarding notice of appeal 142
                 . (nsf, ) (Entered: 09/14/2021)
09/14/2021   144 TRANSMITTED to the 7th Circuit the short record on notice of appeal 142 . Notified
                 counsel. (nsf, ) (Entered: 09/14/2021)
09/15/2021   145 ACKNOWLEDGMENT of receipt of short record on appeal regarding notice of
                 appeal 142 ; USCA Case No. 21−2683. (rc, ) (Entered: 09/15/2021)
09/23/2021   146 TRANSCRIPT OF PROCEEDINGS held on 9/1/21 before the Honorable John Z. Lee.
                 Order Number: 41586. Court Reporter Contact Information: Joseph Rickhoff,
                 312−435−5562, joseph_rickhoff@ilnd.uscourts.gov. <P>IMPORTANT: The transcript
                 may be viewed at the court's public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through the Court Reporter/Transcriber or PACER. For
                 further information on the redaction process, see the Court's web site at
                 www.ilnd.uscourts.gov under Quick Links select Policy Regarding the Availability of
                 Transcripts of Court Proceedings.</P> Redaction Request due 10/14/2021. Redacted
                 Transcript Deadline set for 10/25/2021. Release of Transcript Restriction set for
                 12/22/2021. (Rickhoff, Joseph) (Entered: 09/23/2021)
09/27/2021   147 7th Circuit Transcript Information Sheet by Moody Bible Institute (Poland, Christian)
                 (Entered: 09/27/2021)
09/30/2021   148 MOTION by Plaintiff Janay E Garrick to Reinstate Discovery Schedule (Franklin,
                 Jamie) (Entered: 09/30/2021)
09/30/2021   149 NOTICE of Motion by Jamie S. Franklin for presentment of motion for miscellaneous
                 relief 148 before Honorable Young B. Kim on 10/7/2021 at 09:00 AM. (Franklin,
                 Jamie) (Entered: 09/30/2021)
09/30/2021   150 MINUTE entry before the Honorable Young B. Kim: Plaintiff's motion to reinstate
                 discovery schedule 148 is entered and continued. Appearance on October 7, 2021, is
                 not required to present this motion. Plaintiff is ordered to file a supplement to the
                 motion by October 4, 2021, explaining the upside to reinstating the discovery schedule
                 before exhausting settlement discussions. Parties agreed to stay discovery on
                 September 10, 2021, until they completed their settlement discussion. Plaintiff now
                 wishes to engage in discovery because she is required to file a response to Defendant's
                 jurisdictional statement with the Seventh Circuit. If Plaintiff wishes to cancel the
                 settlement conference, proceed with discovery, and consider settlement after
                 discovery, that makes sense. But the court does not see the benefit of the parties
                 expending more resources on discovery prior to completing settlement discussions
                 merely because Plaintiff has to now file a brief with the Seventh Circuit. Mailed notice
                 (ma,) (Entered: 09/30/2021)
10/04/2021   151 MEMORANDUM motion for miscellaneous relief 148 by Janay E Garrick
                 Supplemental Memorandum in Support of Motion to Reinstate Discovery Schedule


                                           A.012
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                   (Franklin, Jamie) (Entered: 10/04/2021)
10/04/2021   152 MINUTE entry before the Honorable Young B. Kim: Plaintiff's motion to reinstate
                 discovery 148 is granted without a response from Defendant. On September 10, 2021,
                 the court granted Defendant's request to stay discovery because Plaintiff did not
                 oppose this request. (R. 140.) However, in light of Defendant's appeal three days later,
                 Plaintiff has changed her position on this request and now opposes the discovery stay.
                 Because Plaintiff no longer agrees to the stay the court reinstates Plaintiff's right to
                 engage in limited discovery as permitted on September 1, 2021. (See R. 137.) The
                 court will not interfere with Plaintiff's right to discovery. However, Plaintiff should
                 recognize that Defendant may take the added cost of discovery into its settlement
                 position. Mailed notice (ma,) (Entered: 10/04/2021)
10/08/2021   153 MOTION by Defendant Moody Bible Institute to stay discovery pending the outcome
                 of the parties' settlement conference and Moody's Seventh Circuit Appeal
                 (EXPEDITED CONSIDERATION REQUESTED) (Poland, Christian) (Entered:
                 10/08/2021)
10/11/2021   154 RESPONSE by Janay E Garrickin Opposition to MOTION by Defendant Moody Bible
                 Institute to stay discovery pending the outcome of the parties' settlement conference
                 and Moody's Seventh Circuit Appeal (EXPEDITED CONSIDERATION REQUESTED)
                 153 (Franklin, Jamie) (Entered: 10/11/2021)
10/11/2021   155 REPLY by Moody Bible Institute to MOTION by Defendant Moody Bible Institute to
                 stay discovery pending the outcome of the parties' settlement conference and Moody's
                 Seventh Circuit Appeal (EXPEDITED CONSIDERATION REQUESTED) 153 (Poland,
                 Christian) (Entered: 10/11/2021)
10/13/2021   156 MINUTE entry before the Honorable John Z. Lee:Defendant's motion to stay
                 discovery 153 is referred to Magistrate Judge Kim. (ca, ) (Entered: 10/13/2021)
10/13/2021   157 MINUTE entry before the Honorable Young B. Kim: Defendant's motion to stay
                 discovery 153 is entered and continued. Defendant is not required to answer Plaintiff's
                 October 5, 2021 written discovery requests until further order of the court. The court
                 will consider the merits of the motion after the November 16, 2021 settlement
                 conference. It is clear from the record that neither side requires discovery in order to
                 explore settlement options on November 16, 2021. And if the parties are able to
                 resolve this case at the settlement conference, the motion would become moot. That
                 said, if the parties wish to reconsider pursuing settlement, they should confer after
                 Defendant serves its settlement position statement on October 15, 2021, and notify the
                 court as soon as possible so that it can cancel the settlement conference and consider
                 the merits of the motion sooner. Mailed notice (ber, ) (Entered: 10/13/2021)
10/14/2021   158 MINUTE entry before the Honorable Young B. Kim: Defendant's unopposed request
                 for extension of time is granted. Defendant to serve its settlement position statement
                 and draft settlement agreement by October 20, 2021. Mailed notice (Kim, Young)
                 (Entered: 10/14/2021)
10/16/2021   159 MINUTE entry before the Honorable Young B. Kim: Plaintiff's request to cancel the
                 November 16, 2021 settlement conference is granted. The court will turn its attention
                 to the pending motion to stay discovery pending appeal. Mailed notice (Kim, Young)
                 (Entered: 10/16/2021)
11/05/2021   160 MINUTE entry before the Honorable Young B. Kim: Defendant's motion to stay
                 discovery 153 is granted. Enter Memorandum Opinion and Order. All matters relating
                 to the referral of this action having been concluded, the referral is closed and the case
                 is returned to the assigned District Judge. Mailed notice (lp, ) (Entered: 11/05/2021)
11/05/2021   161 MEMORANDUM Opinion and Order. Signed by the Honorable Young B. Kim on
                 11/5/2021: Mailed notice (lp, ) (Entered: 11/05/2021)
11/29/2021   162 MINUTE entry before the Honorable John Z. Lee:The status hearing set for 12/2/21 is
                 reset for 12/8/21 at 9:15 a.m. The call−in number is 888−273−3658 and the access
                 code is 1637578. Counsel of record will receive a separate email at least 12 hours prior
                 to the start of the telephonic hearing with instructions on how to join the call. All
                 persons granted remote access to proceedings are reminded of the general prohibition
                 against photographing, recording, and rebroadcasting of court proceedings. Violation


                                           A.013
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                   of these prohibitions may result in court−imposed sanctions, including removal of
                   court issued media credentials, restricted entry to future hearings, denial of entry to
                   future hearings, or any other sanctions deemed necessary by the Court. All participants
                   should review the Court's standing order regarding telephone conferences that is on
                   Judge Lee's website, which can be found at:
                   https://www.ilnd.uscourts.gov/judge−info.aspx?4Qf5zc8loCI5U7rfMP9DHw==. (ca, )
                   (Entered: 11/29/2021)
12/08/2021   163 MINUTE entry before the Honorable John Z. Lee: Status hearing held on 12/8/21. The
                 parties report that they are waiting for a ruling from the Seventh Circuit. The parties
                 are directed to file a joint status report by 2/18/22 to update the Court on the Seventh
                 Circuit case (ca, ) (Entered: 12/10/2021)
02/18/2022   164 STATUS Report / JOINT STATUS REPORT by Moody Bible Institute (Poland,
                 Christian) (Entered: 02/18/2022)
02/25/2022   165 MINUTE entry before the Honorable John Z. Lee:The Court has reviewed the status
                 report. The parties are directed to file a joint status report by 4/28/22 to update the
                 Court on the Seventh Circuit case. (ca, ) (Entered: 02/25/2022)
04/25/2022   166 STATUS Report Joint Status Report by Moody Bible Institute (Poland, Christian)
                 (Entered: 04/25/2022)
04/27/2022   167 MINUTE entry before the Honorable John Z. Lee:The Court has reviewed the status
                 report. The parties are directed to file another status report on 6/28/22. (ca, ) (Entered:
                 04/27/2022)
06/24/2022   168 STATUS Report / JOINT STATUS REPORT by Moody Bible Institute (Poland,
                 Christian) (Entered: 06/24/2022)
06/27/2022   169 MINUTE entry before the Honorable John Z. Lee:he Court has reviewed the status
                 report. The parties are directed to file another status report on 8/29/22. (ca, ) (Entered:
                 06/27/2022)
06/27/2022   170 MINUTE entry before the Honorable John Z. Lee:The Court has reviewed the status
                 report. The parties are directed to file another status report on 8/29/22. (ca, ) (Entered:
                 06/27/2022)
08/26/2022   171 STATUS Report / JOINT STATUS REPORT by Moody Bible Institute (Poland,
                 Christian) (Entered: 08/26/2022)
08/30/2022   172 MINUTE entry before the Honorable John Z. Lee:The Court has reviewed the status
                 report. The parties are directed to file another status report regarding the interlocutory
                 appeal by 10/30/22. (ca, ) (Entered: 08/30/2022)
09/08/2022   173 EXECUTIVE COMMITTEE ORDER: The Honorable John Z. Lee having been
                 confirmed for a seat on the Court of Appeals for the Seventh Circuit, It is hereby
                 ordered that the cases on the attached list are to be reassigned to the other judges of
                 this Court as indicated, pursuant to Local Rule 40.1(f). Case reassigned to the
                 Honorable John F. Kness for all further proceedings. Honorable John Z. Lee no longer
                 assigned to the case. Signed by Honorable Rebecca R. Pallmeyer on 9/08/2022.(tg, )
                 (Entered: 09/09/2022)
10/25/2022   174 STATUS Report / JOINT STATUS REPORT by Moody Bible Institute (Poland,
                 Christian) (Entered: 10/25/2022)
12/29/2022   175 ANNUAL REMINDER: Pursuant to Local Rule 3.2 (Notification of Affiliates), any
                 nongovernmental party, other than an individual or sole proprietorship, must file a
                 statement identifying all its affiliates known to the party after diligent review or, if the
                 party has identified no affiliates, then a statement reflecting that fact must be filed. An
                 affiliate is defined as follows: any entity or individual owning, directly or indirectly
                 (through ownership of one or more other entities), 5% or more of a party. The
                 statement is to be electronically filed as a PDF in conjunction with entering the
                 affiliates in CM/ECF as prompted. As a reminder to counsel, parties must supplement
                 their statements of affiliates within thirty (30) days of any change in the information
                 previously reported. This minute order is being issued to all counsel of record to
                 remind counsel of their obligation to provide updated information as to additional
                 affiliates if such updating is necessary. If counsel has any questions regarding this


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          process, this LINK will provide additional information. Signed by the Executive
          Committee on 12/29/2022: Mailed notice. (tg, ) (Entered: 12/29/2022)




                                 A.015
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                                  RE€EIVE~
                                  EASTERN DMSION                                          JAN      7 2019
JANAYE. GARRICK,                                     )                                 THOMAS Q, 8PtUTON
                                                     )                           Cl&MI(, u.a. OtlTAICT COURT
        Plaintiff,                                   )
                                                     )   Case No. l 8-cv-00573
        V.                                           )
                                                     )   Judge John Lee
MOODY BIBLE lNSTlTUTE,                               )   Magistrate Judge Yo ung Kim
                                                     )
        Defendant.                                   )


             PLAINTIFF'S THIRD MODIFIED FIRST AMENDED COMPLAINT

         The plaintiff, Janay E. Garrick, brings this Complaint against defendants Moody Bible

 fnstitute and the Board of Trustees for the Moody Bible Institute for retaliation in violation of

 Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq., breach of contract,

 and in violation of Title VlI of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et

 seq., gender discrimination (female), and religious discrimination (egalitarian Christian).

                                          THE PARTIES

        I.       Defendant Moody Bible Institute is a post-secondary religious educational

institution that offers both undergraduate and graduate courses of study. It is a not-for-profit

corporation incorporated in the state of Illinois.

       2.        Defendant Board of Trustees for the Moody Bible Institute is the governing board

of Moody Bible Institute.

       3.       Collectively, the defendants are referred to as " MBI" or "Moody.''

       4.        MBI's primary campus is located in downtown Chicago, IL.

       5.       MBI has accepted federal financial aid funds pursuant to Title IV of the Higher

Education Act since at least 2012.




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            6.   As of the date of this filing, MBl has not submitted a request to the Office of Civil

 Rights of the U.S. Department of Education for a religious exemption to the requirements of

 Title IX.

            7.   Plaintiff Janay E. Garrick was employed by MBI at its Chicago campus as an

 Instructor of Communications from December 1, 2014 until December 3 I, 2017.

                                 PROCEDURAL BACKGROUND

        8.       The Plaintiff timely filed a Charge of Discrimination with the U.S. Equal

Employment Opportunity Commission (EEOC) on January 5, 20 l 8. See Exhibit C (EEOC

Charge).

        9.       The Plaintiff's case was timely filed with the Federal Court on January 25, 2018.

       I0.       On September 24, 20 18, the EEOC issued Ms. Garrick her Notice of Rights letter,

which states that the Plaintiff must file a lawsuit "WITHIN 90 days of ... receipt of this notice."


      11.        On September 27, 2018, Plaintiffs counsel withdrew due to the Plaintiff's

inability to continue paying out-of-pocket for her legal fees.

      12.        After 45 days of trying to secure new counsel, contacting almost 200 law firms,

organizations, and law professors, the Plaintiff was unable to do so.

      13.        On October 16, 2018, during Ms. Garrick's 45-day period in which Plaintiff was

seeking new counsel, the Defendant (" Moody") moved to dismiss, and the court ordered it to re-

brief. The Defendant refused because it thought the Plaintiff was amending.

      14.        On November 14, 2018, the Plaintiff was forced to proceed representing herself.

      15.        Plaintiff has exhausted her remedies with the EEOC.

                                  JURISDICTION AND VENUE




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l 6.                                                                                                         T

        his Court has federal question jurisdiction over the plaintiff's federal claims pursuant to 28

        U.S.C. § 1331.

17.                                                                                                          T

       his Cou1t has supplemental jurisdiction over the plaintiff's state law claims pursuant to 28

       U.S.C. § 1367(a).

18.                                                                                                          V

       enue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the defendants reside in

       this District and a substantial part of the events or omissio11s giving rise to the claims occurred

       in this District.

19.                                                                                                          T

       he Northern District of Illinois has personal jurisdiction over the defendants because they

       reside in and/or and maintain offices in this District and/or do business in Illinois.

                           FACTS SUPPORTING THE PLAINTIFF'S CLAIMS

20.                                                                                                          M

       s. Garrick is an ordained minister. She has a Master's Degree in Cross-Cultutal Studies and a

       Bachelor's Degree in Creative Writing and Speech Communications. and she is working on a

       second Master's Degree in Creative Nonfiction. Ms. Garrick has worked in the field of

       communications for 15 years.

21.                                                                                                          M

       s. Garrick was hired by MBl on December l , 2014 as an [nstructor of Communications in

       MBl's Communications Program, which is one of two programs in its Music and Media Arts

       Division.




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22.                                                                                                    M

      s. Garrick informed MB l during the interview process that she was an "egalitarian Christian·'

      and believed in gender equality in the ministry. MBI hired her with full knowledge of her

      beliefs and renewed her contract twice with this knowledge.

23.                                                                                                    M

      s. Garrick 's direct supervisor was Brian Kamrnerzelt, the Communications Program Head.

      Terry Strandt, Chair of the Music and Media Arts Division, was responsible for her

      performance reviews. Ms. Garrick also reported to Larry Davidhizar, Vice President and

      Associate Provost of Faculty. Other MBl administrators at the time included James Spencer.

      Vice President and Dean; Junias Venugopal, Provost; Debbie Zelinski, Vice President of

      Human Resources; Clive Craigen, Faculty Advocate; Tim Arens, Dean of Student Life; and

      Bryan O'Neal, Dean of the Undergraduate Faculty.

                                  Campus-Wide Hostility To ward Wome11

24.                                                                                                    M

      s. Garrick quickly learned that MBI both tolerated and cultivated an environment that was

      hostile to female faculty and students.

25.                                                                                                    F

      or example, in October 2014, shortly before her campus interview, Ms. Garrick was rold by Mr.

      Davidhizar to remove the reference to being an ordained minister from her resume. Later, it

      became clear that MBI believed that the office of pastor is reserved exclusively for male

      ·c andidates and did not want her to represent herself as an ordained minister.

26.                                                                                                    M

      s. Garrick was disadvantaged by this demand. When she was hired, she was not told by




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      administration that ordained ministers could claim a tax deduction for their housing costs. After

      a male professor informed her of this. Ms. Garrick took steps to file her ordination license with

      MBI in order to claim the deduction, but she lost the opportunity to take the deduction for a full

      year.

27. Female instructors were confined to certain programs, like the one in which Ms. Gan·ick was

      hired, while the more prestigious Bible and Theology Programs were staffed exclusively by

      men.

28. In late 20 15, Ms. Garrick was asked to assist in forming a committee to address women·s

      concerns on campus. which she did. The group, called Respect for Women Personally and

      Ministerially, was viewed with suspicion and hostility from the beginnjng. Ms. Garrick was

   explicitly told by the administration that any changes resulting from the committee's work

   should be "small and incremental."

29. The faculty workroom that Ms. Garrick used was otherwise all-male, and her male colleagues

   treated her with antagonism. For example, they ignored her when she spoke to them, left the

   room abruptly when she entered, and openly ridiculed her. When Ms. Garrick tried to suggest

   solutions to the problem, she was told by MBI administration to simply avoid the workroom

   and to get her own printer so that she could work in her office.

                                     Advocacy on Behalf of Students

30.           In February 2015, Ms. Garrick was approached by a lesbian student who was struggling

with MBI 's hostility toward her sexual orientation. Ms. Garrick brought the student's concerns to

Dean Tim Arens. His response was to ask what she said and did in response to the student and to

warn her that MBI had "community living standards." The female student was later expelled from

MBI.




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31.      In October 2015, a female student informed Ms. Garrick that she wanted to enter the

Pastoral Ministry program but that it was closed to women. Ms. Garrick was shocked and began

to investigate MBI's stance on barring women from access to its programs.

32.      [n January 2016, another female student came to Ms. Garrick for help with the same


problem. The student wanted to change her major to Pastoral Ministry, which is an undergraduate

program that teaches students to become leaders, pastors, and teachers in the church. MBI refused

to allow her to enter the program because of her gender.

33.      Ms. Garrick discovered that MBI's website at the time stated that the program was only

open to male students. She contacted her own faculty mentor and the head of the program to ask

about the exclusion of women, and they confirmed that it was true.

 34.     MBl was accepting federal financial aid funds during this time and, on information and

belie[ was reporting to the Department of Education that it met all the relevant criteria, including

the prohibition against discriminating on the basis of sex.

 35.     Ms. Garrick helped this student lodge the first Title IX complai nt ever brought at MBl.

 36.     On February 17, 2016, the first meeting of the Respect for Women Personally and

Ministerially group was held. Ms. Garrick was rebuked when she told the participants that she

was assisting a student who had been barred from an MBI program because of her sex.

Immediately after the meeting, Ms. Garrick's faculty mentor called her into a closed~door meeting

and attacked her further, asking "how can you have any integrity?"

37.      After Ms. Garrick brought her concerns to several other MBI personnel. the second

Respect for Women Personally and Ministerially meeting was cancelled.

38.      On February 23, 2016, Ms. Garrick met with Mr. Davidhizar and Bryan O 'Neal about the

student's complaint and about the hostility Ms. Garrick herself was facing. Rather than seeking




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 solutions to the concerns raised by Ms. Garrick, the administrators suggested she might not be

 able to continue in the faculty and told her she should voluntarily leave MBl.

39.       Ms. Garrick decided to stay and fight.

 40.      Throughout the spring of 2016, Ms. Garrick continued to work with the student to

 advance her Title IX complaint against MBI.

41.       At first, MB[ denied that the Pastoral Ministry program was not open to women, despite

 the fact that its website explicitly limited the degree program to male students. Then MBI tried to

 convince the student to take c.ourses in another program, presenting her with false and misleading

 information about its offerings. Ultimately. despite its attempts to muddy the waters, it became

 clear that MBI had been discriminating against women by barring them from the Pastoral

 Ministry program from 1928 until this student filed her complaint.

42.       Despite this admission, MB! denied the student's complaint, stating that her concerns

 were " programmatic'' and were not "appropriately addressed through an investigatory process

 designed to address discrete complaints of sexual misconduct.'' In its denial letter, MBI purported

 to have misunderstood the nature of the student's complaint - which was untrue, as Ms. Garrick

and the student had made it clear numerous times,

43.       With Ms. Garrick's help, the student appealed. In response, professors made disparaging

comments to the student such as "don 't you know the image of God is male?" and '·what makes

you think you have the right to preach?"

44.      The student and Ms. Garrick continued to push MBI to open the program to all women.

As a result, on April 20, 2016, MBI announced that it intended to remove the discriminatory

restrictions and open the Pastoral Ministry program to women (though it failed to notify the

student herself until mid-May 2016, and even then continued to equivocate about its position).




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45.         Even after this decision, MBI continued, and, on information and belief, conti.nues to

 discourage women from applying to the Pastoral Ministry program. There are currently Just three

 women in a program of approximately 60 students. It is unclear whether MB I has officially

 opened the program to all women.

46.         Throughout the summer and fall of 2016, Ms. GaiTick continued to experience hostility

 and opposition from MBl's faculty and administration.

47.         Ms. Garrick also assisted a transgender student with her hostile environment concerns,

 which Ms. Garrick reported to faculty and administrators. That student ultimately left the

 institution because of the discrimination and harassment she experienced.

48.         In September 2016, a male theology professor at MBI drafted a proposal that would

 require all students to sign a statement affirming their belief in and adherence to a biblically

 orthodox position on human sexuality. Ms. Garrick spoke out at an all-faculty and administration

 meeting and told a story about a student who came to Ms. Garrick in tears over being told one

 could not be gay and ·'saved." She submitted and co-presented (with a male faculty member) a

 counter-proposal with an inclusive message.

49.         [n response, Mr.. Davidhizar pulled Ms. Garrick into his office the next day and told her

 that the speech was " inflammatory rhetoric" and that she was "not a Moody fit." The male faculty

 member who co-presented the proposal was never the subject of any disciplinary treatment.

                                    Retaliatory De11ia/ of Promotion

      50.   On November 1, 2016, after two years as an Instructor at MBI, Ms. Garrick submitted a

written application for an increase in rank to Assistant Professor.

      51.   The position oflnstructor is the lowest-paid and lowest-status position at MBI.




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      52.   To become an Assistant Professor, MBI requires the faculty member to have a Master 's

Deg,ee or equivalent and a minimum of 12 years of full time experience in a field directly related

to his or her primary teaching responsibilities. Once those requirements are met, MB! reviews

three sets of criteria to determine whether to issue a promotion to a faculty member: Teaching

Performance, Professional/Scholarly Status, and Service. Within each criterion.

      53.   Ms. Garrick's background and performance fully qualified her for a promotion to

Assistant Professor under all of MBl's requirements. She had a Master's Degree (and began

working on a second advanced degree in 2016). She also had 15 years of experience in the

Communications field.

54.         During her two years as an Instructor, Ms. Garrick was required to perform work at the

level of an Assistant Professor. Among many other duties, she developed and implemented six

courses, including upper-level electives; created institution-wide initiatives like the publication of a

new art and theology journal; developed an educational plan for ESL students; fulfilled all of her

academic and professional duties; and actively participated in her department and the wider

institution. Such duties were beyond the scope of the Instructor rank. based on Moody·s own

written policies.

55.         Nevertheless, MBI denied Ms. Garrick 's application, stating that she needed to "improve

her fit within the division" - a clear reference to the hostility against Ms. Garrick as a result of her

opposition to discrimination at the institution.

56.         MB l's retaliatory denial of Ms. Garrick's promotion application resulted in both a loss of

income and the loss of professional development opportunities.

57.         Shortly thereafter, Ms. Garrick received an informal performance review from Mr.

Strandt in which he congratulated her on ' ·two years of excellent service" and stated that she was




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'·concise, clear and engaging with the students•· during a class he had observed her teaching. Mr.

Strandt's glowing review further highlighted the d isconnect between Ms. Garrick's excellent

performance and MBI's denial of her application for a promotion.

                                        Retaliatory Discharge

    58.   In early 2017, Ms. Garrick was due to receive her formal two-year performance review.

She initjaJly met with Mr. Kammerzelt, who asked her if she wanted to stay at MBI. She responded

that she did.

    59.   This led to a series of meetings, cancelled meetings, and emaj}s with MB[ administrators

regarding Ms. Garrick's performance. Mr. Davidhizar told her she had '·performance and

interpersonal issues," despite a lack of evidence of either. Mr. Kammerzell told her she had been

found to be performing "below standards" by Mr. Strandt, despite his earlier glowing reports. Mr.

Kammerzelt also threatened to demote Ms. Garrick to teaching only General Education courses

and to shift three of the courses she had developed into the hands of another full Communications

professor.

   60.    Finally, on March 30, 2017, Ms. Gan·ick met with Mr. Strandt for a final. formal

performance review. He handed her a negative written perfcmnance evaluation - the first written

criticism of her performance she had ever received at MBf - that was filled with inaccuracies and

was not based on direct observations of her work. There was no mention of Ms. Garrick being non-

aligned with the gender provisions of MBfs doctrinal statement.

   61.    On April 12, 2017, Ms. Garrick met with Mr. Davidhizar and the Vice President of

Human Resources. Mr. Davidhizar told her that she did not fit in and that she was not aligned with

MB I's doctrinal statement as it related to gender roles in ministry. Mr. Davidhizar admitted that he




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heard Ms. Garrick state her egalitarian position during her October 20 l 4 panel interview prior to

MBI's decision to hire her.

    62.   On April 17, 20 17, Ms. Ganick was officially tem1inated. MBI stated that she was

required to continue teaching classes and performing her other job duties until the end of that

semester, then stay on as a non-teaching faculty member for the Fall 2017 semester. Her last day of

pay was December 31 , 2017. On April 26, 2017. after Ms. Garrick spoke to students and student

reporters about her termination, MBI asked her to leave campus early and to turn in her computer

and keys, stating that it would close out the semester for her.

    63.   Ms. Garrick filed an internal grievance on May 17,2017 and went through MB l's

grievance process in the summer of 20 17. ln her grievance document, she pointed out that MBI

had hired her in 2014, renewed her contract for 20 I 5, and renewed her contract for 2016 - all the

while apparently pleased with her performance. It was only after she began advocating for female

students who alleged violations of Title IX that MBI began to pressure her to quit, then fired her,

purportedly because it had just realized she held an "egalitarian" view of Christianity.

   64.    In fact, as alleged above. MBf knew from her resume and interviews that Ms. Garrick

held an egalitarian view before it even hired her. MBf's decision was pretext for its true motives -

discrimination and retaliation.

   65.    MB! engaged in a variety of tactics to thwart any chance of Ms. Garrick succeeding in

the grievance process. In her grievance document, she fully documented the discrimination and

retaliation she had been subjected to. She also presented written testimony from 12 female students

who reported violations ranging from sexual assault to harassment in the classroom and on the

campus by both faculty members and fellow students. MBl ignored these testimonials and took no

action to follow up.




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   66.   MBI denied Ms. Garrick's grievance on July 24. 2017. After Ms. Garrick's termination.

MB[ also terminated a female Full Professor and a female Assistant Professor who were members

of Ms. Garrick's grievance committee and who had challenged MBI during that process.

    67. The environment of pervasive gender discrimination at Moody contributed to a hostile

work environment and created a male-dominated workplace culture in which the retaliatory firing

of Ms. Garrick would be acceptable and routine. In 2012, the Higher Leaming Commission, an

independent accrediting body, critiqued Moody that its faculty looks "white male," and tasked it

to diversify. The Defendant has created a hostile workplace by discriminating against females

repeatedly, including the following acts, inter alia ...

     (a) male students organized a student ''walk out" when a female speaker took the stage at

         Founder's Week (February 6-10.2017). At a February 22, 2017 faculty meeting, a long-

         term male Bible Program facu lty member argued: •;r think it' s time we addressed the

         misogyny and sexism at this institution,''

     (b) Moody's annual Pastor's Conference had never included female speakers as main session

         speakers, leadjng to continued feelings of exclusion and disenfranchisement from

         females,

     (c) there were a disproportionate number of male to femaJe speakers at reqoired student

         chapels,

     (d) some Bible professors were known to be "overtly discouraging" to female students in

         their classes,

     (e) there were zero female faculty teaching in the Bible Program,

     (f) there were zero female faculty teaching in the Theology Program,

     (g) there were a disproportionate number of male to female faculty,




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                                                A.027
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     (h) there were zero female administrators, and

     (i) while Moody purportedly requires faculty to sign and adhere "'without disclaimers,

          clarifications, or personal exceptions" to a "Gender Roles in Ministry" addendum

          included in the doctrinal statement at the time of contract renewal each year, Moody

          selectively enforces adherence, and this enforcement disproportionately affects female

          faculty who do not "aJign" or "adhere,"

                                               COUNT I

                             Retaliation in Violation of Title IX of the
                      Education Amendments of 1972, 20 U.S.C. § 168 1 et seq.

    68.   The plaintiff realleges each of the paragraphs set forth above.

    69.   Title IX of the Education Amendments Act of 1972, 20 U.S.C. § 1681 el seq. ("Title JX"),

provides that''[n Jo person in the United States shall, on the basis of sex, be excluded from

participation in, be denied the benefits of. or be subjected to discrimination under any education

program or activity receiving Federal financial assistance ... :•

    70. Title IX also prohibits employment discrimination on the basis of sex at educational

institutions receiving federal assistance.

    71.   MBI is subject to the requirements of Title IX.

    72.   Because Congress enacted Title IX to prevent use offederal dollars to support

discriminatory practices, reporting incidents of discrimination is integral to Title IX enforcement.

    73.   Accordingly, persons who complain about sex discrimination have protection against

retaliation and are provided a private right of action as part of the Title IX enforcement scheme.

   74.    Title IX prohibits retaliation against individuals who engage in protected activity,

inducting good faith complaints of sex discrimination, opposing discriminatory practices through

internal channels, and voicing concerns to superiors at the educational institution.



                                                    13

                                               A.028
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    75.    Ms. Garrick engaged in activity protected by Title lX, as alleged above.

    76.    MBT retaliated against Ms. Garrick because of her protected activity, as alleged above.

including, but not limited to, subjecting her to a hostile environment; subjecting her to

discriminatory disciplinary action; denying her a promotion; and unlawfully terminating her.

    77.    MB['s actions were willful, intentional and/or done maliciously or with callous disregard

or reckless indifference and/or were arbitrary, discriminatory, negligent and/or in bad faith.

    78.    Exemplary damages are wan-anted to prevent similar unlawful conduct by MBI, which is

likely to recur.

    79.    The plaintiff was severely damaged by MBI's conduct.

                                               COUNT II

                                Breach of Contract under IIJioois Law

    80.    The plaintiff realleges each of the paragraphs set forth above.

    8 l.   The terms of Ms. Garrick's employment were governed by a valid and enforceable

Faculty Contract, which was entered into by both Ms. Garrick a11d MBI on a yearly basis. See

Exhibit A (2017 Faculty Contract).

   82.     The Faculty Contract explicitly incorporates by reference two additional documents:

MBI's Faculty Manual and MBI's Employee Information Guide.

   83 .    The Faculty Manual and Employee Information Guide are promises by MBI to abide by a

set of rules that benefit the employee. They were disseminated to Ms. Garrick in the manner of an

offer, which she accepted when she entered into the Faculty Contract with MB I.

   84.     The Faculty Contract states that "MBI and the faculty member mutually agree that this

contract will be binding on both parties except as modified by the mutual consent of the Trustees

and/or the President and the faculty member, or unless terminated for cause, in which case the




                                                    14
                                               A.029
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procedures of termination stated in the current Faculty Manual and Employee lnfonnation Guide

will be followed by both parties." See Exhibit A

    85.   ln tum, the Faculty Manual 's section designated "Termination" states as follows: ''(ilffor

some reason a faculty member is not to be retained after the Spring semester, notification will be

given to the teacher concerning this decision by the last Friday in November of the Fall semester,

except for such serious violations of Institute policy which may result in immediate termination."

See Exhibit B (excerpt from Faculty Manual).

    86,   On April 18, 2017, MBI informed Ms. Garrick that it had decided not to renew her

contract for the next academic year, but that she would continue to be employed until December

31 , 2017, She was informed that she was expected to continue teaching her classes tmtil the end o f

the semester.

    87.   Because Ms. Garrick was not terminated "immediately," MBI was contractually obliged

to follow the termination provisions set forth in the Faculty Manual by informing her by the last

Friday in N ovember prior to a Spring termination.

    88. MB! failed to do so.

    89.   MBI therefore breached its contract with Ms. Garrick by failing to notify her by the last

Friday in November of the fall semester prior to her last Spring semester of employment, as

required by the termination provisions of the Faculty Manual.

    90.   MBI cannot contend that Ms. Garrick engaged in a violation of its po)jcy that warranted

" immediate termination," as it retained her for several months after its decision not to renew her

contract, requiring her to teach classes and otherwise continue to perform her job duties for a

period of time.




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                                               A.030
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   91 .   Under the terms of the Faculty Contract and the termination provisions of the Faculty

Manual referenced and incorporated therein, MBI is obligated to pay Ms. Garrick for two

additional semesters she is owed under the contractuat terms.

                                               COUNT Ill

                                Title VIl, 42 U.S.C. § 2000e-2(a)
                      Hostile Work Environment Based on Gender (Female)
                                      Against Ms. Garrick

    92. The Plainfiffrealleges each of the paragraphs set forth above.

    93. Ms. Garrick was discriminated against and harassed based on gender (female) by

admi nistrators, supervisors, and coworkers.

    94. The discriminatory statements, threats, and conduct were unwelcome, sufficiently severe

or pervasive, detrimentally affected Ms. Garrick, were viewed as subjecti vely hostile and abusive

 by Ms. Garrick, and would be viewed as objectively hostile and abusive to a reasonable person.

    95. During the relevant time period, Ms. Garrick and similarly situated female employees

also were treated differently than coworkers of a different gender. For example, female faculty

were subj ected to the following acts, inter alta ....

     (a) denied the opportunity to speak at President's Chapel, and

     (b) excluded from teaching in the Bible and Theology Programs, while male faclllty were

          permitted to do so.

    96. Ms. Garrick was denied the opportunity to speak at chapel although she twice requested

 to do so.

    97. Some other specific examples of the discrim ination and harassment against Ms. Garrick

 and similarly-situated employees include the following acts, inter alia •..

     (a) two of the three outspoken female faculty members who served on Ms. Garrick's




                                                     16
                                                A.031
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          Grievance Committee, and who actively questioned Moody administration' s actions

          concerning Ms. Garrick, were terminated following Ms. Garrick' s termination, while the

          two male professors on the Grievance Committee were retained;

      (b) Ms. Garrick was subject to peer reviews while similarly-situated male professors in the

          Communications Program were not;

      (c) Ms. Garrick was disciplined for her " inflammatory rhetoric" at a facu lty meeting, and

          told she needed ··to learn how to speak around here" while a male professor (who wrote

          and presented their joint proposal) was not disciplined; and

      (d) Ms. Garrick was not informed by Moody that she could receive a tax exemption for being

         an ordained minister while her male counterparts were informed of this benefit.

98.       During the relevant time period, Ms. Garrick was denied a reduced teaching load at

Moody while she completed a terminal degree in her field, while similarly-situated male faculty

in tenuinal degree programs did receive reduced teaching loads.

99.             During the relevant time period, Ms. Garrick was required to develop and create

complete, from scratch, five new undergraduate courses beyond the scope of her Instructor

position requirements while recently hired male Instructors received no sim ilar assignments.

100.     Moody' s Title IX coordinator, in the presence of Ms. Garrick and the entire

Communications Program faculty, snidely stated at a meeting that she would have been able to

accomplish certain tasks had she not been occupied with a Title IX complaint.

101.     The Defendant has created a hostile workplace by discriminating against females

repeatedly, including the following acts, inter a/ia ...

      (a) being ignored and shunned by male professors in common work space,

      (b) being told by a male professor how women in Moody' s hiring process freq uently need to




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                                              A.032
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        be '·walked through" the doctrinal statement,

        (c) disparaging comments about Ms. Garrick's dress (" What are you wearing?" remarked one

        male theology professor. "I thought you were a student"),

        (d) disparaging remarks about Ms. Garrick' s undergraduate college and post-graduate

        seminary-"they believe anything and everything there.''

        (e) being told by Larry Davidhizar (" Mr. Davidh.izar"), Moody's Associate Provost of

        Faculty, that she did not understand her theological positions even though she held an

        advanced seminary degree,

        (.f) being shunned by a male Theology professor after Ms. Garrick spoke and wrote about

        '·white privilege'' on Moody's campus.

I 02.      Additionally, during the relevant time period, there were numerous reports of gender

harassment and gender-based violence (sexual assault, rape) that went unaddressed or ignored by

Moody administration contributing to an unsafe campus environment for female students and

faculty to speak up and to report.

103.       Ms. Garrick complained numerous times to Moody administrators and supervisors about

the discrimination and harassment, and Moody had actual or constructive knowledge of the

ongoing discrimination and harassment.

l 04.      Moody failed to take prompt and appropriace remedial action 10 prevent or correct further

discrimination and harassment of Ms. Garrick.

105.       Moody discriminated against Ms. Garrick on the basis of gender in violation of Section

703(a) of Title VII, 42 U.S.C. § 2000e-2(a).

106.       As a direct and proximate result of said unlawful employmeht practices and in disregard

of Ms. Garrick' s rights and sensibilities, Ms. Garrick has suffered great mental anguish,




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                                                 A.033
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bumiliation, degradation, emot,ional distress, pain and suffering, inconvenience. financial crisis.

lost wages and benefits, future pecuniary losses and other consequential damages.

                                              COUNT IV
                    Gender Discrimination (Female) in Violation of T itle VII of the
                    Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.

                                               COUNTV
                                   Title Vil. 42 U.S. C. § 2000e-3(a)
                  Retaliation Against Ms. Garrick for Engaging in Protected Activity

107.      The Plaintiff realleges each of the paragraphs set forth above.

108.      Ms. Garrick engaged in protected activity when she complained about discrimination and

harassment based on gender.

109.       Ms. Garrick engaged in protected activity when she assisted a female student in filing and

processing a Title lX complaint charging discrimination based on gender (for the student's

exclusion from the all-male Pastoral Ministry undergraduate program).

110.       In retaliation for Ms. Garrick's complaints, the Defendant took the following actions,

inter a/ia .. .

       (a) disciplined her,

       (b) threatened to demote her to teaching General Education courses and to assign her elective

       courses to another professor,

       (c) subjected her to an unfounded negative performance evaluation,

       (d) denied her a chance for promotion,

       (e) treated her poorly in her final days at Moody, and

       (f) terminated her employment.




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                                                A.034
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111.    During the relevant time period, and in the middle of Ms. Garrick's assistance to a female

student in filing a Title IX (gender discrimination) complaint, Moody administrators pressured

Ms. Garrick to quit her job.

112.    During the relevant time period, Ms. Garrick experienced open hostility from some of the

all-male faculty in the Bible and Theology Programs after it became known to them that in

January 2016 she began assisting a female student in filing a Title lX complaint (for her

exclusion from the all-male Pastoral M ini stry undergraduate program). Their actions included

the following, infer alia.. .

    (a) shunning,

    (b) silent treatment, and

    (c) in February 2016, during a meeting of the Respect for Women Professionally and

        Ministerially group, a male Theology professor commented that he would rather have "a

        thousand Junias's" on this issue (of Ms. Garrick assisting a female student with filing a

        TIX complaint) than a Trx violation. Junias Venugopal was the Provost of Moody at the

        time.

113.    On February 17, 2016, Ms. Garrick was chastised by a faculty member (her facuJty

mentor) for lacking integrity in signing the doctrinal statement while holding to an egalitarian

position.

114.    On February 17, 2016, at a Respect for Women Professionally and Ministerially meeting

Ms. Garrick was openJy rebµked by several faculty members for her activity in assisting a female

student in filing a Title IX complaint.

115.   On February 19, 2016, Ms. Garrick requested a meeting with Debbie Zelinski ("Ms.

Zelinski''), Vice President of Human Resources, to discuss the Title IX backlash and hostility she




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                                            A.035
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was experiencing from peer faculty. Ms. Zelinski, inter alia, suggested that Ms. Garrick avoid

the Sweeting 3 workroom and get a printer for her office.

l 16.      On February 23, 2016, in a meeting in which Ms. Garrick discussed the Title IX backlash

and hostility she was experiencing from peer faculty . Mr. Davidhizar and Bryan O' Neal, Dean of

Faculty, pressured Ms. Garrick to quit

117.       Mr. Davidhizar also instructed Ms. Garrick to remove herself from her role in organizing

and co-leading the Respect for Women Professionally and Ministerially group.

118..      Ms. Garrick reported this negative conversation with Moody administrators to

Communications Program Head, Brian Karnmerzelt ("Mr. Kammerzelt").

119.       In January 2017, at Ms. Garrick's two-year performance review, Mr. Kammerzelt praised

her for "doing everything you were hired to do," and informed her that Larry Davidhizar wanted

to know if she intended to stay. Ms. Garrick responded yes.

120.       On March 2, 20 l 7. Mr. Davidhizar communicated with Ms. Garrick that she would not

have a contract renewal in her mailbox when she returned from Spring Recess, and that if Moody

renewed her contract. it would have expectations: "there are performance and interpersonal

issues."

121.     The Defendant has retaliated against Ms. Garrick repeatedly, including the following

acts, inter alia ...

    (a) subjecting Ms. Garrick to a falsified negative performance evaluation. On March 30,

         2017, Ms. Garrick received a negative performance evaluation from Moody's Music and

         Media Arts Division Chair, Terry Strandt (''Mr. Strandt'');

    (b) in January 2017, two months prior to Ms. Garrick receiving a negative performance

         evaluation, Mr. Kammerzelt instructed her to add a new course to her teaching schedule




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                                              A.036
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   (Debate) and to develop what would have been her fifth new course (Missions

   Journalism) slated for release in the fall 2017;

(c) on December 3, 2016, after two years of employment, Ms. Garrick received a glowing

   review in writing by Mr. Strandt after he had observed one of her classes. Core Tools:

   Words: "Dear Janay, Congratulations on your two years of excellent service to MBI.

    Your Industry and enthusiasm is gratifying and contributing in a huge way to your

   Program and the whole Division. I enjoyed very much your class on Grant Writing for

   NGO's. You were concise, clear and engaging with the students. I hope that God blesses

   you with the same unexpected surprise ow- family received by finding a long-tern, home

   at Moody. Warmly, Terry." And just four months later, Mr. Strandt would deliver Ms.

   Garrick a borderline "Below Standards" performance evaluation;

(d) on March 3, 2017, Mr. Kammerzelt stated that Ms. Garrick had been subjected to reviews

   by her peer Communications professors. He stated further that she would have the

   opportunity to similarly prepare reviews of her peers~

(e) on March 30, 20 17, Mr. Strandt stated that peer reviews helped form the basis for his

   negative evaluation of her;

(f) On April 5. 20 17, when Ms. Garrick questioned Mr. Davidhizar about Mr. Standt's

   negative conclusions regarding her work performance as well as his data coJlection

   methods and information sources. Mr. Davidhizar responded: ''This being his (Terry

   Strandt' s) first time has allowed for pure, unadulterated objectivity in all of his reviews.

   No one has had input into his evaluations of anyone including me. My only input back

   before Spring Break is when he mentioned that it would not be a strong review I talked to

   him about what should be included in a "Performance [mprovement Program'";




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                                         A.037
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       tg) Ms. Garrick was never given any information about the peer reviews even though she

           requested to see them. During the Grievance procedure, James Spencer, Vice President

          and Dean of Moody Bible Institute, stated that there were no peer reviews; and

       (h) during her performance evaluation meeting with Mr. Strandt on March 30, 20 17, he

          stated that he had no knowledge of Ms. Garrick ' s work performance and got all his

           information from Brian Karnmerzelt, Larry Davidhizar, and peer reviews.

122.      On April 5, 2017, in an email entitled " Performance Evaluation Follow-up Meeting I

April 7 @ I pm," Moody changed tactics for separating Ms. Garrick from her employment, Mr.

Davidhizar stating that he would like to meet "to discuss (Ms. Garrick's) vocal non-alignment

with the Institute's doctrinal statement as it relates to 'Gender Roles in Ministry.'''

123.      On April 9, 2017, after fighting her negative performance evaluation, Moody raised Ms.

Garrick 's score from 2.57 (borderline "Below Standards") to 2.96 ("Meets Standards").

124.      On April 18, 2017, Ms. Garrick was officially terminated from her employment at

Moody. The reason given for termination was her egalitarian view on gender roles in ministry,

125.      On April 25, 2017, after Ms. Garrick began to speak to students and student journalists

about her termination, Ms. Garrick was dismissed from campus (instructed to turn in her keys and

computer) before the semester's end.

126.      Following her firing, Ms. Garrick was subjected to an impossible Grievance Hearing

process that was lacking in any manner of reasonable due process. For example. retaliatory acts

by the Defendant, inter alia ...

       (a) on April I 8, 2018 when Ms. Garrick was given her notice of termination, Moody

          commented that she could file a grievance but that she would not have much time to do




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                                               A.038
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          so. The Defendant stated that summer break would make it all the more difficult to

          convene a Grievance Committee as faculty would not be on campus;

       (b) in preparation for the Grievance Hearing, questions for witnesses had to be approved in

          advance by Moody, and Moody gave Ms. Garrick less than 24-hour notice about her

          ability to call witnesses (in the middle of the work week) to testify on her behalf; and

       (c) at the July 7, 2017 Grievance Hearing, Moody would not allow any underlying

          discrimination or retaliation facts to be discussed.

127.      Al the Grievance Hearing, Mr. Davidhizar admitted to hearing Ms. Garrick state her

egalitarian position on gender roles in ministry during her Chicago campus interviews in October

2014.

128.      Desiree Hassler, the female Assistant Professor of Music and grievance committee

member, who questioned Mr. Davidhizar on this point was later fired.

129.      Ms. Garrick was fired for assisting a female student in filing a Title IX complaint

130.      There was a causal connection between Ms. Garrick's complaints and the materially

adverse actions taken against Ms. Garrick by Moody.

131.      The retaliation endured by Ms. Garrick would dissuade a reasonable employee from

making complaints of discrimination and harassment.

132.      Moody retaUated against Ms. Garrick for engaging in protected activity in violation of

Section 704(a) of Title VII. 42 U.S.C. § 2000e-3(a).

                                              COUNT VI

          Religious Discrimination (egaHtarian Christian) in Violation of Title Vil of the
                  Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.

133.      The Plaintiff realleges each of the paragraphs set forth above.

134.      Ms. Garrick was hired in December 20 14 in spite of her known and stated



                                                   24
                                                A.039
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position/disagreement with Moody's "Gender Roles in Ministry" addendum included in its

doctrinal statement.

135.       Ms. Garrick was offered two subsequent contract tenewals (academic years 2015-16 and

2016-17) in spite of her stated position/disagreement with Moody's " Gender Roles in Mini stry"

addendum.

136.       After Ms. Garrick assisted a female student in filing a Title IX complaint, Ms. Garrick

was terminated for her stated position/disagreement with Moody's ·'Gender Roles in Ministry"-

addendum included in its doctrinal statement, Defendant stating that she could not sign the

doctrinal statement based on her holding to an egalitarian position (Moody holds to a

complementarian position that excludes women from certain roles within the church due to their

gender).

13 7.      During the relevant time period, there were key male Moody Radio personnel who did

not affinn "without disclaimers, clarifications, or personal exceptions" the '·Gender Roles in

Ministry" addendum in Moody's doctrinal statement and therefore refused to sign the doctrinal

statement but who remained employed by Moody.

138.       The Defendant has created a hostile workplace by d iscriminating against egalitarian

Christians repeatedly, inc luding the following acts, inter alia ...

           (a) At a Communications Program meeting, Ms. Garrick was slandered as a " liberal

              progressive" by a peer professor and informed by a Moody administrator that this

              peer professor "hates you."

           (b) Ms. Garrick was terminated from employment for her "inability" to sign the doctrinal

              statement while other male faculty openly espoused egalitarian points o f view and/or

              attended egalitarian churches and remained employed by Moody.




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                                                A.040
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139.      Ms. Garrick was terminated from employment for her "inability" to sign the doctrinal

statement while male faculty openly espoused differing points of view from the doctrinal statement

(for example, on gifts of the Spirit, inerrancy of Scripture, eschatology) and who remained

employed by Moody.

 140.     Moody discriminated against Ms. Garrick on the basis of religion (egalitarian Christian)

in Violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.

                                       PRAYER FOR RELIEF

          WHEREFORE, the plaintiff, Janay E Garrick, prays for relief as to all counts or this

 Complaint as follows:

          A,     An order declaring that MBI violated Title IX and Illinois law;

          8.     An order enjoining future violations by MBI~

          C.     lnj unctive relief sufficient to eliminate unlawful and discriminatory policies and

 procedures at MB[;

          D.     Payment of all costs of implementing and monitoring such injunctive relief;

          E.     Payment of the plaintiff's lost past and future wages, benefits, and any other

 income and/or monetary or monetized benefits of employment that she would have been entitled

 to absent MBI's unlawful acts;

          F.     Payment of her contract damages;

          G.     All other compensatory and consequential damages proven by the plaintiff;

          H.     Punitive damages sufficient to punish MBl for its unlawful behavior and to deter

 future discriminatory conduct;

          I.     Payment of the plainti ff's attorneys' fees and all costs of litigation (including any

 expert witness fees);




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                                               A.041
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        J,       Pre-and post-judgment interest; and

        K.       All other and relief, whether legal or equitable, that the Court may deem

appropriate.

                                         JURY DEMAND

        The plaintiff demands a trial by jury on all counts.

Dated: January 3, 2019                         Respectfully submitted,


                                                       Isl Janay E. Garrick


Janay E. Garrick
PO BOX 1729
Orlando, FL 32802
( 407) 803-3051
Janay. garric k@grnail .com




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                                             A.042
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                                      CERTFICATE OF SERVICE

         I, the undersigned, certify that on January 3, 2019, I had the foregoing document served by filing
it with the Clerk's Office via USPS. On that day, I also served a true and,correct copy of the foregoing
              rd
Plaintiff's 3 Modi}led First Amended Complaint upon Defendant by causing said document to be
delivered to it via email, to which form of service it has consented. addressed as follows:

        Christian Poland
        Bryan Cave LLP
        161 N. Clark Street, Suite 4300
        Chicago, IL 6060 l
        christian.poland@bryancave.com



                                                          Isl Janay E. Garrick

Service List:

Christian Poland
Bryan Cave LLP
16 I N. Clark Street, Suite 4300
Chicago, IL 6060 I
christian.poland@ bryancave.com




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                                                A.043
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                              EXH IBIT A




                                  A.044
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                                 MOODY BIBLE INSTITUTE


                                         FACULTY CONTRACT
    Mood y Bihle ln~lltute (he re inafte r referred to as "MBl" J ente rs into this ag reeme nt with

                                                            Ms. Janay Garrick

    ( hereinafte r refe1Tcd to as ··the fac ulty membe r"). who ag rees to accept a nd fi ll the positio n(<;) of

                                            Instructor, Department of Communications

    a t MBI for the school year beginning July I , 20 16 and endi ng J une 30. 201 7.

    MBI agrees 10 pay the faculty me mbe r a salary of $ 53,520 (plus o r m inus any bud_get o r rank adjus tment and inc lud ing.
    if a ppropriate. u ho using allowance to be approved annually by the board of trustees). The salary w ill be paid in 12
    mo nthly insca llme nts o n the last business day o f eac h of the 12 months in the contract year, subject to deduc tio n" a,-
    require d by law. and o the r deduc tio ns. if any, as autho rized by the fam ily membe r. Benefits as dete rmined by MB [ a re
    pro\'ided to e ligible fac ulty. If the fac ulty me mbe r pe rforms year-ro und administrative respo ns ibi lities, MBl ag rees to
    g rant the farnlt:y me mber NIA weeh vacation w ith pay.

    The facu lty me mber agrees (a) to perform di lige ntly and fait hfully, unde r the supervis io n of the provost and dean of
    e dut:atio n. and the appropria te dean, the respo ns ibi lities prescribed for thi5 position, and (b) to adhe re fai thfully to the
    sta nda.rds, po lic ies, and procedures establis hed by the Faculty Manuul a nd the Employet' fllfor111atin11 G uidi:'. T he fac ulty
    me m ber's spec ific respo nsibilities w ill be de termined by his/he r depa rtme nt c hairman and the appropriate dea n .

    The fac ulty member abo agrees to read the attac-h ed Oocrrina l Statemenr and /11srit11tio11al Positions Related to the M ood y
    BilJ/e lnstiflltt> Doctrinal Statt'mt'11t ( 1928) and the fi na l Adde ndum and, by returning this contract da ted and s igned,
    a ffi rms that he/ s he agrees w ith, persona lly adhe re!> to, and s upports eac h and every stateme nt.


\   M Bl and the facu lty membe r mutually agree that this contrac t wi ll be bindi ng o n both parties e x.1.:e pt as m odifie d by the
    mutual conse nt o f the Trustees and/or the President and the fac ulty me mbe r, or un less termina ted for cause, in w hic h case
    the prot:ed ures of te rminatio n s tated in the c urre nt Farnlty Manua l and the Employee biformation Guide w ill be fo llowed
    by bo th parties.




                                                    ace Sc hool

       ►          I.. ~ \(_t '   ~




                                                                   A.045
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                                EXH IBIT B




                                  A.046
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 Teaching loads for those in Sacred Music, Missionary Aviation and Lifetime Fitness and Sports
 Ministry Department are formulated differently. Faculty members should consult with the
 department Chair about specific requirements.

Overloads
Undergraduate faculty may be invited to teach overloads in their own department or in other
undergraduate departments when such needs arise. All such assignments must be cleared
through the faculty member's department chair. Faculty members should guard against
becoming overextended.

Adjuncting
Undergraduate faculty may be invited to teach in either the Graduate Division or the External
Studies Division within the Education Group. All such overtures must be cleared by the faculty
member with the department chair before any commitment is made. Formal exchange
arrangements of faculty between Graduate and Undergraduate Division have been established.
All such initiatives must be cleared in advance with the graduate and undergraduate deans and
the department chair.


                                      TERMINATION


If for some reason a faculty member is not to be retained after the Spring semester, notification
will be given to the teacher concerning this decision by the last Friday in November of the Fall
semester, except for serious violations of Institute policy which may result in immediate
termination.


                                           WRITING
                                  (For Outside Publications)


When articles prepared by faculty members appear in outside publications, the author shall
request that the official connection with the Institute be indicated giving the official position, or
stating simply "a member of the faculty of Moody Bible Institute." It is also appropriate to use
faculty rank.

Official connection with any publication is governed by the policies already stated under the
section entitled "Boards."




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                                            A.047
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                                EXH IBIT C




                                  A.048
               Case: 1:18-cv-00573 Document #: 67 Filed: 01/07/19 Page 34 of 40 PageID #:737
                   Case: 21-2683    Document: 46         Filed: 07/31/2023    Pages: 130
EEOC Form 161 (11116)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS

To:    Janay Garrick                                                                  From:    Chicago District Office
       c/o Jamie S. Franklin                                                                   500 West Madison St
       THE FRANKL\¾ U..' N \=\RM llC                                                           Suite 2000
       53 W . Jackson Blvd, Suite 803                                                          Chicago, IL 60661
       Chicago, IL 60604



      D                     On oehalf of person(s) aggrieved whose identity is
                            CONFIDENT/AL (2!'1 CFF? §1801. 7(aJ)
EEOC Charge l~o.                              EEOC Representat1ve                                                    Telephone No.

                                                Zachary M. Florent,
440-2018-02205                                  Investigator                                                         (312) 869-8040
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      D          The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

      D          Your allegations did not Involve a disability as defined by the Americans With Disabilities Act.

      D          The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

      D          Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of lhe alleged
                 discrimination to file your charge
      W          Tne 'c.EOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                  information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                  the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
      D          The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


      D          Other (briefly state)



                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached lo /his form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.}

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf of the Commission


 Enclosures(s)                                                                                                             (Date Mailed)


cc:         Tt,e Mood)t Bible Institute of Chicago
            c/o Christian M. Po land
            Bryan Cave LLP
            161 N. Clark Street, #4300
            Chicago, IL 60601




                                                                     A.049
             Case: 1:18-cv-00573 Document #: 67 Filed: 01/07/19 Page 35 of 40 PageID #:738
                 Case: 21-2683    Document: 46         Filed: 07/31/2023    Pages: 130


         EEOC Form 5 (11/09)
                                                                                               Charge Presented to:             Agency{ies) Charge No(s):
                    CHARGE OF DISCRIMINATION
       Tti,s \orm is affected by the Privacy Act of 1974. See enclosed Privacy Act             -
                                                                                               ~ EEOC
                                                                                                      FEPA
                                                                                                                  l/l{D- UJ/</l- 022os-·
               Statement and other informatlon before comcletina this form.

                  Illinois Degartment of Human Rights, Chicago Commission on Human Rights and EEOC
                                                  State or local Agency, if any
Name (indicate Mr , Ms., Mrs.)                                           Horne Phone (Incl. Area Code) Date of Birth
Ms. Janay Garrick                                                                            407-803-3051                           \      04-20-1976
Street Address                                                      City, State and ZIP Code
P. 0. Box 1729                                                      Orlando, FL 32802
Named is the Employer, labor Organization, Employment Agency, Apprenticeship Comrniltee, or State or local Government Agency That I believe
Discriminated Aaainst Me or Others. (If more than two, list under PARTICULARS below.)
Name
Moody Bible Institute
                                                                          No. Employees, Members
                                                                                  100+ Emplo_yees
                                                                                                                         I800-356-6639
                                                                                                             Phone No. (Include Area Code)


Street Address                                                   crty, State and ZIP Code
820 N. LaSalle St.                                               ChicaQo, IL 60610
Name                                                                              No. Employees, Members                 I   Phone No. (Include Area Code}

Street Address                                                    City, Stale and ZIP Code


DISCRIMINATION BASED ON (Check appropriate box(es).)                                                          DATE(S) DISCRIMINATION TOOK PLACE

                                                                                                              Earliest            Latest
□RACE           0 COLOR            0 SEX          0 RELIGION 0                 NATIONAL ORIGIN
                                                                                                              2016             12/31/2017
0 RETALIATION                □ AGE        0 DISABILITY 0 GENETIC INFORMATION
0 OTHER (Specify)                                                                                              0 CONTINUING ACTION
THE PARTICULARS ARE (If additional paper is needed, attached extra sheet(s)):


       lam a former faculty member at Moody Bible lnstirute (·'MB!"). I was hired on December l , 2014 as
an Instructor of Communications. I was terminated on April 17, 20 17 in violation of Title VII of the Civil
Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq., because of my gender (fema le) and my religion
(egalitarian Christian). I was also retaliated against in violation of Title VlI after I engaged in-protected
activity by complaining of discrimination. r bring this charge on behalf of myself and all others who are
similarly situated.
                                                                                                                 RECEIVED EEOC
         Please see the attached additional pages for the particulars.
                                                                                                                              JAN O5 201~

                                                                                                                 8HICAGO DISTRICTOFFICE

I wanl lhls charge filed with both the EEOC and the State or local                NOTARY - When necessary for Stale and Local Agency Requirements
Agency, if any. I will advise the agencies if I change my address or
phone num'llet at\11. \ 'Hi\\ CAl)~rate fully with them in the processing of     I .swear or affirm that I /lave read the above charge and that it Is true to
my charge in accordance with their procedures.                                   the best of my knowledge, information and belief.

I declare under penalty of perjury lhat lhe above Is true and correct            SIGNATURE OF COMPLAINANT


         Date
                               ,JO-i\~(±.;J,
                                 Cha~ Party Signarure
                                                                                 SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                 (month, day. year)




                                                                           A.050
  Case: 1:18-cv-00573 Document #: 67 Filed: 01/07/19 Page 36 of 40 PageID #:739
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EEOC Charge ofJanay Garrick
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Introduction

MBl is a private academic institution with a stated mission of tra1ning students for the Christian
ministry. It ofters both undergraduate and graduate degrees. MBl receives federal funding from
Title N federal student loan programs, and it is subject to the requirements of Title IX, which
prohibits discrimination on the basis of sex in federally-funded education programs and
activities.

I was hired on a year-to-year basis to teach in the Communications Program, which is one of two
programs in the Music and Media Arts Division. My direct supervisor was Brian Kamrnerzelt,
the Communications Program Head. Terry Strandt functioned as a higher-level supervisor and
the Chair of that Division responsible for performance reviews. I also repo1ted to Larry
Davidhizar, the Vice President and Associate Provost of Faculty.

MBI has a doctrinal statement that all faculty members are required to sign. It holds that the role
of women in ministry is "complementary" - meaning that they are to be subservienno men and
are suited to minister only to other women and children. I made it clear from the beginning of my
association with MB I that I did not agree with this view, and that, in fact , I was an egalitarian
Christian, meaning that I believe that women are equal to men and should not be excluded from
any role in the church (or any other sphere). MBI knew my views when it hired me.

Pattern of Discrimina tion and Retaliation

From the beginning of my tenure at MBI, I was treated with hostility by some key members of
the administration and facu lty. Before my campus interview, [ was told to remove the reference
to being an ordained minister from my resume. 1 was not told why. Later it became clear thai
because I was a woman, MBI did not want me to represent myself as an ordained minister.

Female instructors were confined to certain programs, like tnine, while the Bible and Theology
Programs were staffed exclusively by men. In late 2015, l was asked to assist in forming a
committee to address women ' s concerns on campus. I was explicitly told that any changes
resulting from the committee's work should be small and incremental.

MBI retaliated against me for assisting students who had gender-related and other discrimination
complaints at MBL For example, in January 2016, a black female student came to me for help.
She wanted to change her major to Pastoral Ministry, which is an undergraduate program that
teaches students to become leaders, pastors, and teachers in the church. MBl refused to allow her
to enter the program because of her gender. MB l's website at the time con finned that the
pt()itat\\ was ()nly open to male students.

1 helped this student lodge the first Title lX complaint ever brought at MB!. At first, MB I denied
that the Pastoral Ministry program was not open to women, despite the fact that its website at the
time stated that the program was strictly for male students. Then MB I tried to convince the
student to take courses in another program. Ultimately it became clear that MBL had been




                                             A.051
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EEOC Charge ofJanay Garrick
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discriminating against women by barring them from the Pastoral Ministry program from 1928
until this student filed her complaint.

MBI then dismissed the student's complaint, stating misleadingly thal her concerns were
·'programmatic" and were not ·'appropriately addressed through an investigatory process
designed to address discrete complaints of sexual misconduct." With my help, she appealed,
Professors made disparaging comments to her like ··don't you know the image of God is male?"
and ..what makes you think you have the right to pread1?"

The student and I continued to push MBI to open the program to all women, and I was open and
active in my opposition to MB£'s discriminatory practices. As a result, in April 2016, MBI
announced that they intended to remove the discriminatory restrictions and open the Pastoral
Ministry program to women, after decades of denying them access. though MBf continues to
informally discourage women from applying. There are currently just three women in a program
that has approximately 60 students enrol led. However, as of the date of the conclusion of my
appeal ofmy termination (June 26, 2017), it is my understanding that MBl still had not removed
the gender restrictions from that degree program.

I also assisted a transgender student with her hostile environment concerns, which I reported to
faculty and administrators. That student ultimately left the institution because of the
discrimination and harassment she experienced.

As a result of my advocacy, I was retaliated against by MB I. For example, after a meeting of the
"Respect for Women Professionally and Ministerially'' Committee. in which I stated that
denying women access to the ministry program was discriminatory under Title IX, my faculty
mentor called me into her office. She admonished me by reading me the section of MB l's
doctrinal statement on gender roles, then asked, ·'How do you have any integrity working here?'"

1n February 2016, as a result of open hostility from faculty who were aware of my Title IX
complaint assistance, I called a meeting with the supervising Deans and Vice Presidents, Larry
Davidhizar and Bryan O'Neal, to talk about the hostile work environment and gender
discrimination l was experiencing. 1 also shared my concerns that other female students and
faculty were being treated differently because of their gender. 1n response, my supervisors
treated me with increased hostility and questioned whether I could sign the doctrinal statement
again. At the end of the meeting, they began to discuss terminating my employment, telling me I
should voluntarily leave MB I. I decided to stay and fight.

1n September 20 I 6, one of the theology professors at MBI drafted a proposal that would require
all students to sign a statement that they could not be both LGBT and also ''love Jesus." I spoke
ou\ against this b\atant bigotry at an all-faculty and administration meeting and told a story about
a student who came to me in tears over being told one could not be gay and "saved." l submitted
and co-presented (with a male faculty member) a counter-proposal with an inclusive message.
Mr. Davidhizar pulled me into his office the next day and told me my speech was "inflammatory
rhetoric." He told me I was "nor a Moody fit.'· The male faculty member who co-presented the
proposal was never the subject of any disciplinary treatment.




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Shortly thereafter. MB l denied my application for a promotion in my rank as a faculty member.
I was still ranked as an " instructor'' - the lowest category and pay at MB[ - despite my extensive
ex-perknce and many accomplishments at MBJ. As a result of this retaliatory denial, I lost both
professionaf status and the additional income that I would have received at a higher rank.

My U nlawful Terminatio n

In March 2017, at my two-year review, Mr. Davidhizar made it clear that MBI was considering
not renewing my contract due to alleged '·performance and interpersonal issues." Later that
month, tvlr. Strandt again threatened to terminate me, and delivered to me a negative
performance review- the first written criticism of my performance I had ever received at MB! -
prepared by someone unfamiliar with my work and filled with inaccuracies.

On April 12, 20 I 7, r met with Mr. Davidhizar and the Vice President of Human Resources. Mr.
Davidhizar told me that I did not fit in and that I was not aligned with the doctrinal statement.

On April 17, 2017, I was officially terminated because ofmy gender, my form of Christianity,
and in clear retaliation for my complaints about my own treatment and my complaints on behalf
of female students who were discriminated against.

I filed an internal grievance and went through the grievance process in the summer of 2017. MBl
engaged in a variety of tactics to thwart any chance of success. In my grievance document, 1
presented testimony from 12 women who reported violations ranging from rape to harassment in
the classroom and on the campus. My grievance was denied on June 26.201 7 in a document
filled with more inaccuracies.

[ am now seeking all damages to which I am entitled in law and equitcy, including reinstatement,
back pay, front pay, compensatory damages (including future lost income. emotional distress,
mental pain and suffering, inconvenience, and loss of eajoyment of life), attorneys ' fees, costs of
litigation, and punitive damages.

I bring this charge on behalfof myself and all others similarly situated.




                                              A.053
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                   U.S. EQUAL E1\-IPLOYMENT OPPORTUNITY COMM lSSION
                                     Chicago District Office
                                                                                        500 w,s1 Madison Street, Suite 2000
                                                                                                       Chicngo, IL 60661
                                                                                                      PH: (J 12) 869-8000
     FILE REVIEWS f .-\X: (.l\l) &6q-8220                                                         TTY; (J 12) 869-800 I
     MEDIATIO N: (J 12) 869 -8060
                                                                                    ENFORCE,\IENT FAX: (J 12} 869-8220
                                                                                   STATE & LOCAL FAX: (JI 2) 869-8077
     HEARINGS f AX.: (312) 869-8125
                                                                                            LEGAL FAX: (JI 2) 869-8 I 2.J



                          NOT ICE OF DISCLOSURE RIG HTS
    Parties to an EEOC charge are entitled to review and obtain copies of documents containe
                                                                                                 d in their
    investigative file. Requests must be made in writing to Sylvia Bustos and either mailed
                                                                                            to the address
    above, fa~ed to (J l2) 869-8220 or sent via email to sylvia.bustosr@eeoc. gov (please
                                                                                          chose only one
    method, no duplicate requests). Be sure to i1tcltule vo11r ,wme, ndtlre.u , phone n11mher
                                                                                              am/ EEOC
    clwrge 1111mbu willt y1J11r request.

    ff you are the Charging Party and a RIGHT TO SUE has been issued, you may be granted access
                                                                                                to your
    file:

               Before filing a lawsuit, but within 90 Llays of your receipt of the Right to Sue, or

              Arter your law~mit has been filed. If more than 90 t.lays have el:.1pset.l since your receipt
                                                                                                             o(
              the Right to Sue, include with your request a copy of the entire court compl:Jint
                                                                                                  (tvith court
              stamped docket number ) or enough pages to determi ne whether it w1u filed based
                                                                                                        o n the
              EEOC charge.

   If you are the Re.'ipo11tlent you may be granted access to the file 011/v nfter a lawsuit
                                                                                             has been filed.
   rnclude with your request a copy of the entire court complaint that includes an official
                                                                                              court stamped
  docket number.

  Pursuant to federal statutes, certain documents, such as those which reflect the agency's
                                                                                            deliberative
  process, will not be disclosed to either party.

 You must sign an Agreement of Nondisclosure before you are granted access to the file,
                                                                                         which will be
 sent to you after receipt of your written request. (Statutes enforced by the EEOC prohibit
                                                                                            the agency
 from making investigative infonnation public.)

 The process for access to the file will begin no later than ten ( I 0) days following receipt of
                                                                                                    your request.
When the file becomes available for review, you will be contacted. You may review
                                                                                             the file in our
offices and/or request that a copy of the file be sent to you. Files may not be removed from
                                                                                              the office.
 Your tile will be copied by Aloha Print Group, 60 E1ut Van Buren, Suite 1502, Chicago
                                                                                               , IL 6060S,
 (J 12) 542-IJ00. You are responsible for the copying costs and must sign an agreeme
                                                                                           nt to pay these
costs bdore the file will be sent to the copy service. Therefore, it is recomm ended that you
                                                                                              first review
 vour file to detennine what documents, if any, you want copied. EEOC will not review
                                                                                              your tile or
provide a count of rhe pages contained in it. If you choose not to review your file, it will
                                                                                             be sen! In it.1
entirety to the copy service, and you will be respon.1ible ror the co.,t. Payment must be
                                                                                             made directly
to Aloha Print Group, which charges 15 cents per page.

(Revised 04n0,1 0 16, previous copia obsolerc)




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          FILING SUIT IN COURT OF COMPETENT JURISDICTION
   P RH'ATES (;fT RlGHTS


   The issuance of this Notice of Rig!,/ to Sue or Dismissal alt{/ Notice of Rights ends the EEOC process with
   respect to your Charge. You may file a lawsuit against the Respondent within 90 days from the date you
   receh·e \nis Notice. Therefore, you should keep a record of the date. Once the 90 day period is over, your
   right to sue is lost If you intend to consult an attorney, you shou Id do so as soon as possible. Furthermore, in
   order to arnid any question that you did not act in a timely manner, if you intend to sue on your own behalf;
   your suit should be filed well [n advance of the expiration_ of the 90 day period.

   You may file your lawsuit i.n a court of competent jurisdiction. Filing this Notice is not sufficient. A court
  complaint must contain a short Statement of the facts of your case which shows that you are entitled to relief.
  Generally, suits are brought in the State \Vhere the alleged unlawful practice occurred, but in some cases can
  be brought where rele\·ant employment records are kept, \\ here che employment \vould have been, or where
  the Respondent has its main office.

  You may contact the EEOC if you have any questions about your rights, including advice on \\hich court can
  hear your case, or if you need to inspect and copy information cont:iined in the case file.

  f f THE FIRST THREE CIL-\RACTERS OF \'OllR EEOC C f URGE :-i{.;,\181::R .-\RE ''21 8 " .A.'i D \ 'Ol"R Ct URGE WAS
  l.\HSTIG..\ TED BYTIIE I LLl.\O1S D EPARTME,\ T OF H L':'>L\.\ RIG HTS (IDHR), REQl'EST FOR RE\1E\'1~G .-\ .' HJ
  C:OP\'l:\G ooc nrE:\TS FRO.\! YOL'R FILE MUST BE DIRECTED TO IDIIR.

  A lawsu it against a private employer is general ly fileJ in the U.S. District Court.

  A lawsuit under Title VH ofrhe Civi l Rights Act of 1964, as amended, against a State agency or a political
  subdivision ofche State is also generally filed in the ~.S. District Court.

 However, a lawsuit under the Age Discrimination in Employment of the American with Disabilitie~ Act or,
 probably, the Equal Pay Act against a State in:;trnmentality (an agency directly funded and controlled by the
 Stare) can only be fi led in a Seate court.

 A lawsuit unJer the Age Discrimination io Employment Act or the American with Disabilities Act or the
 Equal Pay Act against a political subdivision of a State, :;uch .1s municipalities and counties, may be fil ed in
 the U.S. District Court.

 For a list of the U.S . District Courts, please see the reverse side.

 A TIORSEY REPRESE~T..\ TIO.~-


 If you cannot afford an attorney, or have been unable to obtain an attorney to represent you, the court having
jurisdiction in your case may ass ist you in obtaining a la\\)·er. ff you plan co ask the court to hefp you obtain
a lawyer, you must make this request of the court in the form and manner it requires. Your request to che
court should be made well in advance of the 90 day period mentioned above. A request for representation
does nor relieve you of the obligation to file a lawsuit within the 90-day period.

D ESTRL'CTIO.'i OF FILE


[fyou file suit, you or your attorney should forward a copy of your court complaint to this office. Your file
\Viii then be preserved. Unless you have notified us that you have tiled suit, your Charge file could bi;'
destroyed as early as six month5 after the date of the Notice of Right to Sue.

l.F \'OL" FILE SL TT, \'O L"OR \'OL"R A ITOR.'iE\-' SIIOL'LD :\OTIFYTHIS OFFlCE \\ HE.'i T HE LAWSlH IS RESOL\ £0.




                                                  A.055
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Exhibits to Moody’s Motion
to Dismiss Garrick’s Third
 Modified First Amended
        Complaint




                            A.056
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                     MOODY BIBLE INSTITUTE

                      EMPLOYEE INFORMATION GUIDE
                                 July 1, 2016




                                   A.057
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                                           INTRODUCTION



  Our Purpose
  As a higher education and media ministry, Moody exists to equip people with the truth of
  God's Word to be·maturing followers of Christ who are making disciples around the world.

  Purpose Statement -    Unwrapped

         As a higher education and media ministry,
         These are our areas of ministry. Higher education includes undergraduate education,
         graduate education, and non-degree adult education. Media ministry is intentionally
         broad, and it currently includes publishing and radio. However, with ever-changing
         technology, Moody may utilize new forms of media that prove to be effective.

         Moody exists to equip
         This is our core business. We are in the equipping business, which means both the
         proclamation of the Word to all and the development of ministry skills in people.

         people
         Our ministry is to all people. Both believers anc,i nonbelievers are influenced by the
         ministry of Moody.

         with the truth of God's Word
         The Bible is the basis for everything we teach, broadcast, and publish.

         to be maturing followers of Christ
         This is the immediate impact of Moody's work-moving people along in their journey
         toward maturity in Christ.

         whp are making disciples around the world.
        . Making d,isciples is the goal of mature believers. This, then, is the ultimate impact of
          Moody's work-contributing to the fulfillment of the Great Commission.

  Our Values
 The authority of the Word of God
 The centrality of the Church
 The worth and dignity of the individual ·
 The priority of servanthood
 The practice of integrity
 The responsibility of stewardship

 Values Statements - Unwrapped

         The Authority of God's Word
         At Moody we believe that the Bible is the inerrant Word of God and the final authority
         with respect to our faith, our worship, and our personal conduct.




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         The Ce,ntrality of the Church
         Because the Church is God's instrument in the world to reconcile mankind to Himself
         through Jesus Christ in this age, our ministries at Moody will complement and support
         the work and mission of the Church-not compete with it.

         The Worth and Dignity of the Individual
        . As God's creation, each person has worth to be valued and respected without regard
          to individual giftedness, identity, gender, or life circumstances. At Moody our
          relationships, attitudes, and actions will consistently reflect this fundamental truth.

         The Priority of Servanthood
         Our obligation as believers is to serve Christ, and in His name to serve others-rather
         than being served. Regardless of our roles or responsibilities, each of us at Moody Will
         exhibit the attitude and actions of a servant.

         The Practice of Integrity
         As believers within the Moody community we will strive for an honest and authentic
         congruence of heart, body, words, and actions-based on our alignment with and
         commitment to God's Word.

         The Responsibility of Stewardship
         Because God owns everything, we are to be faithful stewards of the gifts and good
         things from God's hand. For this reason, at Moody we will strive to efficiently and
         effectively manage all the resources He has entrusted to us.

  Our Rich Heritage

  1800s
     1886 A formal meeting at Farwell Hall with Mr. Moody addressing the gathering results
          in the founding of the Chicago Evangelization Society (later renamed Moody Bible
          Institute).
     1891 Institute Tie, later known as Moody Magazine, begins.
     1894 The Bible Institute Colportage Association is founded by Mr. Moody.
     1899 The Bible Institute Colportage Association is incorporated.
     1899 D.L. Moody dies at his home in Northfield on December 22.
                                             nd
     1899 Dr. R.A. Torrey becomes Moody's 2 President.

 1900 -1950
    1900 The name Chicago Evangelization Society formally changes to Moody Bible
          Institute on March 21.
     1901 Moody Correspondence School is organized (distance courses in some form began
          as early as 1895}.
     1903 Moody Evening School is organized, although evening classes were held as early as
     1889.
                                                     rd
     1904 Dr. James M. Gray becomes Moody's 3 President.
     1925 First Institute radio broadcast over WGES.
                                                 2




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     1926 WMBI, Moody's first radio station, goes on the air.
                                                    th
     1934 Dr .. Will H. Houghton becomes Moody's 4 Presiden~.
     1938 Crowell Hall is built.
     1941 The Bible Institute Colportage Association becomes Moody Press (later Moody
           Publishers).                          ·
      1945 Moody Institute of Science is founded, later to become Moody Video .
    . 1946 Moody begins aviation training.
                                                       th
      1947 Dr. William Culbertson becomes Moody's 5 President.

  1950 ~ 2000
     1951 Houghton Hall is built as a women's dorm.
     1958 MOODY purchases radio station WCRF in Cleveland, Ohio and shortly thereafter,
         WDLM in Moline, Illinois. This is the catalyst for a network that would grow to
          include 35 stations in the continental U.S.
     1969 Culbertson Hall is built as a men's dorm.
                                                      th
     1971 Dr. George Sweeting b~cornes Moody's 6 President.
     1972 Moody Evening School opens its first off-campus location.
     1973 Pastors Conferences begin.
     1982 Moody Radio begins satellite-feed broadcasting system.
     1986 Moody Graduate School begins.
     1986 Moody celebrates its 100-yearanniversary.
     1987 Dr. Joseph M. Stowell becomes Moody's /h President.
     1989 MOODY receives regional accreditation.
     1990 Solheim Center is built as Moody's sports complex.
     1991 Sweeting Center for World Evangelization is built.
     1998 Alumni Student Center is built.

  2000 - present
     2000 Moody begins on-line education.
     2003 Ministries of Moody Magazine and Moody Retail come to a close.
     2005 Moody Aviation -relocates to Spokane.
     2006 Moody Northwest becomes a branch campus, renamed Moody Bible Institute-
          Spokane.
                                                   th
     2005 Dr. Michael J. Easley becomes Moody's 8 President.
     2006 The Five Love Languages makes the New York Times Best Seller list.
     2008 Moody Broadcasting Netwo.rk becomes Moody Radio.
                                            th
     2009 Dr. Paul Nyquist becomes Moody's 9 Presiden·t.
     2009 Moody Graduate School becomes Moody Theological Seminary and Graduate
     School.
     2010 Michigan Theological Seminary merges with Moody to _become Moody Theological
          Seminary- Michigan.

 To learn more about Moody's rich heritage, see About Moody.




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                                      COMMUNITY STANDARDS

  Moody's Christian Identity and Values

  At Moody Bible Institute we value being a community of caring Christians dedicated to helping
  one another grow toward Christian maturity. We are part of the larger Christian community
  and we represent an institution committed to spreading the Word of God through education
  and media ministries. We seek to cultivate attitudes and conduct that are consistent with
  Scripture, striving to reflect God and his values in our lifestyle and the conduct of our service.

  As members of the MBI Christian community, we commit ourselves to live ~hrist-honoring
  lives. Employment at MBI presupposes that each employee has committed his or her life to
  Jesus Christ for salvation and Christian service. A lifestyle in accordance with biblical principles
  is essential to demonstrate that commitment to fellow employees, to MBI students, and to
  the outside world. Scripture clearly indicates that "whatever you do, whether in word or deed,
  do it all in the name of the Lord Jesus" (Col. 3:17).

  Rules and the Christian Life

  The Scriptures encourage us to pursue a course of conduct that is free from both lawlessness
  and legalism. Rules are not in themselves a test of spirituality, yet a spiritual person will
  submit to God's Word and to God's established authority (e.g., church, government,
  employer). Such a person will live in love and self-control in the community in which God
  allows him or her to live and serve.

  The Bible clearly presents certain absolutes of moral behavior. In other areas where absolute
  principles do not exist, Christians must search the Scriptures for wisdom in dependence on the
  Holy Spirit. MBI calls its employees to live in accordance with all biblical absolutes. On the
  other hand, matters of individual discernment will be left to the Christian's conscience (with a
  few exceptions due to communal considerations). In every instance, the exaltation of God's
  holy name is what should ultimately determine the employee's behavior.

  Biblical Absolutes and Moody Employees

  By biblical absolutes, M.Bl means those unchanging scriptural truths about God, his creation,
  and his will for human beings. Rooted in his character and law, these truths are universal,
  unchanged by time, circumstances, culture, or human interpretation. Included in the
  absolutes are certain requirements of the Bible about moral living.

         Positive Commands
         Because we desire that the life of Christ be manifested in the MBI community, we
         expect that a believer will seek to follow every dire~t command.of God. Examples of
         Scripture's positive commands would include actively participating in a biblical*,
         Protestant local church, loving all people, being filled with the Holy Spirit, obeying the
         Word; and trnsting God for personal needs (Prov. 3:5~6; Luke 11:28; John 13:34-35;
         Gal. 6:10; Eph. 5:18-21; Col. 3:12~17; 1 Thess. 5:12-22; Heb. 10:24-25).


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          Prohibitive Commands
          Biblical teaching forbids practices such as idolatry, stealing, drunkenness, chemical
          dependency, gossip, gluttony, dishonesty, occult involvement, murde·r, profanity, law-
          breaking, the use of illegal, addictive, or mind-altering drugs (including marijuana),
          physical abuse or battery, child abuse, all sexual activity outside of the husband/wife
                                                                                         1
          marital relationship (including porno~raphy, all other manifestations of the sex
          industry', and homosexual or transgender behavior). Furthermore, attitudes such as
          lust, greed, divisiveness, thanklessness, pride, hatred, rebelliousness, and jealousy are
          equally displeasing to God. (Gen. 1:26-27; Ex. 20:1-17; Ps. 11:5; Prov. 6:16-19; Rom.
          1:26-27, 13:1-14; 1 Cor. 6:9-20, 15:34; Gal. 5:19-21; Eph. 5:1-18; Col. 3:5-10; 1 Thess.
          4:3-8; 1 Pet. 5:8)

   While recognizing that no Christian can attain perfect holiness this side of heaven, MBI
   nonetheles-s calls its employees to let these biblical absolutes govern their lives at work and
 · away from the workplace at all times.

  Matters of lnd.ividual and Communal Discernment

  By individual discernment we mean each employee is free to follow a biblically informed
  conscience. As noted above, Scripture provides certain moral absolutes that MBI expects to be
  followed. Concerning issues about which Scripture is not clear and Christians disagree, MBI
  endeavors to leave these matters to the individual's conscience as described in Romans 14.
  "Who are.you to judge the servant of another? ro his own master he stands or falls; and he
  will stand, for the Lord is able to make him stand ... Each person must be fully convinced in his
  own mind" (w. 4-5). ·

  The guiding principle of a Christian's moral life is God's glory. This means we will never use our
  moral freedom as an occasion to abuse our bodies, which are G'od's temple. It also means our
  Christian. liberty must be balanced by the needs of the broader community to which we
  belong and our behavior adapted to its benefit.

   Therefore, certain prohibitions not mentioned in Scripture are nonetheless necessary for the
   MBI community. While in the workplace or carrying out MBI job duties, employees are
   prohibited from consuming alcoholic beverages, using tobacco products or gambling in any
   form or venue. Though these are not explicit biblical commands, neither are they left to
 · employee discernment; they are communal limitations that allow MBI to maintain a good
   reputation so as to· glorify God in all things.


      1
 *By biblical 1 we mean a church that subscribes to the five prim.ary doctrines of biblical
 Christianity, which are: 1) The Trinity: God is one "What" and three "Whos" with each "Who"
 possessing all the attributes of Deity and personality. 2) The Person of Jesus Christ: Jesus is
 fully God and fully man. 3) The Second Coming: Jesus Christ is coming bodily to earth to rule
 and judge. 4) Salvation: It is by grace alone through faith alone in Christ alone. 5) The
 Scripture: It is entirely inerrant and sufficient for all Christian life.

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  Human Sexuality

  The Moody Bible lnstitute's foundation for understanding human sexuality is rooted in .our
  commitment to the Bible as the only authoritative guide for faith and practice. The first two
  chapters of Genesis const.itute the paradigm and prerequisite of God's enduring creative
  intent for human personhood, gender and sexual identity, and sexual intimacy in marriage
  {Genesis 1:27, 2:24; cf. Matthew 19:4-5).

  We affirm that humanity came from the hand of God with only two sexual distinctions-male
  and female-both in the image of God, and emerging from one flesh with the unique physical
  capacity to reunite as one flesh in complementarity within a marriage. God's creation design
  and intent for marriage as expressed in Genesis 2 is therefore exclusively between one man
  and one woman. Marriage alludes to the love of Christ for His Bride, the Church (Ephesians
  5:22-33; Revelation 19:7-9). Within this monogamous context, intended to be lifelong, sexual
  intimacy is a glorious blessing from God.

  We affirm the worth and relevance of human gender and sexuality, and of sexual intimacy as a
  distinctive of marriage. Based on Scripture (cf. Leviticus 18, 1 Corinthians 5-6, and other
  passages), non-marital sex, homosexual sex, same-sex romantic relationships, and gender
  identification incongruent with one's birth-sex all violate God's generous intention for human
  relationships. Such practices misrepresent the nature of God Himself, and therefore are sinful
  under any circumstance. In God's standards, we find merciful restraint on our fallenness.
  Concerns about sexuality and gender may be difficult to disclose, but suffering in silence is a
  far greater challenge. Moody. Bible Institute believes that people are best supported if we are
  able to share our questions, struggles, or our self-understanding with trusted others.

  We affirm God's love and concern for all of humanity-a concern that compelled Him to offer
  His Son a ransom for our lives-and we consider His biblically recorded and specifically
  defined guidelines for sexual practice to be enduring expressions of His love and protection of
  our human identity (cf. Matthew 19:5-9).

  Our expectation is that the entire Moody community will honor the biblical obligation to
  surrender one's body to God (Romans 12:1). Our community standards reflect our
  commitment to support the spiritual and relational maturation of each member as we
  endeavor to stand in the fullness of Christ's stature (Ephesians 4:11-13; cf. 1 Thessalonians
  4:3-8). We willingly submit ourselves to these biblical mandates in light of our call to holiness
  and to self-surrender.




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                             MOODY BIBLE INSTITUTE
         INSTITUTIONAL POSITIONS RELATED TO THE MOODY BIBLE INSTITUTE
                          DOCTRINAL STATEMENT (19 28)

    Introduction

   Throughout its history MBI lrns wit ho tit qualificutlon held to the essentinls of biblical orthodoxy.
    In addition it hns defined itself in other distinct ways in terms of more specific interpretntions of
   Scripture. These positions are reflected in the Docl/'fnal Statement ( 1928) documents und
    policies published by the Institute, This /11stlt11tio11al ?oslliv11s Related to the Moo<(I' fl/hie
   I11stft11te Doc/l'fnal Stuteme/11 (1928) was produced lo clarify nnd nrnke explicit the doctrinul
    positions of the• institution,

   While the IosUtute s particular definitions are important to Its position, it is readily recognized that
                       1


   they do not define orthodoxy for the whole body of Christ. MBI gladly embrnces nil that
   faithfully adhere to the essentials of biblical Christlanity as fellqw belie.vers and colleagues In
   Christ's cause,

   · Whereas biblical Christianity is defined by the central tenets of the faith, throughout the history of
    the Church val'lous groups have employed more specific definitions to define themselves.
    Historically MBI has maintained positions, which have identified it as non-charismatic,
  . dispensutional, artd generally Calvinistic.

   To maintain continuity and consistency with the heritage entri1sted to its ca['.e, the Institute
   expects faculty und ndminlstrotion to ag1·ee with, ·pe,·sonully udhere to, und support the Instilute's
   doctrinal distlnctives as noted above and defined in the following l11stit11t/011al Positions RrJ!ated
   10 the Moody Bible lmHi111te Doetrinal S1ate11umt (1928),




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                                                                                                            EXHIBIT

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                                         MOODY BIBLE INSTITUTE
                                         DOCTRINAL STATEMENT

    Article l

   Gori Is a Perso11 wlto has revealed Hlms~ff <Js ti 'frini(JI /11 1111/ty, FatIt er, S011, mu/ Hqly Spirit~
   three Persons mu/ yet b-,,1 one God (Dc!tlterouomy 6:4; Mathew 28,•19; I Corl11thi1111s 8:6).

   Arti()IC n

   Tlte Bible, lnclml/11g both the Old all(/ New Testame11ts, is" divine rei1e/atio11, the orlgl11al
   a11tograplls ofwhlcft were vel'hal/y inspired by tlw lfo(11 Spirit' (II Timothy 3.'16,-
   ll Peter 1:21),

   Articlo III

   Jesus CltrW is Ille image oftlw /1111/slbla God, wltielt Is to s(ly, Hai.~· Himseff11e1:p God,· He
   took ,,poilll/111 our 11at11ra, being co11cei11ed by the Holy Sp/I'll (lltd boru of the Vir!{III Mm:1','J
   He tiled upon the cross.as a substit11tlmtary sacrijlcefor lite si11 <if the 111orld,·.1 lie arosefrm11
   tile dead in the body in ,vfllclt He was crucijled,· He asc,mdetf l111t> hem 1ef/ In that fwrl,11
   glorified, 111/tere He Is 110111 our ill({!rceding Higlt Priest; He will come agaittpersmwl/y (I/Id
   v1'sibf.11 to set up His Ki11gdomi and to Jmlge tlte quick am/ tlte rlead (Colossia11s J ,• 15i
   PIIJ//ppim1s 2:5-8; Mutt/Jew 1:18-.25; I Peter 2:24-25,· Luke 24,' Hebrews 4:14-16,· Acts 1:9~1 I,·
   l Thessa/011ia11s 4.-16-18,• Matthew 25:31-46,- Revelat/011 11: 15-17,' 2():4-6, 11-15),

   Article IV

   Man was created5In the image of God bfll fell into si11, and, 111 tit at se11.\'<!, Is lost: this Is true
   of all me11, a11d except,, man he born agal1t·lte ca11110t see the lil11gtlo111 of Gori,· saf11(1f/011 is by
   grace through fa/tit /11 Christ wlto His ow11 self hare our sins ht His own h(){(P 011 tire lf(Uii' tire
   retribut/011 of the wiclt,,u/ and 1mbelle11/11g a11d Ille 1·e111anl of llte rigllteou.\' are e, 1erlast/11g, a1uf
   as tlle rew,ml Is co11sclous, so Is tlte retrib11tio11 6 (Gcmesl.~· J:26-2 7,· Rom,ms 3: I 0, 23; Jol/11
   3:3,· Acts 13:38-39,· 4:12,· .lo/J11 3:16,· Mutthe,v 25,•46,• lJ Cori11t!lia11s 5.'l,' ll Tlws.rn/011/am·.
   1:7-10) ..

   Article V

   TIie Churah 1 is an elect company of believers baptized by the. Ht>ly Spirit into one body; Its
   mlssiott Is to w/luess co11cemi11g Its Head, Jesus Clrrlst, preaching the gos1Je/ 11111011g all            9
   nations,· it will be caught up to meet tlte Lord iu tlte air cmt He appears to set up His kl11gdm11
   (Acts 2:41; 15,·13-17,· Epltes/a11s 1.-3-6,• I Corl1tlhia11s 12;,12-13,• Mattlte,v 28:19-20,• 1k(A' 1.-6,.
   8; I Tlte,,;salo11ic111s 4: 16-18),          .

   (Bonni ofrrustees, October 1928)




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          l[lfSTITUT/ONAL POSITIONS RELATED TO THE MOODY BIBLE INSTITUTE
                             DOCTRINAL STATEMENT (1928)

   FoolltOl(!s elaboN1ti11g The 1928 Doctrhwl Statement

   Footnotes:

    I.       The Bible is without e1·1·or in all it uftlrms in the original nut.ogrnphs and is the only
             authoritative guide for faith and prnctice nnd us $Uch must not be supplanted by nny other
             fields of human learning. ,

   2.        Jesus Christ, the only begotten Son of God, Is fully God and fhlly 111011 possessing both
             deity and humanity united In one pe11son 1 without division of the person or confusion of
             the two natures.

   3.        An lndlvldunl receives the benefit of Christ's substitutionary death by foilh us the result of
             responding to the mcssuge of the gospel. Salvation is the free gifl of God's grace through
             fuilh alone, in Christ alone, therefore not dependent upon church membership,
             Intermediaries, socruments or works of righteousness to uttnin or s11stnin it.

   4.        It is the Institute 1s position that this refer•s to the premillennlul return of Chris! ot which
             time He will set up His millennial reign during which time He will fl1lfill His promises to
             Isrnel.

   5,        This affirms that the first human beings wore a speciul und unique creation by God as
             contrasted to being derived from any pre-existing lite forms. Furthei·, God created
             everything "after its kindH which excludes nny position that allows for any evolutionnry
             process bet ween kinds.

   6.        This statement excludes any position which asserts a tempornry or complete cessation of
             consciousness, or me1·ging with eternal oneness, or arrnihilutlon of the damned, or• u
             "second chance11 or a period of suffering or purification in preparation lbr entrnnce into
             the presence of God.                                                                ·

   7.        The Church of Jesu.s Christ is !\distinct entity from lsrnel in the ongoing prog1·am of God.
             Further1 that this universal Church consists of all who possess saving faith in the death ond
             resunectlon of Jesus Christ from Pentecost to the Rapture of the Church and which will
             represent every language 1 people und notion.

   8.        Christ will return ln the air preceding the seven-year Tribulation nt which time He will
             receive into heaven ull believers who constitute His church. During that t_ribulntion pedod
             God will bring sulvution to Israel and the nations while exercising judgment on
             unbelievers.




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                                   ADDENDUM
        INSTITUTIONAL POSITIONS IN ADDITION TO THE ELABORATION Ofi' THE
               MOODY BlBLE INSTITUTE DOCTRINAL STATEMENT (1928)

   In udditlon to distinctives derived from on historic understanding of the 1928 Doctrinal Slutement,
   the Moody Bible Institute hns historicnlly been Identified witl1 the positions outlined below, While •
   Trustees, education ndIT1inistrators and Faculty are expected to hold these positions, we l'ecognize
   that we serve and minlstei· w.itli others whose traditions diffe1· 011 these subjects.
                                   GENDER ROLES IN MINISTRY

   The Moody Bible Institute values the worth and dignity of all persons without distinctiqn as
   created in God's image. We affirm the priesthood of all believers and the responsibility of every
   Christian woman and man to take an active role in edilYlng the Church. For thut purpose, the
   Holy Spirit distributes ministry gifts to believers without distinction of any kind. Thul reality
   imposes the responsibility on every believer to fulfill ministry consistent with God's gra~e.

    The Institute distinguishes between ministry functlo1fand church office. While upholding the
    necessity of mu tun I respect nnd affirmation as those subject Lo the Word of Ood, MB!·
    understands that the biblical office of elder /pastor in the early church was gender specific,
    Therefore it maintains that it is consistent with that understanding of Scripture that those church
  · offices should be limited to the male gender.
                                SIGN GIFTS OF THE HOLY SPIRlT

   The Institute maintains that there is one baptism of the Holy Spirit that occurs at the time n person
   is born again, placing that one Into the body of Christ. MBI also distinguishes between spiritual
   gifts distributed to believers to equip them for ministry and the \'sign gifis" which ore understood
   to have been manifestations of the Holy Spirit to authenticate the messenger and the gospel
   message during the foundutlonal period of the church, 'fherefore, the Institute holds lhnt "sign
   gifts" ore not normative for the church today.

                    HUMAN SEXUALITY (APPROVED BY 'i'HE FACULTY 1/22/2014)

   In addition to the above, I confirm that I have previously read and affirmed the entire position
   paper on Humnn Sexuality approved by the faculty of The Moody Bible lnslilutc of Chicago on
   January 22, 2014 (the "Humon Sexuality Position Paper") nnd presently acknowledge nnd confil'm
   that I have not changed my position or ag1·eement with the Human Sexuality Position Paper and
   continue to affirm it in Its entirety, as when originally signed by me.




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        MOODY
        Bible Institute·;,                              Office of the Vice President and Associate Provost of Faculty


April 171 2017



 Ms. Janay Garrick
 Instructor of Communications
 Moody Bible Institute

 Dear Janay,

  Thank you for meeting with me last week along with Debbie Zelinski of the Human Resources
 department. The purpose of the meeting was to gain clarific.;1tiqn a·s to your position on "Gender Roles
 In Ministry."· You articulated in our meeting· that you hold·to the egalitarian view. Granted, this view. is ·
within the theological bounds of evangelicalism but it is not the view of Moody Bib.le Institute. As you
know, faculty and upper administration must annually confirm the doctrinal statement which includes
tfie complementarl an view of gender roles without "disdaimers, clariflcatlons, or personal
exceptions .... " For the record I would like to state that your signing of the doctrinal statement in
previous .years wa$ bas~d on the understanding that since you were approved for hiring you must
therefore be able to sign the statement. However, given that your vie~ is different from that of Moody,
we will not give you a contract for the· next academic year.                                     ·


Since it is April, Moody will pay your monthly salary and your benefits will continue through December
2017 without any teaching responsibilities. Moody will also pay for your MFA course scheduled for
summer 2017. We please request that you vacate your office by June 30, 2017 and we wi0 notify
colleagues of your departure on July 1.               ·            ·


Thank you for your service these last five semesters and may God continue to op!:!n doors for you that
will allow for your continued professi.onal and personal growth.    ·




~YI-~
Larry J.1/oavidhizar, PhD
Vice President and Associate Provost.of _Faculty
Moody Bible Institute

UD:ps

cc: Dr. Junlas Venugopal, Provost
    Dr. James Spencer, Vice President and Dean of the Moody Bible lnstftute
    Dr. Terry Strandt, Division Chair, Music and Media Arts
    Ms. Debbie Zelinski, Vice President, Human Resources .
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                                                                                                     EXHIBIT
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            820 N. LaSalle Blvd.
            Chicago, IL 60610
                                       (800) DL MOODY
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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JANAY E. GARRICK,                                 )
                                                  )
                         Plaintiff,               )
                                                  )                Case No. 18 C 0573
                v.                                )
                                                  )                Judge John Z. Lee
MOODY BIBLE INSTITUTE and                         )
THE BOARD OF TRUSTEES FOR                         )
THE MOODY BIBLE INSTITUTE,                        )
                                                  )
                         Defendants.              )

                              MEMORANDUM OPINION & ORDER

        Plaintiff Janay Garrick, a former faculty member of Defendant Moody Bible Institute

(“Moody”), has sued Moody and its Board of Trustees, alleging that it unlawfully terminated her

employment because of her advocacy in favor of women serving as clergy members. Moody

moves to dismiss Garrick’s first amended complaint under Federal Rules of Civil Procedure

12(b)(1) and 12(b)(6), contending that its rights under the First Amendment’s Religion Clauses

bar Garrick’s claims.1     For the reasons that follow, Moody’s motion [68] is granted.

                                              Background2

        Moody is a post-secondary religious educational institution offering both undergraduate




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         The Court previously granted Garrick’s motion to voluntarily dismiss the Board of Trustees as a
Defendant, see ECF No. 23, but Garrick has again included the Board as a Defendant. The docket does
not reflect that the Board has ever been served. Accordingly, the Court dismisses the complaint as to the
Board of Trustees of the Moody Bible Institute pursuant to Federal Rule of Civil Procedure 4(m).
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        When reviewing a motion to dismiss, the Court assumes the alleged facts in the complaint are true
and draws all possible inferences in favor of Plaintiff. See Tamayo v. Blagojevich, 526 F.3d 1074, 1081
(7th Cir. 2008). In addition to the complaint itself, on a motion to dismiss the Court may consider
“documents attached to the complaint, documents that are critical to the complaint and referred to in it, and
information that is subject to proper judicial notice.” Geinosky v. City of Chi., 675 F.3d 743, 745 n.1 (7th
Cir. 2012).




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and graduate courses of study; it accepts federal financial aid.    Pl.’s 3d Modified 1st Am. Compl.

(“FAC”) ¶¶ 1, 5, ECF No. 67. Garrick, who is proceeding in this lawsuit pro se, worked at Moody

as an Instructor of Communications from December 1, 2014, to December 31, 2017.              Id. ¶ 7.

       Prior to being hired by Moody, Garrick was an ordained minister with a Master’s degree

in cross-cultural studies and a Bachelor’s degree in creative writing and speech communications.

Id. ¶ 20. She identifies as an “egalitarian Christian” and believes in gender equality in ministry.

Id. ¶ 22. While interviewing at Moody, she informed her superiors of her egalitarian beliefs.           Id.

Moody hired her with “full knowledge” of her beliefs and twice renewed her contract with this

knowledge. Id.

       According to Garrick, she “quickly learned” that Moody “both tolerated and cultivated an

environment that was hostile to female faculty and students.”            Id. ¶ 24.   This was primarily

driven by Moody’s “complementarian” doctrine, which “excludes women from certain roles

within the church due to their gender,” id. ¶ 136, as well as Moody’s general stances on gender

and sexuality, see id. ¶¶ 30, 48.   The conflict between Moody’s and Garrick’s views played out

in a number of ways during her two-year tenure.

       First, before Garrick’s interview in October 2014, Larry Davidhizar, the Vice President

and Associate Provost of Faculty, told Garrick to remove the statement that she was an ordained

minister from her resume.     Id. ¶ 25.   Furthermore, when she was hired, administrators did not

inform her that she could claim a tax deduction for housing costs as an ordained minister.              Id.

¶ 26. Although she took steps to claim the deduction by filing her ordination license with Moody,

she lost the opportunity to take the deduction for a full year.    Id.




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       In February 2015, a lesbian student approached Garrick about hostility she was

experiencing because of her sexual orientation.       Id. ¶ 30. When Garrick brought the student’s

concerns to Tim Arens, the Dean of Student Life, he warned her that Moody had “community

living standards.”    Id.   The student was later expelled.   Id.

       In late 2015, Garrick was asked to assist in forming a committee to address women’s

concerns on campus—the “Respect for Women Personally and Ministerially” group.                Id. ¶ 28.

From the outset, this group was “viewed with suspicion and hostility,” and administrators told

Garrick to expect any change to be “small and incremental.”         Id.

       Two other female students came to Garrick for help in October 2015 and January 2016,

respectively.   Id. ¶¶ 31–32. Both students wanted to enter Moody’s Pastoral Ministry Program,

but it was closed to women.      Id. Garrick helped one of the students lodge a complaint against

Moody under Title IX of the Education Amendments of 1972.            Id. ¶ 35.   But Garrick soon came

under fire for this advocacy.    At the inaugural meeting of the Respect for Women Personally and

Ministerially group on February 17, 2016, she was rebuked for filing the complaint and asked how

she could have “any integrity.”     Id. ¶¶ 36, 113–14.

       Garrick met with Debbie Zelinski, the Vice President of Human Resources, on February

19, 2016, to address the “backlash” she had suffered from her Title IX advocacy, as well as

“antagonism” she was suffering from male colleagues in a shared workroom.               Id. ¶¶ 29, 115.

Zelinski suggested that Garrick should simply avoid the workroom and get her own printer so she

could work in her office instead.    Id.

       Garrick then met with Davidhizar and Bryan O’Neal, Dean of the Undergraduate Faculty,

on February 23.      Id. ¶ 38.   Davidhizar and O’Neal suggested that she “might not be able to


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continue in the faculty and told her she should voluntarily leave [Moody].”             Id. ¶ 38, 116.

Davidhizar additionally instructed Garrick to remove herself from her role in organizing and co-

leading the Respect for Women Professionally and Ministerially group.             Id. ¶ 117.   Garrick

resisted their suggestions and continued to fight in favor of female students entering the Pastoral

Ministry Program, despite objections from administrators and other faculty members to women

preaching.    Id. ¶¶ 40–45.

         At a meeting for faculty and administrators in September 2016, Garrick spoke out against

a male theology professor’s proposal to require all students to “sign a statement affirming their

belief in and adherence to a biblically orthodox position on human sexuality.”        Id. ¶ 48. Along

with a male faculty member, Garrick submitted a counter-proposal with an “inclusive” message.

Id.    In response, Davidhizar pulled her into his office the next day and told her that the speech

was “inflammatory rhetoric,” and that she was “not a Moody fit.”      Id. ¶ 49. Garrick alleges that

her male co-presenter was never subjected to similar disciplinary action.       Id.

         Soon thereafter, Garrick submitted a written application for a promotion to Assistant

Professor. Id. ¶¶ 50–51. Garrick asserts that she was qualified for the promotion and already

had performed the work of an Assistant Professor, such as developing numerous courses, creating

“institution-wide initiatives like the publication of a new art and theology journal,” and developing

an educational plan for ESL students.      Id. ¶¶ 52–54.   Still, Moody denied Garrick’s request,

stating that she needed to “improve her fit within the division.”   Id. ¶ 55.

         Garrick then underwent a series of performance reviews.     She first received an informal

performance review on December 3, 2016, from Terry Strandt, Chair of the Music and Media Arts




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Division, who congratulated her on “two years of excellent service,” and described her teaching

as “concise, clear[,] and engaging.”     Id. ¶ 57.

       But in early 2017, Davidhizar told her that she had “performance and interpersonal issues,”

and that she should not expect to receive a contract renewal following Spring Recess.          Id. ¶¶ 59,

120. Moreover, directly contradicting Strandt’s review just months before, Brian Kammerzelt,

the head of the Communications Program, told Garrick that Strandt had found her to be performing

“below standards,” and threatened to demote her.         Id. ¶ 59.

       Kammerzelt also informed Garrick that she had been subjected to peer reviews, which

(according to Garrick) did not apply to male faculty members.           Id. ¶ 97(b), 121(d).    Garrick

asked to see the results, but was never given the information.       Id. ¶ 121(g). Garrick eventually

received a formal performance review from Strandt on March 30, which criticized her

performance.    Id. ¶¶ 60, 121(a).

       On April 5, 2017, Garrick received an email stating that Davidhizar would like to meet

with her “to discuss [her] vocal non-alignment with [Moody’s] doctrinal statement as it relates to

‘Gender Roles in Ministry.’”     Id. ¶ 122.      On April 12, she met with Davidhizar and the Vice

President of Human Resources.        Id. ¶ 61.

       During this meeting, Davidhizar told Garrick that she did not fit in at Moody, and that she

was not “aligned with [Moody’s] doctrinal statement as it related to gender roles in ministry.”       Id.

Faculty members at Moody are required to annually sign its doctrinal statement, which describes

certain gender roles for those in ministry.      According to Garrick, however, Moody “selectively

enforces adherence” to the doctrine, “and this enforcement disproportionately affects female

faculty” like herself “who do not ‘align’ or ‘adhere.’”       Id. ¶¶ 67(i), 138(b)–139.   For instance,


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there were “key male Moody Radio personnel who did not affirm” the “Gender Roles in Ministry”

statement but who remained employed at Moody.               Id. ¶ 137.

       Garrick was officially terminated on April 17 or 18, on account of “her egalitarian views

on gender roles in ministry.”       Id. ¶¶ 62, 124.        At the time, she was informed that she could

continue teaching until the end of the semester and remain as a non-teaching faculty member until

December 31, 2017.      Id. ¶ 62.    But, on April 26, Moody asked her to leave campus and return

her keys without finishing the semester.         Id.   Garrick asserts that this was in response to her

having spoken to students and student reporters about her termination.          Id. ¶¶ 62, 124–25.

       Garrick claims that her sudden ouster on April 26 violated the Faculty Manual and

Employee Information Guide.          The Manual, which Garrick contends is incorporated into the

Faculty Contract, provides: “If for some reason a faculty member is not to be retained after the

Spring semester, notification will be given to the teacher concerning this decision by the last Friday

in November of the Fall semester, except for such serious violations of Institute policy which may

result in immediate termination.”      Id. ¶¶ 81–85, id. Ex. B, Excerpt from Faculty Manual.

       As a result, Garrick filed an internal grievance on May 17, 2017.             Id. ¶ 63.   In it, she

alleged that Moody already had been aware of her doctrinal disagreement when it hired her and

that it was only after she began advocating for students’ Title IX rights that she was fired.           Id.

¶¶ 63–64.   Garrick alleges that Moody made her grievance process “impossible” and that she was

denied “any manner of reasonable due process.”               Id. ¶ 126.   Still, during the administrative

hearing, Davidhizar admitted that Garrick had informed him of her egalitarian views during her

interview in October 2014.          Id. ¶ 127.     Despite this testimony, Moody denied Garrick’s




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grievance on July 24, 2017, and it also terminated two female professors who had challenged

Moody during Garrick’s grievance process.      Id. ¶ 66.

       Outside of the events that led to her firing, Garrick alleges that women at Moody were

generally subjected to different standards than men.       For instance, she says, she was denied a

reduced teaching load while completing a terminal degree in her field, even though men were

given that accommodation.      Id. ¶ 98.   Not only that, but she was required to develop and

complete five new undergraduate courses, which exceeded her stated responsibilities, while

recently hired male instructors were not made to do the same.     Id. ¶ 99.

       Furthermore, Garrick claims, female instructors were confined to programs like the

Communications Program, while “the more prestigious Bible and Theology Programs” were

staffed exclusively by male instructors.       Id. ¶¶ 27, 67(e)-(f).     Moody’s annual Pastor’s

Conference never included female speakers as main session speakers; there were a

“disproportionate” number of male to female speakers at required student chapels; and female

faculty were denied the opportunity to speak at “President’s Chapel.”         Id. ¶ 67(b)-(c), 95(a).

And there was a disproportionate number of male faculty and administration members as compared

to women. Id. ¶ 67(f)-(h).

       Women were also treated with hostility and faced discrimination, according to Garrick.

For example, during Founder’s Week in February 2017, male students organized a “walk out”

when a woman was brought in as a speaker.       Id. ¶ 67(a). Some Bible professors were “known

to be ‘overtly discouraging’ to female students in their classes.” Id. ¶¶ 67(d).   A male professor

once told Garrick that women in Moody’s hiring process often needed to be “walked through” the

doctrinal statement.   Id. ¶ 101(b). Moreover, disparaging remarks were frequently made about


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Garrick’s dress, education, and understanding of her own theological positions.     Id. ¶ 101(c)-(e).

And there were “numerous reports of gender harassment and gender-based violence (sexual

assault, rape) that went unaddressed or ignored by Moody administration[,] contributing to an

unsafe campus environment for female students and faculty.”          Id. ¶ 102.    Garrick says she

complained numerous times to Moody administrators about this environment, to no avail.            Id.

¶¶ 103–04.

                                         Legal Standards

       To survive a motion to dismiss pursuant to Rule 12(b)(6), a complaint must “state a claim

to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.”       Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). Additionally, when considering motions to dismiss, the Court

accepts “all well-pleaded factual allegations as true and view[s] them in the light most favorable

to the plaintiff.” Lavalais v. Vill. of Melrose Park, 734 F.3d 629, 632 (7th Cir. 2013) (citing

Luevano v. Wal-Mart Stores, Inc., 722 F.3d 1014, 1027 (7th Cir. 2013)).           At the same time,

“allegations in the form of legal conclusions are insufficient to survive a Rule 12(b)(6) motion.”

McReynolds v. Merrill Lynch & Co., Inc., 694 F.3d 873, 885 (7th Cir. 2012) (citing Iqbal, 556

U.S. at 678). As such, “[t]hreadbare recitals of the elements of the cause of action, supported by

mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678.

                                             Analysis

       In Count I of Garrick’s amended complaint, she alleges that Moody retaliated against her

for engaging in activity protected by Title IX by “subjecting her to a hostile environment;


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subjecting her to discriminatory disciplinary action; denying her a promotion; and unlawfully

terminating her.”    FAC ¶ 76. Count II alleges breach of contract related to Moody’s failure to

provide the required notice of its intention not to renew her contract beyond the spring semester.

Id. ¶¶ 81–91.    In Count III, Garrick alleges that she was subjected to a hostile work environment

and discrimination based on her gender.      Id. at 16–19.3    Count V asserts that she was retaliated

against for complaining about sex harassment and discrimination.          Id. ¶¶ 108–10, 121, 125–26,

129.    Count VI alleges that she was subjected to religious discrimination because of her

egalitarian positions, and gender discrimination given that men who held similar views were not

treated similarly.   Id. ¶¶ 134–40.

        Moody moves to dismiss the complaint under Rule 12(b)(6) based upon the “ministerial

exception” described in Hosanna-Tabor Evangelical Lutheran Church and School v. EEOC, 565

U.S. 171 (2012); the statutory religious exemptions found in Titles VII and IX; the preemption of

Title IX claims by Title VII; the statute of limitations under Title VII; and the complaint’s overall

failure to state a claim.   It also argues that the complaint should be dismissed under Rule 12(b)(1)

on account of the First Amendment’s protection of religious liberties, variously described as

“ecclesiastical abstention,” “church autonomy,” and “deference.”        See Mem. Supp. Mot. Dismiss

at 10, ECF No. 69.




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         The complaint contains a separate heading for “Count IV: Gender Discrimination,” but no
allegations under that heading. Because Count III also alleges instances of discriminatory treatment, the
Court considers Count III to raise both a hostile-work-environment claim and a disparate-treatment claim
based on gender.
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I.      Timeliness

        Turning first to Moody’s reliance upon the statute of limitations, Garrick claims that she

was terminated on April 17 or April 18, 2017.      See FAC ¶¶ 62, 124. She filed her charge with

the EEOC on January 5, 2018, approximately 262 days later.          See FAC Ex. C, EEOC Charge.

Moody contends that, because Garrick did not file the charge within 180 days, her Title VII claims

are untimely. Garrick counters that the 300-day time limit, rather than the 180-day limit, should

apply here.

        Under Section 706(e) of Title VII, a charge of discrimination

        shall be filed within one hundred and eighty days after the alleged unlawful
        employment practice occurred . . . except that in a case of an unlawful employment
        practice with respect to which the person aggrieved has initially instituted
        proceedings with a State or local agency with authority to grant or seek relief from
        such practice . . . such charge shall be filed by or on behalf of the person aggrieved
        within three hundred days after the alleged unlawful employment practice occurred,
        or within thirty days after receiving notice that the State or local agency has
        terminated the proceedings under the State or local law, whichever is earlier.

42 U.S.C. § 2000e-5(e)(1).    Illinois has an agency with the authority to grant relief from unlawful

employment practices; therefore, it is a so-called “deferral” state whose residents are not required

to file a charge with the EEOC until 300 days after the discriminatory act, so long as they meet

certain statutory requirements.    See Gilardi v. Schroeder, 833 F.2d 1226, 1230 (7th Cir. 1987).

        The question is whether a plaintiff actually must file a charge with the state agency in order

to benefit from the 300-day limitation.    See, e.g., Adams v. City of Indianapolis, 742 F.3d 720,

729 n. 7 (7th Cir. 2014) (citing 42 U.S.C. § 2000e-5(c); 29 C.F.R. § 1601.13(a)(3)(ii)) (“In states

that have an employment-discrimination agency, the plaintiff must file a charge with the state

agency first and allow it 60 days to investigate before going to the EEOC.”).      Decisions on this

issue are somewhat unclear.       Compare Gilardi, 833 F.2d at 1230 (holding that 300-day rule

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applies across the board because the EEOC is required to cross-file the claim with the state agency)

with Turner v. The Saloon, Ltd., 595 F.3d 679, 684 n.5 (7th Cir. 2010) (noting that the district court

may have incorrectly applied the 300-day rule because the record suggested that the plaintiff did

not file any charge with an Illinois agency).

         The Court need not delve into this thicket today, however, because “[f]ailure to timely file

an administrative charge is an affirmative defense,” Laouini v. CLM Freight Lines, Inc., 586 F.3d

473, 475 (7th Cir. 2009), and plaintiffs need not plead around affirmative defenses, see Hyson

USA, Inc. v. Hyson 2U, Ltd., 821 F.3d 935, 939 (7th Cir. 2016).               Unless the complaint

“unambiguously establish[es] all the elements of the defense,” dismissal is inappropriate.        Id.;

see also Stuart v. Local 727, Int’l Bhd. of Teamsters, 771 F.3d 1014, 1018 (7th Cir. 2014).     Here,

the complaint is silent on whether Garrick filed allegations with the state agency.     Accordingly,

Moody’s motion to dismiss the Title VII claims based upon the statute of limitations is denied.

II.      Church Autonomy: Title VII’s Religious Exemption, the Ministerial Exception, and
         First Amendment Principles

         Moody primarily defends against this action by pointing to its status as a religious

institution and its beliefs as described by Garrick in her complaint.       Although Moody raises

several doctrines and statutory exemptions in support of its position, each of its arguments can be

said to arise from the long-standing deference courts have afforded to religious institutions known

as the “church autonomy” doctrine (sometimes called the “deference” doctrine or “ecclesiastical

abstention”).

         The church autonomy doctrine has its roots in the First Amendment’s Free Exercise and

Establishment Clauses and “respects the authority of churches to ‘select their own leaders, define

their own doctrines, resolve their own disputes, and run their own institutions’ free from

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governmental interference.”      Korte v. Sebelius, 735 F.3d 654, 677 (7th Cir. 2013).          “This

dimension of religious liberty . . . is perhaps best understood as marking a boundary between two

separate polities, the secular and the religious, and acknowledging the prerogatives of each in its

own sphere.” Id.       As a result, federal courts should take care to not apply federal statutes in a

way that fosters “excessive government entanglement” with the affairs of religious organizations.

Lemon v. Kurtzman, 403 U.S. 602, 612–13 (1971).

       In accordance with this principle, courts have recognized that the First Amendment

“permit[s] hierarchical religious organizations to establish their own rules and regulations for

internal discipline and government, and to create tribunals for adjudicating disputes over these

matters.” Serbian E. Orthodox Diocese for the U.S. & Can. v. Milivojevich, 426 U.S. 696, 724

(1976). Accordingly, “civil authorities have no say over matters of religious governance,” and

“secular judges must defer to ecclesiastical authorities on questions properly within their own

domain.” Korte, 735 F.3d at 678. Put simply, “[a] secular court may not take sides on issues

of religious doctrine.”    McCarthy v. Fuller, 714 F.3d 971, 975–76 (7th Cir. 2013).

       This constitutional concern for religious liberty is the foundation of the “ministerial

exception” described in Hosanna-Tabor, 556 U.S. 171. There, the Supreme Court “recognized

the right of churches to choose their own ministers (broadly understood) and adopted a

constitutional ministerial exception to laws regulating employment discrimination.”       Korte, 735

F.3d at 677.       Under Hosanna-Tabor, “religious organizations are free to hire and fire their

ministerial leaders without governmental interference,” including through application of federal

employment discrimination laws.       Grussgott v. Milwaukee Jewish Day Sch., 882 F.3d 655, 657

(7th Cir. 2018).


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       Additionally, both Title VII and Title IX have codified elements of the church autonomy

doctrine, providing exemptions for religious employers.     See Korte, 735 F.3d at 678.     Title VII

provides that its prohibitions

       shall not apply to . . . a religious corporation, association, educational institution,
       or society with respect to the employment of individuals of a particular religion to
       perform work connected with the carrying on by such corporation, association,
       educational institution, or society of its activities.

42 U.S.C. § 2000e-1(a).    Title VII also states that

       it shall not be an unlawful employment practice for a school, college, university, or
       other educational institution or institution of learning to hire and employ employees
       of a particular religion if such school, college, university, or other educational
       institution or institution of learning is, in whole or in part, owned, supported,
       controlled, or managed by a particular religion or by a particular religious
       corporation, association, or society, or if the curriculum of such school, college,
       university, or other educational institution or institution of learning is directed
       toward the propagation of a particular religion.

42 U.S.C. § 2000e-2(e)(2).

       Similarly, Title IX notes that its prohibitions of sex discrimination “shall not apply to an

educational institution which is controlled by a religious organization if” the application “would

not be consistent with the religious tenets of such organization.” 20 U.S.C. § 1681(a)(3).

       Moody argues that, because Garrick qualifies as a “minister,” her claims must be dismissed

under Hosanna-Tabor. Failing that, Moody argues that Garrick’s Title VII and Title IX claims

fall within the statutory exemptions and, furthermore, that her entire complaint implicates the

church autonomy doctrine and invites excessive entanglement into religious matters. The Court

will address each defense in turn.

       But first, a jurisdictional matter. Moody claims that its religious autonomy wrests this

Court of subject-matter jurisdiction. This is incorrect.     “[T]he Supreme Court has repeatedly


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reminded the lower courts of the narrow scope of truly jurisdictional rules.”         Adkins v. VIM

Recycling, Inc., 644 F.3d 483, 491 (7th Cir. 2011).     Indeed, in Hosanna-Tabor itself, the Supreme

Court clarified that the ministerial exception is an affirmative defense, not a bar to jurisdiction.

See 565 U.S. at 195 n.4; see also Sterlinski v. Catholic Bishop of Chi., 934 F.3d 568, 571 (7th Cir.

2019). (“The ministerial exception is a defense, not a component of subject-matter jurisdiction[.]”);

Schleicher v. Salvation Army, 518 F.3d 472, 478 (7th Cir. 2008) (noting that “[j]urisdiction is

determined by what the plaintiff claims rather than by what may come into the litigation by way

of defense”).       Accordingly, the church autonomy principles upon which Moody relies give rise

to an affirmative defense under Rule 12(b)(6), not a jurisdictional proscription that can be raised

under Rule 12(b)(1).        And, as an affirmative defense, a defendant’s invocation of religious

autonomy must be conclusively established from the face of the complaint.       See Hyson USA, Inc.,

821 F.3d at 939.

          A.       Title VII Exemption

          Turning to the merits, the Court agrees that the religious exemption described in Title VII

applies to this case.      But it does not, as Moody asserts, apply to bar all of Garrick’s Title VII

claims.        Rather, “Title VII’s exemptions are limited specifically to claims of discrimination

premised upon religious preferences.”        Herx v. Diocese of Ft. Wayne-South Bend Inc., 48 F.

Supp. 3d 1168, 1175 (N.D. Ind. 2014); accord Kennedy v. St. Joseph’s Ministries, Inc., 657 F.3d

189, 192 (4th Cir. 2011); Boyd v. Harding Acad. of Memphis, Inc., 88 F.3d 410, 413 (6th Cir.

1996); Elbaz v. Congregation Beth Judea, Inc., 812 F. Supp. 802, 807 (N.D. Ill. 1992). The

statute’s plain language supports this interpretation, as both exemptions speak to a religious

organization’s hiring of employees of “a particular religion.”        See 42 U.S.C. §§ 2000e-1(a);


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2000e-2(e)(2).    Accordingly, Count VI, which claims that Moody discriminated against Garrick

because of her different religious beliefs, is dismissed with prejudice.

       B.        Ministerial Exception

       As for the ministerial exception, the Court notes that this issue is “subject to a fact-intensive

analysis,” of the type usually “left for a jury.”         Grussgott, 882 F.3d at 657.         Relevant

considerations include “(1) the formal title given by the Church, (2) the substance reflected in that

title, (3) [the teacher’s] own use of that title, and (4) the important religious functions she

performed for the Church.”       Id. at 658 (quoting Hosanna-Tabor, 565 U.S. at 192 (internal

quotations omitted)).   In Hosanna-Tabor, the plaintiff, a “called teacher” at a religious school,

was held out to the public as a minister and tasked with performing her job “according to the Word

of God”; her title reflected a “significant degree of religious training followed by a formal process

of commissioning”; she claimed a housing allowance on her taxes available only to those working

in “ministry”; and she taught students religion and led them in prayer. 565 U.S. at 191–92. In

Grussgott, the plaintiff was held to be a minister even despite her role as a “grade school teacher,”

because she followed a unified curriculum incorporating religious teachings; taught her students

about Jewish holidays, prayer, and weekly Torah readings; and practiced religion alongside her

students by praying with them and performing rituals.      882 F.3d at 659–60.

       Here, most of the facts on which Moody relies to support its application of the ministerial

exception come not from Garrick’s complaint, but from documents Moody submitted indicating

the purpose and mission of the school, Garrick’s practices while at the school, and statements she

made in her employment application.      While these documents might be appropriately attached to

a motion for judgment on the pleadings—or, even better, a motion for summary judgment—


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consideration of them is not appropriate here, where the Court’s task is to assess the plausibility

of Garrick’s allegations.4    See Schleicher, 518 F.3d at 478 (explaining that it is appropriate to

invoke the ministerial exception in a motion for judgment on the pleadings, and if the plaintiff

presents evidence rebutting the applicability of the exception, to treat the motion as one for

summary judgment).       And, as the ministerial exception is an affirmative defense, see Hosanna-

Tabor, 565 U.S. at 195 n.4, the defense must be clearly established from the face of the complaint,

see Hyson USA, Inc., 821 F.3d at 939.

         Weighing in Moody’s favor are its own status as a religious institution, the fact that

Garrick took a housing-tax deduction for ordained ministers, and the fact that she participated in

publishing an “art and theology journal” as part of her role at Moody, see FAC ¶ 54. Weighing

heavily in Garrick’s favor is the fact that her position, Instructor of Communications, has no

obvious connection to religion.     Although Moody makes much of the fact that Garrick was an

ordained minister, it glosses over the fact that it itself did not consider her to be a one, openly

rejecting her ordained status by telling her to remove it from her resume, requiring her to sign a

doctrinal statement explaining that women cannot hold certain church offices, and rejecting her

requests to speak publicly at various Moody events and chapel services.          Finally, it may be the

case that, like the plaintiff in Grussgott, Garrick was required to integrate religious teachings into

her classes, but her complaint contains no allegations to that effect.    Accordingly, the allegations




4
        Moody contends that the Faculty Manual—an excerpt of which is attached to Garrick’s
complaint—is fair game, because it is “central” to her claims. See Mem. Supp. Mot. Dismiss at 1 n.2.
This may be true as to Garrick’s contract claim, which relates to contractual provisions contained within
the manual. But it is not true as to the ministerial exception, an affirmative defense that need not be
anticipated in the complaint. See Sterlinski, 934 F.3d at 571.
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of the complaint do not conclusively demonstrate that Garrick falls within the ministerial

exception.

        C.      Church Autonomy Principles

        Be that as it may, the overarching principle of religious autonomy still may require

dismissal where a “religious employer offers a religious justification” for the adverse action or

where the claim will otherwise “pose too much intrusion into the religious employer’s Free

Exercise and Establishment Clause rights.”       Demkovich v. St. Andrew the Apostle Parish, 343 F.

Supp. 3d 772, 782, 785 (N.D. Ill. 2018); see also McCarthy, 714 F.3d at 976 (explaining that a

“final judgment of a secular court resolving a religious issue” would impermissibly cause

“governmental intrusion into religious affairs”); cf. Alicea-Hernandez v. Catholic Bishop of Chi.,

320 F.3d 698, 702 (7th Cir. 2003) (recognizing that, if the plaintiff had raised claims based on

disagreements with church policies, this might “contravene the First Amendment prohibition

against excessive entanglement”).5

        For instance, in Demkovich, the court concluded that a hostile-work-environment claim

pertaining to the plaintiff’s sexual orientation and marital status could not proceed where the

harassment was rooted in the Catholic church’s doctrinal opposition to same-sex marriage.

343 F. Supp. 3d at 786–87. The Tenth Circuit reached a similar decision in Bryce v. Episcopal

Church in the Diocese of Colorado, 289 F.3d 648, 657–59 (10th Cir. 2002), concluding that neither

a minister nor her lay partner could bring sexual-harassment claims challenging the church’s




5
        The question posed by the Title IX exemption—whether application of the law would “not be
consistent with the religious tenets” of the church—effectively raises the same issue. Accordingly, the
Court considers its analysis in this section to apply to the Title IX exemption as well as general church
autonomy principles.
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ecclesiastical discussions about homosexuality.         And in Aparicio v. Christian Union, Inc., the

Southern District of New York dismissed claims substantially similar to Garrick’s; there, the

plaintiff—whose position was not ministerial in nature—was prohibited from pursuing claims of

discrimination arising from a religious institution’s complementarian policy.       No. 18-CV-0592,

2019 WL 1437618, at *8–10 (S.D.N.Y. Mar. 29, 2019). The court explained that, because the

defendant’s complementarian policy “reflect[ed] its right to choose who performs certain religious

roles within the organization,” the First Amendment “bar[red] the Court from asserting Title VII’s

secular sensibilities” on that policy through the vehicle of discrimination or retaliation claims.

        Here, the essence of Garrick’s claims derives from her advocacy in favor of women gaining

access to ministry positions—taking a stance that, according to Garrick herself, is contrary to

Moody’s doctrinal views. She explains that the stated reason for her discipline and termination

was her “egalitarian” view of gender and her failure to ratify Moody’s complementarian doctrine.

Furthermore, she contends that this reason was pretext and that she was actually fired because of

her advocacy in favor of female students joining the Pastoral Ministry Program.            See FAC

¶¶ 124–29.    Either way, Moody’s alleged reasons for firing Garrick were rooted firmly in its

religious beliefs.

        Garrick’s disagreement with Moody’s beliefs on the role of women in the ministry

underlies the majority of Garrick’s allegations.   For instance, she contends she was told to remove

her ordained status from her resume; that women were not allowed to teach in the Bible and

Theology Programs; that she was attacked after advocating on behalf of an inclusive doctrinal

statement regarding human sexuality; and that she was prohibited from speaking at chapel services.

Even her hostile-work-environment claim implicates Moody’s doctrine, given that much of the


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hostility Garrick says she experienced arose out of her views on women in the ministry.          See id.

¶¶ 28, 67(a)-(c), 95–96.      Under these circumstances, if the Court were to delve into the disputes

posed by Garrick, it would impermissibly inject the auspices of government into religious doctrine

and governance.       See Alicea-Hernandez, 320 F.3d at 702; Demkovich, 343 F. Supp. 3d at 786–

87; Aparicio, 2019 WL 1437618, at *8–10.

           This analysis rings particularly true as to Garrick’s Title IX claim, which is based entirely

upon the alleged retaliation Garrick faced for her advocacy in favor of female students entering

the Pastoral Ministry Program.        See FAC ¶¶ 69–79.     Because this problem cannot be cured by

additional pleading, Count I is dismissed with prejudice.6

           But there are strains of Garrick’s Title VII claims that may not be tied to Moody’s religious

beliefs.     For instance, Garrick complains of antagonistic treatment by male colleagues and

inconsistent treatment of female and male faculty members by the administration with respect to

job duties, employment requirements, and performance reviews. To the extent Garrick can state

a claim concerning these issues in a way that is untethered from her disagreements with Moody’s

religious views, she may be able to pursue those claims.            Accordingly, the Court dismisses

Counts III, IV, and V without prejudice and will grant Garrick leave to amend those claims in a

manner consistent with this order.

II.        Breach of Contract

           In her claim for breach of contract, Garrick contends that Moody failed to give her the

requisite notice before deciding not to retain her after the spring semester.     Moody contends that



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        The Court thus need not address Moody’s arguments concerning preemption of Garrick’s Title IX
claims by Title VII.
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Garrick’s contract claim too is precluded by the church autonomy doctrine, and that in any event,

Garrick fails to plausibly allege the existence of a valid contract.

          In certain circumstances, church autonomy principles may apply to state-law claims as well

as employment-discrimination claims.        Here, too, the ultimate question is whether adjudication

of the claim will involve impermissible government interference into religious matters.          For

example, in Lee v. Sixth Mount Zion Baptist Church of Pittsburgh, the Third Circuit refused to

wade into the issue of whether a minister was terminated for cause in accordance with an

employment agreement, because determining whether the minister had “provide[d] adequate

spiritual leadership” would “impermissibly entangle the court in religious governance and

doctrine.” 903 F.3d 113, 120–21 (3d Cir. 2018); see also Nevius v. Africa Inland Mission Int’l,

511 F. Supp. 2d 114, 120 (D.D.C. 2007) (dismissing a breach-of-contract claim where “the court’s

inquiry . . . would tread too closely to religious affairs”).

          Here, Garrick alleges that she was initially given notice of her impending termination, but

then was asked to leave immediately after she spoke out about her firing to student reporters.

See FAC ¶¶ 62, 86.      Although she contends that she was not “immediately” terminated because

Moody was willing to let her continue teaching, the sequence of events she alleges could not be

described as anything but an “immediate” termination.           See id. ¶ 62 (“On April 26, after Ms.

Garrick spoke to students and student reporters about her termination, [Moody] asked her to leave

campus early and to turn in her computer and keys, stating that it would close out the semester for

her.”).    Under the contractual provision she cites, immediate termination (that is, termination

without a notice period) is permitted for “serious violations of Institute policy.”         Id. ¶ 85.

Moody, of course, argues, that Garrick’s actions did constitute a “serious violation,” because they


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ran contrary to Moody’s doctrinal beliefs.

        Given these circumstances, it would be impossible to resolve Garrick’s breach-of-contract

claim without first deciding whether she committed a “serious violation” of Moody’s policies.

And it is substantially likely that such a question would turn on matters of religion, given the

reasons that—both Moody and Garrick agree—led to her termination.              Accordingly, the Court

concludes that adjudicating Garrick’s breach-of-contract claim would require this Court to

improperly entangle itself into Moody’s rights to maintain and exercise its religious beliefs, and

the claim is dismissed with prejudice.7

                                              Conclusion

        For the reasons stated herein, Moody’s motion to dismiss [68] is granted.          Counts I, II,

and VI are dismissed with prejudice. Counts III, IV and V are dismissed without prejudice, and

Garrick is granted leave to amend her complaint to restate those claims consistent with this order

within twenty-one days.     If she does not do so, this action will be dismissed with prejudice, and

judgment entered in Moody’s favor. Garrick is cautioned that an amended complaint must stand

complete and on its own, without referring back to prior pleadings.


IT IS SO ORDERED.                               ENTERED: 9/25/19



                                                __________________________________
                                                JOHN Z. LEE
                                                United States District Judge




7
        Because the Court is allowing Garrick to replead Counts III through V and is dismissing Counts I,
II, and VI with prejudice on other grounds, there is no need to address Moody’s arguments regarding the
plausibility of Garrick’s allegations.
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN PYISION                                                           -
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          V.                   THOMAS G. BRUTON )                                                          -~
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                            CLERK, U.S. DISTRICT CO~T Judge John Lee
MOODY BIBLE INSTITUTE,                                   )    Magistrate Judge Young Kim
                                                         )
          Def endant.                                    )


                        PLAINTIFF'S SECOND AMENDED COMPLAINT

           The Plaintiff, Janay E. Garrick , brings this Complaint against defendant Moody Bible

    Institute for (1) hostile work environment and (2) disparate treatment based on gender (female)

    in violation of Title VII , 42 U.S.C. § 2000e-2(a); (3) gender discrimination (female) in

    violation of Title VII of the Civil Rights Act of 1964, as amended , 42 U.S.C. § 2000e et seq .;

    and (4) retaliation for engaging in protected activity in violation of Title VII of the Civil Rights

    Act of 1964, as amended , 42 U.S .C. § 2000e-3(a) .1

                                               THE PARTIES

1.        Defendant Moody Bible Institute ("MBI" or "Moody") is a post-secondary religious

educational institution that offers both undergraduate and graduate courses of study. It is a not-

for-profit corporation incorporated in the state of Illinois .

2.        MBI's primary campus is located in downtown Chicago, IL.

3.        MBI has accepted federal financial aid funds pursuant to Title IV of the Higher Education

Act since at least 2012.



1
 Plaintiff brought other religious-based claims in her first Complaint and First Amended Complaint (FAC), but they
were dismissed with prejudice. Therefo re, those claims are not in this Second Amended Complaint.




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 4.        As of the date of this filing, MBI has not submitted a request to the Office of Civil Rights

 of the U.S. Department of Education for a religious exemption to the requirements of Title IX.

 5.        Plaintiff Janay E. Garrick ("Ms. Garrick") was employed by MBI at its Chicago campus

 as an Instructor of Communications from December 1, 2014 until December 31, 2017.

                                     PROCEDURAL BACKGROUND

 6.        The Plaintiff timely filed a Charge of Discrimination with the U.S. Equal Employment

Opportunity Commission (EEOC) on January 5, 2018. See Exhibit A (EEOC Charge).

 7.       The Plaintiff's case was timely filed with the Federal Court on January 25, 2018.

 8.       On September 24, 2018, the EEOC issued Ms. Garrick her Notice of Rights letter, which

states that the Plaintiff must file a lawsuit "WITHIN 90 days of ... receipt of this notice."


 9.       On September 27, 2018, Plaintiff's counsel withdrew due to the Plaintiff's inability to

continue paying out-of-pocket for her legal fees.

10.        After 45 days of trying to secure new counsel, contacting almost 200 law fums,

organizations , and law professors, the Plaintiff was unable to do so.

11.       On October 16, 2018, during Ms. Garrick's 45-day period in which Plaintiff was seeking

new counsel, the Defendant ("Moody") moved to dismiss , and the court ordered it to re-brief. The

Defendant refused because it thought the Plaintiff was amending.

12.       On November 14, 2018, the Plaintiff was forced to proceed representing herself.

13 .      Plaintiff has exhausted her remedies with the EEOC. However, prior to issuing Ms.

  Garrick's right to sue letter, the EEOC investigator assigned to her case communicated to Jamie

  Franklin , Ms. Garrick's counsel at the time , that the EEOC would like to take this further, but

  that it was not the right time .

                                     .JURISDICTION AND VENUE



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14. This Court has federal question jurisdiction over the Plaintiff's federal claims pursuant to 28

    u.s.c. § 1331.
15. This Court has supplemental jurisdiction over the Plaintiff's state law claims pursuant to 28

   U .S.C. § 1367(a).

16. Venue is proper in this District pursuant to 28 U .S .C. § 1391 (b) because the Defendant resides

   in this District and a substantial part of the events or omissions giving rise to the claims

   occurred in this District.

17. The Northern District of Illinois has personal jurisdiction over the defendant because it resides

   in and/or and maintain offices in this District and/or do business in Illinois.

                        FACTS SUPPORTING THE PLAINTIFF'S CLAIMS

18. Ms. Garrick is an ordained minister. She has a Master's Degree in Cross-Cultural Studies and a

   Bachelor's Degree in Creative Writing and Speech Communications, and now holds a terminal

   degree in her field - a Master of Fine Arts Degree in Creative Writing completed in 2019. Ms.

   Garrick has worked in the field of communications for 17 years.

19. Ms. Garrick was hired by MBI on December 1, 2014 as an Instructor of Communications in

   MBI's Communications Program, which is one of two programs in its Music and Media Arts

   Division.

20. Ms. Garrick informed MBI during the interview process that she was an "egalitarian Christian"

   and believed in gender equality in the ministry. MBI hired her with full knowledge of her

   beliefs and renewed her contract twice with this knowledge.

21. Ms. Garrick's direct supervisor was Brian Kammerzelt, the Communications Program Head.

   Terry Strandt, Chair of the Music and Media Arts Division, was responsible for her

   performance reviews. Ms. Garrick also reported to Larry Davidhizar, Vice President and




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    Associate Provost of Faculty. Other MBI administrators at the time included James Spencer,

    Vice President and Dean; Junias Venugopal, Provost; Debbie Zelinski, Vice President of

   Human Resources; Clive Craigen, Faculty Advocate (during the grievance hearing); Tim

   Arens, Dean of Student Life; and Bryan O'Neal, Dean of the Undergraduate Faculty.

                                Campus-Wide Hostility Toward Women

22. Ms. Garrick quickly learned that MBI both tolerated and cultivated an environment that was

   hostile to female faculty and students.

23. For example, in October 2014, shortly before her campus interview, Ms. Garrick was told by

   Larry Davidhizar ("Mr. Davidhizar") to remove the reference to being an ordained minister

   from her resume. Later, it became clear that MBI believed that the office of pastor is reserved

   exclusively for male candidates and did not want her to represent herself as an ordained

   minister.

24. Ms. Garrick was disadvantaged by this demand. When she was hired, she was not told by

   administration that ordained ministers could claim a tax deduction for their housing costs.

   After a male professor informed her of this, Ms. Garrick took steps to file her ordination

   license with MBI in order to claim the deduction, but she lost the opportunity to take the

   deduction for a full year.

25. At the MBI's new employee orientation on December 19, 2014, Jean Jacobsen , MBI Benefits

   Administrator, informed the new employees that 60 percent of Moody's on-campus dormitory

   space was allocated for males.

26. Female instructors were confined to certain programs, like the one in which Ms. Garrick was

   hired, while the more prestigious programs were staffed exclusively by men.




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27. In late 2015, Ms. Garrick was asked to assist in forming a committee to address women's

       concerns on campus, which she did. The group, called Respect for Women Personally and

       Ministerially, was viewed with suspicion and hostility from the beginning. Ms. Garrick was

       explicitly told by Provost Junias Venugopal ("Mr. Venugopal") that any changes resulting

       from the committee's work should be "small and incremental." The group began after four

   communications faculty, including Ms. Garrick, complained of gender discrimination on

       Moody's campus. Ms. Garrick and another faculty member, Rosalie de Rosset ("Ms. de

   Rosset"), took the lead in organizing and calling the group together for its first, and only,

   meeting on February 17, 2016. The group was comprised of both male and female faculty from

   at least three different majors. At their first meeting, the following issues, inter alia, were

   discussed: the lack of female speakers at President's chapel and student chapel, some

   professors in the all-male programs being known to be "overtly discouraging" to females;

   administration citing "donors" as the reason for the lack of female leadership and participation;

   and the cancellation of a radio program that had gender inclusive messaging. When the topic of

   Ms. Garrick's involvement in a student's Title IX gender discrimination complaint was

   discussed, the meeting ended abruptly and would never reconvene during Ms. Garrick's

   employment.

28. The faculty workroom that Ms. Garrick used was otherwise all-male, and her male colleagues

   treated her with antagonism. For example, they ignored her when she spoke to them, left the

   room abruptly when she entered, and openly ridiculed her. When Ms. Garrick tried to suggest

   solutions to the problem, she was told by MBI administration to simply avoid the workroom

   and to get her own printer so that she could work in her office.

29 .        During the relevant time period, Ms. Garrick and similarly-situated female employees




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also were treated differently than coworkers of a different gender. For example, female faculty

were subjected to the following acts, inter alia ...

      (a) denied the opportunity to speak at President's Chapel, and

      (b) excluded from teaching in certain undergraduate programs, while male faculty were

         permitted to do so.

30.      Ms. Garrick was denied the opportunity to speak at chapel although she twice requested

to do so .

31.      Some other specific examples of the discrimination and harassment against Ms. Garrick

and similarly-situated female employees include the following acts, inter alia ...

      (a) two of the three outspoken female faculty members who served on Ms. Garrick's

         Grievance Committee, and who actively questioned Moody administration's actions

         concerning Ms. Garrick, were terminated very shortly after Ms. Garrick's termination,

         while the two male professors on the Grievance Committee were retained;

      (b) Ms. Garrick was subject to peer reviews while similarly-situated male professors in the

         Communications Program were not;

      (c) Ms. Garrick was disciplined for her "inflammatory rhetoric" at a faculty meeting, and

         told she needed "to learn how to speak around here" while a male professor (who wrote

         and presented their joint proposal) was not disciplined; and

      (d) Ms. Garrick was not informed by Moody that she could receive a tax exemption for being

         an ordained minister while her male counterparts were informed of this benefit by Moody

         and allowed to use this employment/job qualification to claim a tax exemption.

32.      During the relevant time period, Ms. Garrick was denied a reduced teaching load at

Moody while she completed a terminal degree in her field, while similarly-situated male faculty




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in terminal degree programs did receive reduced teaching loads.

33.       During the relevant time period, Ms. Garrick was required to develop and create

complete, from scratch, five new undergraduate courses beyond the scope of her Instructor

position requirements while recently hired male Instructors received no similar assignments.

34.       In the presence of Ms. Garrick and the entire Communications Program faculty, Moody's

Title IX coordinator stated at a meeting that she would have been able to accomplish certain

tasks had she not been occupied with a Title IX complaint.

35.      The Defendant has created a hostile workplace by discriminating against females

repeatedly, including the following acts , inter alia .. .

      (a) being ignored, avoided, and rejected by male professors in the common workroom and

      hallways by stopping talking/going silent when Ms. Garrick entered the workroom, putting

      heads down and avoiding eye contact with Ms. Garrick, quickly leaving/clearing the

      workroom when Ms. Garrick entered, and/or ignoring Ms. Garrick when Ms. Garrick spoke

      directly to them;

      (b) being told by a male professor how women in Moody's hiring process frequently need to

      be "walked through" required employment documents;

      (c) disparaging comments about Ms. Garrick's dress while she stood at the photocopier

      ("What are you wearing?" remarked one male theology professor. "I thought you were a

      student");

      (d) disparaging remarks about Ms. Garrick's undergraduate and post-graduate educational

      institutions for being too liberal and inclusive. After inquiring about Ms. Garrick's

      educational background, a male professor remarked "they believe anything and everything

      there," and upon hiring, administrator Larry Davidhizar ("Mr. Davidhizar"), Moody's




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      Associate Provost of Faculty, referred to Ms. Garrick's undergraduate education as

      inadequate and offered her the opportunity to take classes at Moody;

      (e) being told by Mr. Davidhizar that she did not understand her theological positions even

      though she held an advanced seminary degree;

      (f) being ignored by a male Theology professor after Ms. Garrick spoke and wrote about

      "white privilege" on Moody's campus and in broader culture.

36. Additionally, during the relevant time period, there were numerous reports of gender

   harassment and gender-based violence (sexual assault, rape) that went unaddressed or ignored

   by Moody administration contributing to an unsafe campus environment for female students

   and faculty to speak up and to report. For example, one female student who alleged physical

   assault by her partner, a male MBI student, was instructed to remain silent and to not file a

   Title IX complaint.

37.        The environment of pervasive gender discrimination at Moody contributed to a hostile

work environment and created a male-dominated workplace culture in which the retaliatory firing

of Ms. Garrick would be acceptable and routine.

38.        In 2012, the Higher Learning Commiss ion , an independent accrediting body, critiqued

Moody that its faculty looks "white male," and tasked it to diversify. The Defendant has created a

hostile workplace by discriminating against females repeatedly, including the following acts, inter

alia ...

      (a) male students organized a student "walk out" when a female speaker took the stage at

           Founder' s Week (February 6-10, 2017) which , on information and belief, resulted in no

           discipline or admonishment from administration. At a February 22, 2017 faculty meeting ,

           a long-term male Bible Program faculty member argued: "I think it' s time we addressed




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    the misogyny and sexism at this institution;"

(b) Moody's annual Pastor's Conference had never included female speakers as main session

    speakers, leading to continued feelings of exclusion and disenfranchisement from

   females;

(c) there were a disproportionate number of male to female speakers at required student

   chapels;

(d) some Bible professors were known to be "overtly discouraging" to female students in

   their classes (this statement was made by a Bible professor at the Women's Concerns

   meeting);

(e) there were zero female faculty teaching in the Bible Program despite qualified applicants,

(f) there were zero female faculty teaching in the Theology Program despite qualified

   applicants;

(g) there were a disproportionate number of male to female faculty;

(h) there were zero female administrators despite qualified applicants, and

(i) while Moody purportedly requires faculty to sign and adhere to their contract "without

   disclaimers, clarifications, or personal exceptions," Moody selectively enforces

   adherence, and this enforcement disproportionately affects female faculty who do not

   "align" or "adhere;"

U) During the relevant time period, there were allegedly key male Moody Radio personnel

   and male faculty who did not affirm Moody's contract "without disclaimers,

   clarifications, or personal exceptions" but who remained employed by Moody.

                            Advocacy on Behalf of Students




                                            9
                                        A.099
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39.       In February 2015, Ms. Garrick was approached by a lesbian student who was struggling

with MBI's hostility toward her sexual orientation. Ms. Garrick brought the student's concerns to

Dean Tim Arens. His response was to ask what she said and did in response to the student and to

warn her that MBI had "community living standards." The female student was later expelled from

MBI.

40.       In October 2015, a female student informed Ms. Garrick that she wanted to enter the

Pastoral Ministry program but that it was closed to women. Ms. Garrick was shocked and began

to investigate MBI's stance on barring women from access to its programs.

41.       In January 2016, another female student came to Ms. Garrick for help with the same

problem. The student wanted to change her major to Pastoral Ministry, which is an undergraduate

program that teaches students to become leaders, pastors, and teachers in the church. MBI refused

to allow her to enter the program because of her gender.

42.       Ms. Garrick discovered that MBI's website at the time stated that the program was only

open to male students. She contacted her own faculty mentor and the head of the program to ask

about the exclusion of women, and they confirmed that it was true.

43.       MBI was accepting federal financial aid funds during this time and, on information and

belief, was reporting to the Department of Education that it met all the relevant criteria, including

the prohibition against discriminating on the basis of sex.

44.       Ms. Garrick helped this student lodge the first Title IX complaint ever brought at MBI.

45.       On February 17, 2016, the first meeting of the Respect for Women Personally and

Ministerially group was held. Ms. Garrick was rebuked when she told the participants that she

was assisting a student who had been barred from an MBI program because of her sex.




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                                              A.100
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 Immediately after the meeting, Ms. Garrick's faculty mentor called her into a closed-door meeting

 and attacked her further, asking, "How can you have any integrity?"

 46.       On February 20, 2016, Ms. de Rasset cancelled the second Respect for Women

 Personally and Ministerially meeting - the group would never reconvene during Ms. Garrick's

 tenure, and Ms. de Rasset would go on to slander Ms. Garrick as a liberal progressive in staff

 meeting.

 47.       On February 23, 2016, Ms. Garrick met with Mr. Davidhizar and Bryan O'Neal about the

 student's complaint and about the hostility Ms. Garrick herself was facing. Rather than seeking

 solutions to the concerns raised by Ms. Garrick, the administrators suggested she might not be

 able to continue in the faculty and told her she should voluntarily leave MBI.

48.        Ms. Garrick decided to stay and fight.

49.        Throughout the spring of 2016, Ms. Garrick continued to work with the student to

 advance her Title IX gender discrimination complaint against MBI.

50.        At first , MBI denied that the Pastoral Ministry program was not open to women, despite

 the fact that its website explicitly limited the degree program to male students. Then MBI tried to

convince the student to take courses in another program, presenting her with false and misleading

 information about its offerings. Ultimately, despite its attempts to muddy the waters, it became

clear that MBI had been discriminating against women by barring them from the Pastoral

Ministry program from 1928 until this student filed her complaint.

51.        Despite this admission, MBI denied the student's complaint in writing, stating that her

concerns were "programmatic" and were not "appropriately addressed through an investigatory

process designed to address discrete complaints of sexual misconduct." In its denial letter, MBI




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                                               A.101
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 purported to have misunderstood the nature of the student's complaint - which was untrue, as Ms.

 Garrick and the student had made it clear numerous times.

 52.       With Ms. Garrick's help, the student appealed.

 53.       After word spread on campus about the Title IX complaint, professors made disparaging

 comments to the student such as, "Don't you know the image of God is male?" and "What makes

 you think you have the right to preach?"

54.        The student and Ms. Garrick continued to push MBI to open the program to all women.

 As a result, on April 20, 2016, MBI announced that it intended to remove the discriminatory

restrictions and open the Pastoral Ministry program to women (though it failed to notify the

 student herself until mid-May 2016, and even then continued to equivocate about its position).

55.        Even after this decision, MBI continued, and, on information and belief, continues to

 discourage women from applying to the Pastoral Ministry program. At the time of Ms. Garrick' s

 termination there were just three women in a program of approximately 60 students. It is unclear

 whether MBI has officially opened the program to all women.

56.        Throughout the summer and fall of 2016, Ms. Garrick continued to experience hostility

and opposition from MBI's faculty and administration.

57.        Ms. Garrick also assisted a transgender student with her hostile environment concerns,

which Ms. Garrick reported to faculty and administrators. That student ultimately left the

institution because of the discrimination and harassment she experienced.

58.        In September 2016, Ms. Garrick spoke out at an all-faculty and administration meeting

and told a story about a transgender student who came to Ms. Garrick in tears over feeling

shunned and excluded at Moody. Ms. Garrick co-prepared, co-submitted, and co-presented (with

a male faculty member) a proposal with an inclusive message.




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                                              A.102
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 59.      In response, the next day Mr. Davidhizar pulled Ms. Garrick into his office and told her

 that the speech was "inflammatory rhetoric" and that she was "not a Moody fit." The male faculty

 member who co-presented and co-wrote the proposal was never the subject of any verbal

 harassment or disciplinary treatment.

                  Retaliatory Denial of Promotion and Hostile Work Environment

60.       On September 29, 2016, at Ms. Garrick's request, she met with James Spencer ("Mr.

Spencer"), Vice President and Dean, in order to discuss the intimidating, hostile, and/or offensive

work environment she was experiencing. Upon information and belief, Ms. Garrick's complaints

were not addressed by Moody administration as the behavior continued during the remainder of

her employment.

61.       On November 1, 2016, after two years as an Instructor at MBI, Ms. Garrick submitted a

written application for an increase in rank to Assistant Professor.

62.       The position of Instructor is the lowest-paid and lowest-status position at MBI.

63.       To become an Assistant Professor, MBI requires the faculty member to have a Master's

Degree or equivalent and a minimum of 12 years of full time experience in a field directly related

to his or her primary teaching responsibilities. Once those requirements are met, MBI reviews

three sets of criteria to determine whether to issue a promotion to a faculty member: Teaching

Performance, Professional/Scholarly Status, and Service within each criterion.

64.       Ms. Garrick's background and performance fully qualified her for a promotion to

Assistant Professor under all of MBI's requirements. She had a Master's Degree (and began

working on a second advanced degree in 2016). She also had 15 years of experience in the

Communications field.




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                                              A.103
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65.       During her two years as an Instructor, Ms. Garrick was required to perform work at the

level of an Assistant Professor. Among many other duties, she developed and implemented six

courses, including upper-level electives; created institution-wide initiatives like the publication of

a new art and theology journal; developed an educational plan for ESL students; fulfilled all of her

academic and professional duties; and actively participated in her department and the wider

institution. Such duties - particularly the creation of new course curriculum - were beyond the

scope of the Instructor rank, based on Moody's own written policies.

66.       Nevertheless, on November 1, 2016 Mr. Davidhizar denied Ms. Garrick's application for

rank increase within one hour of receipt, stating that she needed to "improve her fit within the

division" - a clear reference to the hostility against Ms. Garrick as a result of her opposition to

discrimination at the institution.

67.       MBI's retaliatory denial of Ms. Garrick's promotion application resulted in both a loss of

income and the loss of professional development opportunities.

68.       On December 3, 2016, Ms. Garrick received an informal performance review from Mr.

Strandt in which he congratulated her on "two years of excellent service" and stated that she was

"concise, clear and engaging with the students" during a class he had observed her teaching. Mr.

Strandt's glowing review further highlighted the disconnect between Ms. Garrick's excellent

performance and MBI's denial of her application for a promotion.

69.       In retaliation for Ms. Garrick's complaints, the Defendant took the following actions,

inter alia ...

       (a) verbally harassed and disciplined her (administrators such as Mr. Davidhizar told her she

       needed to be more careful about how she spoke around MBI, told her that her rhetoric was

       inflammatory, warned her against waving the women's rights "flag");




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                                               A.104
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      (b) shunned her/gave her the silent treatment (male professors refused to speak to Ms.

      Garrick when she spoke to them, they avoided eye contact with her, and did not speak to her

      in the workroom and hallways);

      (b) threatened to demote her to teaching General Education courses and to assign her elective

      courses to another professor;

      (c) subjected her to an unfounded negative performance evaluation,

      (d) denied her a chance for promotion;

      (e) treated her poorly in her final days at Moody including having a security guard follow her

      as she left campus, clearing out her office; and

      (f) terminated her employment.

70.      During the relevant time period, and in the middle of Ms. Garrick's assistance to a female

student in filing a Title IX (gender discrimination) complaint, Moody administrators pressured

Ms. Garrick to quit her job.

71.      During the relevant time period, Ms. Garrick experienced open hostility from some of the

all-male faculty in the Bible and Theology Programs after it became known to them that in

January 2016 she began assisting a female student in filing a Title IX complaint (for her

exclusion from the all-male Pastoral Ministry undergraduate program).

72.      On February 19, 2016, Ms. Garrick requested a meeting with Debbie Zelinski ("Ms.

Zelinski"), Vice President of Human Resources, to discuss the Title IX backlash and hostility she

was experiencing from peer faculty. Ms. Zelinski, inter alia, suggested that Ms. Garrick avoid

the Sweeting 3 workroom and get a printer for her office.




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                                               A.105
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73.        On February 23, 2016, in a meeting in which Ms. Garrick discussed the Title IX backlash

and hostility she was experiencing from peer faculty, Mr. Davidhizar and Bryan O'Neal, Dean of

Faculty, pressured Ms. Garrick to quit.

74.        At a Communications department meeting on April 18, 2016, faculty member, Ms. de

Rosset, attacked Ms. Garrick for being "liberal progressive" and warned that the department did

not need to hire any more such faculty. Subsequently, Ms. Garrick was told by Unity Ostercamp,

a Moody administrator whom Ms. Garrick had never met, "I heard de Rosset hates you." Ms.

Garrick reported this, and complained to her immediate supervisor, Communications Program

Head, Brian Kammerzelt ("Mr. Kammerzelt"). Upon information and belief, Mr. Kammerzell

did nothing to address the hostile work environment.

7 5.       Mr. Davidhizar also instructed Ms. Garrick to remove herself from her role in organizing

and co-leading the Respect for Women Professionally and Ministerially group.

76.        Ms. Garrick reported this negative conversation with Mr. Davidhizar to Communications

Program Head, Mr. Kammerzelt.

77.        In fact, on numerous occasions, both in-person and in writing , Ms. Garrick reported to

Mr. Kammerzelt that she was experiencing an intimidating, hostile , and/or offensive work

environment from both her peer faculty and Moody administrators.

78 .       In January 2017, at Ms. Garrick's two-year performance review, Mr. Kammerzelt praised

her for "doing everything you were hired to do," and informed her that Larry Davidhizar wanted

to know if she intended to stay. Ms. Garrick responded yes.

79.        The Defendant has retaliated against Ms. Garrick, including the following acts, inter

alia ...




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                                               A.106
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 (a) on December 3, 2016, after two years of employment, Ms . Garrick received a glowing

    review in writing by Mr. Strandt, Chair of the Music and Media Arts Division, after he

    had observed one of her classes, Core Tools: Words:


    "Dear Janay, Congratulations on your two years of excellent service to
    MBI. Your Industry and enthusiasm is gratifying and contributing in a huge way
    to your Program and the whole Division. I enjoyed very much your class on
    Grant Writing for NGO 's. You were concise, clear and engaging with the
    students. I hope that God blesses you with the same unexpected surprise our
    family received by finding a long-term home at Moody. Warmly, Terry."


    And just four months later, Mr. Strandt would deliver Ms . Garrick a borderline "Below

    Standards" performance evaluation;

 (b) in January 2017, two months prior to Ms. Garrick receiving a negative performance

    evaluation, Mr. Kammerzelt instructed her to add a new course to her teaching schedule

    (Debate) and to develop what would have been her fifth new course (Missions

    Journalism) slated for release in the fall 2017;

 (c) on March 2, 2017, Mr. Davidhizar chastises and verbally harasses Ms. Garrick for

    missing her performance evaluation meeting with Mr. Strandt even though Mr. Strandt

    had cancelled the meeting. Mr. Davidhizar then communicated with Ms. Garrick that she

    would not have a contract renewal in her mailbox when she returned from Spring Recess,

    and that if Moody renewed her contract, it would have expectations: "there are

    performance and interpersonal issues";

(d) on March 3, 2017, Mr. Kammerzelt stated that Ms. Garrick had been subjected to reviews

    by her peer Communications professors. He stated further that she would have the

    opportunity to similarly prepare reviews of her peers;




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                                         A.107
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       (e) on March 30, 2017, Ms. Garrick received a falsified negative performance evaluation

          from Mr. Strandt. Mr. Strandt stated that peer reviews helped form the basis for his

          negative evaluation of her. During this meeting, Mr. Strandt stated that he had no

          knowledge of Ms. Garrick's work performance and got all his information from Brian

          Kammerzelt, Larry Davidhizar, and peer reviews. Additionally, Mr. Strandt is the second

          administrator to have informed Ms. Garrick that she had been subjected to peer reviews,

          whose existence were later denied by Vice President and Dean, James Spencer, during

          Ms. Garrick's grievance procedures.

       (f) on April 5, 2017, when Ms. Garrick questioned Mr. Davidhizar about Mr. Strandt's

          negative conclusions regarding her work performance as well as his data collection

          methods and information sources, Mr. Davidhizar responded:


          "This being his (Terry Strandt's) first time has allowed for pure, unadulterated
          objectivity in all of his reviews. No one has had input into his evaluations of
          anyone including me. My only input back before Spring Break is when he
          mentioned that it would not be a strong review I talked to him about what should
          be included in a 'Performance Improvement Program"'; and


       (g) Ms. Garrick was never given any information about the peer reviews even though she

          requested to see them. During the grievance procedure, James Spencer, Vice President

          and Dean of Moody Bible Institute, stated that there were no peer reviews.

80.       On April 5, 2017 , in an email entitled "Performance Evaluation Follow-up Meeting I

April 7 @ lpm," Moody changed tactics for separating Ms. Garrick from her employment, Mr.

Davidhizar stating that he would like to meet "to discuss (Ms. Garrick's) vocal non-alignment

with the Institute' s doctrinal statement as it relates to 'Gender Roles in Ministry."'

81.       On April 9, 2017, after fighting her negative performance evaluation, Moody raised Ms.

Garrick's score from 2.57 (borderline "Below Standards") to 2.96 ("Meets Standards"). Even


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                                              A.108
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 though Ms. Garrick's score was raised, there was never any acknowledgement of the five new

 courses she created during her first two years of employment at Moody.

                                        Retaliatory Discharge

82.       In early 2017, Ms. Garrick was due to receive her formal two-year performance review.

She initially met with Mr. Kammerzelt, who asked her if she wanted to stay at MBI. She

responded that she did.

83.       This led to a series of meetings, cancelled meetings, and emails with MBI administrators

regarding Ms. Garrick's performance. Mr. Davidhizar told her she had "performance and

interpersonal issues," despite a lack of evidence of either. Mr. Kammerzelt told her she had been

found to be performing "below standards" by Mr. Strandt, despite his earlier glowing reports. Mr.

Kammerzelt also threatened to demote Ms. Garrick to teaching only General Education courses

and to shift three of the elective courses she had developed into the hands of another full

Communications professor.

84.       Finally, on March 30, 2017, Ms. Garrick met with Mr. Strandt for a final, formal

performance review. He handed her a negative written performance evaluation - the first written

criticism of her performance she had ever received at MBI - that was filled with inaccuracies and

misinformation. There was no mention at this time of Ms. Garrick being non-aligned with the

gender provisions of MB I's doctrinal statement.

85.       On April 12, 2017, Ms. Garrick met with Mr. Davidhizar and the Vice President of

Human Resources. Mr. Davidhizar told her that she did not fit in and that she was not aligned with

MBI's doctrinal statement as it related to gender roles in ministry. Mr. Davidhizar admitted that he

heard Ms. Garrick state her egalitarian position during her October 2014 panel interview prior to

MBI's decision to hire her.




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                                              A.109
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86.       On April 17, 2017, Ms. Garrick was officially terminated. MBI stated that she was

required to continue teaching classes and performing her other job duties until the end of that

semester, then stay on as a non-teaching faculty member for the Fall 2017 semester. Her last day of

pay was December 31, 2017.

87.       On April 26, 2017, after Ms. Garrick spoke to students and student reporters about her

termination, MBI asked her to leave campus early and to tum in her computer and keys, stating

that it would close out the semester for her.

88.       Ms. Garrick filed an internal grievance on May 17, 2017 and went through MBI's

grievance process in the summer of 2017. In her grievance document, she pointed out that MBI

had hired her in 2014, renewed her contract for 2015, and renewed her contract for 2016- all the

while apparently pleased with her performance. It was only after she began advocating for the full

inclusion of female students that MBI began to pressure Ms. Garrick to quit, then fired her.

89.       In fact, as alleged above, MBI knew from her resume and interviews that Ms. Garrick

held an egalitarian view before it even hired her. On April 18, 2017 MBI officially notified Ms.

Garrick of her termination. MBI's decision was pretext for its true motives - discrimination and

retaliation.

90.       MBI engaged in a variety of tactics to thwart any chance of Ms. Garrick succeeding in

the grievance process. In her grievance document, she fully documented the discrimination and

retaliation she had been subjected to. She also presented written testimony from 12 female students

who reported violations ranging from sexual assault to harassment in the classroom and on the

campus by both faculty members and fellow students. MBI ignored these testimonials and took no

action to follow up.




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                                                A.110
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 91.        On April 25, 2017 , after Ms. Garrick began to speak to students and student journalists

 about her termination, Ms. Garrick was dismissed from campus (instructed to tum in her keys and

 computer) before the semester's end.

 92.       Following her firing, Ms. Garrick was subjected to an impossible grievance hearing

 process that was lacking in any manner of reasonable due process. For example, retaliatory acts

 by the Defendant, inter alia ...

        (a) on April 18, 2018 when Ms. Garrick was given her notice of termination, Mr. Davidhizar

           commented that she could file a grievance but that she would not have much time to do

           so. Mr. Davidhizar stated that summer break would make it all the more difficult to

           convene a grievance committee as faculty would not be on campus;

        (b) in preparation for the grievance hearing, questions for witnesses had to be approved in

           advance by Moody, and Moody gave Ms. Garrick less than 24-hour notice about her

           ability to call witnesses (in the middle of the work week) to testify on her behalf; and

        (c) at the July 7, 2017 grievance hearing, Moody would not allow any underlying

           discrimination or retaliation facts to be discussed.

 93.       At the grievance hearing, Mr. Davidhizar admitted to hearing Ms. Garrick state her

egalitarian position on gender roles in ministry during her Chicago campus interviews in October

 2014.

94.        MBI denied Ms. Garrick's grievance on July 24, 2017. In the final grievance

determination letter written by MBI President Paul Nyquist he remarked that Ms. Garrick "did not

possess theological sophistication in [her] views" since she was "trained in communications and

not theology."




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                                                A.111
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95.        After Ms. Garrick's termination, MBI also terminated three faculty members who

participated in her grievance hearing, and who had challenged MBI during that process:

      (a) Clive Craigen, a male full professor, who had served as Garrick's faculty advocate,

      (b) Maria Mocuta, a female full professor who had served as a committee member, and

      (c) Desiree Hassler, a female assistant professor, who had served as a committee member.

96.        After Ms. Garrick assisted a female student in filing a Title IX complaint, Ms. Garrick

was terminated for her stated position/disagreement with Moody's "Gender Roles in Ministry"

addendum included in its doctrinal statement, Defendant stating that she could not sign the

doctrinal statement based on her holding to an egalitarian position , In contrast, Moody holds a

complementarian position that excludes women from certain roles within the church due to their

gender.

97.        Moody used a "religious" reason for Ms. Garrick's termination in order to cloak its true

motives: discrimination and retaliation.

                                             COUNTI
          Hostile Work Environment Based on Gender (Female) in Violation of Title VII
                of the Civil Rights Act of 1964, as amended, 42 U .S.C. § 2000e-2(a)

98.        Ms. Garrick re-alleges each of the paragraphs set forth above.

99.        Ms. Garrick is a member of a protected class by gender. She is female.

100.       Ms. Garrick, in all respects, was performing her job in a manner that was consistent with

Moody's legitimate business expectations.

101.       Ms. Garrick suffered adverse employment actions as alleged above in that she was

excluded, verbally harassed, and intimidated because of her gender, and that such conduct was

condoned or tolerated by those in a position to stop it because of Ms. Garrick's gender.

102.       The discriminatory statements, threats, and conduct were unwelcome, sufficiently severe




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or pervasive, detrimentally affected Ms. Garrick, were viewed as subjectively hostile and abusive

by Ms. Garrick, and would be viewed as objectively hostile and abusive to a reasonable person.

103.     Ms. Garrick complained numerous times to Moody administrators and supervisors about

the intimidating, hostile, and/or offensive work environment, and Moody had actual or

constructive knowledge of said environment.

104.     Moody was aware of and was made aware of the above described conduct; yet, Moody

failed to take prompt and appropriate remedial action to protect Ms. Garrick from said

intimidating, hostile, and/or offensive work environment.

105.    Moody violated Ms. Garrick's rights in that it required Ms. Garrick to work in an

intimidating, hostile, and/or offensive work environment and to work under supervisors who

allowed these actions to go on without taking steps to prevent them.

106.    As a direct and proximate result of said unlawful employment practices and in disregard

of Ms. Garrick' s rights and sensibilities, Ms . Garrick has suffered great mental anguish,

humiliation, degradation, emotional distress, pain and suffering , inconvenience , financial crisis,

lost wages and benefits, future pecuniary losses and other consequential damages.

                                           COUNT II
           Disparate Treatment Based on Gender (Female) in Violation of Title VII
              of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-2(a)

107.    Ms. Garrick re-alleges each of the paragraphs set forth above.

108.    Ms. Garrick is a member of a protected class by gender. She is female.

109.    Ms . Garrick, in all respects, was performing her job in a manner that was consistent with

Moody's legitimate business expectations.

llO.    Ms. Garrick suffered adverse employment actions as alleged above in that she was, inter

alia, instructed to deny her qualifications in order to advance in the employment interview




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                                              A.113
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process, tasked with performing job duties beyond her rank and salary, denied a promotion,

denied the opportunity to receive a tax deduction, been subjected to "secret" peer reviews and a

falsified negative performance evaluation, and denied a reduced teaching load while pursuing a

terminal degree in her field because of her gender.

111.        Upon information and belief, similarly-situated male employees of Moody have not

suffered: instructions to deny their qualifications in order to advance in the interview process,

being tasked with performing job duties beyond their rank and salary, denied promotions, denied

opportunities to receive tax deductions, being subjected to "secret" peer reviews and falsified

negative performance evaluations, nor being denied reduced teaching loads while pursuing

terminal degrees in their fields.

112.        Defendant Moody's actions in its administrators, supervisors, and employees

intentionally engaging in and condoning gender discrimination against Ms. Garrick has caused

her great mental anguish, humiliation, degradation, emotional distress, pain and suffering,

inconvenience, financial crisis, lost wages and benefits , future pecuniary losses and other

consequential damages.

                                             COUNTIII
                      Gender Discrimination Female in Violation of Title VII
                of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.

113.        Ms. Garrick re-alleges each of the paragraphs set forth above.

114.        This Count is brought by Plaintiff Ms. Garrick a "Title VII Class Member".

115.        Ms. Garrick filed a timely charge with the EEOC on behalf of herself and others similarly

situated.

116.        Moody, an employer of the Title VII Class Member within the meaning of Title VII, has

discriminated against Ms. Garrick in violation of Title VII by subjecting her to different treatment




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                                                A.114
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on the basis of her gender, including by engaging in intentional disparate treatment, and by

maintaining uniform policies and practices that have an adverse, disparate impact on her.

117.     Moody has engaged in an intentional, institute-wide and systemic policy, pattern, and/or

practice of discrimination against Ms. Garrick, the Title VII Class Member by, among other

things: maintaining a discriminatory system of determining compensation; maintaining a

discriminatory system for promotions; discriminating against the Title VII Class Member in pay

and promotions; discriminatorily denying development opportunities; subjecting Ms. Garrick to a

hostile work environment; and other forms of discrimination.

118.     These foregoing common policies, practices, and/or procedures have produced an

unjustified disparate impact on the Title VII Class Member with respect to the terms and

conditions of Ms. Garrick's employment.

119.     As a result of this disparate treatment and disparate impact discrimination, Moody has

treated the Title VII Class Member differently from and less preferentially than similarly-situated

male employees with respect to pay and promotions.

120.     Moody has failed to prevent, to respond to, to investigate adequately, and/or to

appropriately resolve this gender discrimination.

121.    Moody's conduct has been intentional, deliberate, willful, malicious, reckless, and

conducted in callous disregard of the rights of the Title VII Class Member, entitling Ms. Garrick

to punitive damages.

122.    Because of the continuous nature of Moody's discriminatory conduct, which persisted

throughout the employment of the Title VII Class Member, Ms. Garrick is entitled to application

of the continuing violations doctrine to all violations alleged herein.

123.    By reason of Moody's discrimination, Ms. Garrick is entitled to all legal and equitable




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remedies available for violations of Title VII.

124.     As a result of Moody's conduct alleged in this Complaint, Ms. Garrick has suffered and

continues to suffer harm, including but not limited to lost earnings, lost benefits, and other

financial loss, including interest.

125.     As a further result of Moody's unlawful conduct, Ms. Garrick has suffered and continues

to suffer, inter alia, impairment to her name and reputation, humiliation, embarrassment,

emotional and physical distress, and mental anguish. Ms. Garrick is entitled to recover damages

for such injuries from Moody under Title VII.

126.     Attorney's fees and costs should be awarded under 42 U.S.C. § 2000e-5(k).

                                            COUNTIV
       Retaliation Against Ms. Garrick for Engaging in Protected Activity in Violation of
          Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-3(a)

127.     Ms. Garrick re-alleges each of the paragraphs set forth above.

128.     As alleged above, Ms. Garrick reported gender harassment and an intimidating, hostile

and/or offensive work environment resulting from other employees, supervisors, and

administrators to her supervisors and administrators at Moody pursuant to her rights under Title

VII and under Moody's policies and procedures.

129.     Defendant Moody has retaliated against Ms. Garrick as alleged above for reporting that

harassment and an intimidating, hostile and/or offensive work environment based on her gender

by, inter alia, denying her qualifications in order to advance in the interview process, tasking with

performing job duties beyond her rank and salary, denying her a promotion, subjecting her to a

falsified negative performance evaluation, and ultimately terminating her.

130.     There was a causal connection between Ms. Garrick's complaints and the materially

adverse actions taken against Ms. Garrick by Moody.




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131.    The retaliation endured by Ms. Garrick would dissuade a reasonable employee from

making complaints of discrimination and harassment.

132.    Moody retaliated against Ms. Garrick for engaging in protected activity in violation of

Section 704(a) of Title VII, 42 U.S.C. § 2000e-3(a).

                                    PRAYER FOR RELIEF

        WHEREFORE, the plaintiff, Janay E Garrick, prays for relief as to all counts of this

Complaint as follows:

        A.     Enter judgment in favor of Ms. Garrick and against the Defendant for violation of

Ms. Garrick's rights under Title VII;

        B.      An order enjoining future violations by MBI;

        C.     Injunctive relief sufficient to eliminate unlawful and discriminatory policies and

procedures at MBI;

        D.     Payment of all costs of implementing and monitoring such injunctive relief;

        E.     Payment of the Plaintiff's lost past and future wages, benefits, and any other

income and/or monetary or monetized benefits of employment that she would have been entitled

to absent MBI's unlawful acts;

        G.     All other compensatory and consequential damages proven by the Plaintiff;

        H.     Punitive damages sufficient to punish MBI for its unlawful behavior and to deter

future discriminatory conduct;

        I.     Payment of the Plaintiff's attorneys' fees and all costs of litigation (including any

expert witness fees);

        J.     Pre-and post-judgment interest; and




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                                            A.117
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       K.      All other and relief, whether legal or equitable, that the Court may deem

appropriate.




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                                        JURY DEMAND

        The Plaintiff demands a trial by jury on all counts.

Dated: October 31 , 2019                              Respectfully submitted,


                                                      Isl Jana E. Garrick


Janay E. Garrick, Pro Se Litigant
POBOX385l
Tallahassee, FL 3230 I
(407) 803-3051
Janay.garrick@gmail.com




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                                             A.119
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                                      CERTFICATE OF SERVICE

          I, the undersigned, certify that on October 31, 20 l 9, I had the foregoing document served by
filing it with the Clerk's Office via USPS. On that day, I also served a true and correct copy of the
foregoing Plaint![f's Second Amended Complaint upon Defendant by causing said document to be
delivered to it via email, to which form of service it has consented, addressed as follows:

        Christian Poland
        Bryan Cave LLP
        161 N . Clark Street, Suite 4300
        Chicago, IL 6060 l
        christian.poland@bryancave.com



                                                           Isl Janay E. Garrick

Service List:

Christian Poland
Bryan Cave LLP
161 N. Clark Street, Suite 4300
Chicago, IL 6060 l
christian.poland@bryancave.com




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                              EXH IBIT A




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EEOC Form 161 (11/16)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:     Janay Garrick                                                                 From:    Chicago District Office
        c/o Jamie S. Franklin                                                                  500 West Madison St
        THE FRA.NKL\N U..'fl ~\RM LLC                                                          Suite 2000
        53 W. Jackson Blvd, Suite 803                                                          Chicago, IL 60661
        Chicago, IL 60604



        D                   On behalf of person(s) aggrieved whose identity is
                            CONFIDENT!AL (29 CFF? §1601. 7(a))
EEOC Charge I.Jo.                               EEOC Representative                                                  Telephone No.

                                                Zachary M. Florent,
 440-2018-02205                                 Investigator                                                         (312) 869-8040
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
        D        The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

        D        Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

        D        The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

        D        Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
        W        1ne 'c.'i:.OC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                  information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                  the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
        D        The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge .

        D        Other (briefly state)



                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years}
before you file suit may not be collectible.

                                                                   ,.. On behalf of the Commission



 Enclosures(s)                                                                                                             (Date Mailed)


· cc:       Tile Mood11 Bible Institute of Chicago
            c/o Christian M. Poland
            Bryan Cave LLP
            161 N. Clark Street, #4300
            Chicago, IL 60601




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          EEOC Form 5 (11/09\
                                                                                              Charge Presented to:           Agency(ies) Charge No(s):
                     CHARGE OF DISCRIMINATION
       Tnis lorm is affected by the Privacy Act of 1974. See enclosed Privacy Act             -_x_ FEPA
              Statement and other information before completing this form .                          EEOC       L(l(D- 2-o/c;?- 022os-·
                  Illinois De12artment of Human Rights, Chicago Comm ission on Human Rights and EEOC
                                                             State or local Agency, if any
Name (indicate Mr., Ms., Mrs.)                                                      Home Phone (Incl. Area Code)                Date of Birth
Ms. Janay Garrick                                                                       407-803-3051                          04-20-1976
                                                                                                                       \
Street Address                                                 City, State and ZIP Code
P. 0 . Box 1729                                                Orlando , FL 32802
Named is the Employer. Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.\
Name
Moody Bible Institute
                                                                             No. Employees, Members
                                                                             100+ Employees
                                                                                                                        I
                                                                                                                 Phone No. (Include Area Code)
                                                                                                                 800-356-6639
Street Address                                               City, State and ZIP Code
820 N. LaSalle St.                                           Chicago , IL 60610
Name                                                                         No. Employees, Members                     I
                                                                                                                 Phone No. (Include Area Code)

Street Address                                                    City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).)                                                         DATE(S) DISCRIMINATION TOOK PLACE

□ RACE          □ COLOR            0SEX           0 RELIGION            □ NATIONAL ORIGIN                    Earliest          Latest
                                                                                                             2016           12/31/2017
 0 RETALIATION               □ AGE □ DISABILITY                   □ GENETIC INFORMATION

 0 OTHER (Specify)                                                                                            0 CONTINUING ACTION
THE PARTICULARS ARE (If additional paper is needed, attached extra sheet(s)):

       I am a former faculty member at Moody Bible Institute (" MBI"). I was hired on December 1, 2014 as
an Instructor of Communications. I was terminated on April 17, 2017 in violation of Title VII of the Civil
Rights Act of 1964, as amended, 42 U .S.C. § 2000e et seq., because of my gender (female) and my religion
(egalitarian Christian). I was also retaliated against in violation of Title VII after I engaged iri protected
activity by complaining of discrimination. I bring this charge on behalf of myself and all others who are
similarly situated.
                                                                                                                RECEIVED EEOC
         Please see the attached additional pages for the particulars.
                                                                                                                            JAN O5 2011

                                                                                                               CHICAGO DISTRICT OFFICE

I want this charge filed with both the EEOC and the State or Local              NOT ARY - When necessary for State and Local Agency Requirements
Agency, if any. I will advise the agencies if I change my address or
phone num'oe, an'i) \ 'ti\\\ coci9erate fully with them in the processing of    I swear or affirm that I have read the above charge and that it is true to
my charge in accordance with their procedures.                                  the best of my knowledge , information and belief.
I declare under penalty of perjury that the above is true and correct.          SIGNATURE OF COMPLAINANT

         Date
                               ~J°""~~~---
                                      Cha~ Party Signature
                                                                                SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                (month, day, year)




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EEOC Charge of Janay Garrick
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Introduction

MBI is a private academic institution with a stated mission of training students for the Christian
ministry. It offers both undergraduate and graduate degrees. MBI receives federal funding from
Title IV federal student loan programs, and it is subject to the requirements of Title IX, which
prohibits discrimination on the basis of sex in federally-funded education programs and
activities.

I was hired on a year-to-year basis to teach in the Communications Program, which is one of two
programs in the Music and Media Arts Division. My direct supervisor was Brian Kammerzelt,
the Communications Program Head. Terry Strandt functioned as a higher-level supervisor and
the Chair of that Division responsible for performance reviews. I also reported to Larry
Davidhizar, the Vice President and Associate Provost of Faculty.

MBI has a doctrinal statement that all faculty members are required to sign . It holds that the role
of women in ministry is "complementary" - meaning that they are to be subservient to men and
are suited to minister only to other women and children. I made it clear from the beginning of my
association with MBI that I did not agree with this view, and that, in fact, I was an egalitarian
Christian, meaning that I believe that women are equal to men and should not be excluded from
any role in the church (or any other sphere). MBI knew my views when it hired me.

Pattern of Discrimination and Retaliation

From the beginning of my tenure at MBI, I was treated with hostility by some key members of
the administration and faculty. Before my campus interview, I was told to remove the reference
to being an ordained minister from my resume. I was not told why. Later it became clear that
because I was a woman, MBI did not want me to represent myself as an ordained minister.

Female instructors were confined to certain programs, like mine, while the Bible and Theology
Programs were staffed exclusively by men. In late 2015, I was asked to assist in forming a
committee to address women's concerns on campus . I was explicitly told that any changes
resulting from the committee ' s work should be small and incremental.

MBI retaliated against me for assisting students who had gender-related and other discrimination
complaints at MBI. For example, in January 2016, a black female student came to me for help .
She wanted to change her major to Pastoral Ministry, which is an undergraduate program that
teaches students to become leaders, pastors, and teachers in the church. MBI refused to allow her
to enter the program because of her gender. MB l's website at the time confirmed that the
~m.)grn.m was only open to male students.

I helped this student lodge the first Title IX complaint ever brought at MBI. At first, MBI denied
that the Pastoral Ministry program was not open to women, despite the fact that its website at the
time stated that the program was strictly for male students. Then MBI tried to convince the
student to take courses in another program . Ultimately it became clear that MBl had been




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EEOC Charge ofJanay Garrick
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discriminating against women by barring them from the Pastoral Ministry program from 1928
until this student filed her complaint.

MBI then dismissed the student's complaint, stating misleadingly that her concerns were
" programmatic" and were not "appropriately addressed through an investigatory process
designed to address discrete complaints of sexual misconduct." With my help, she appealed.
Professors made disparaging comments to her like "don 't you know the image of God is male?"
and "what makes you think you have the right to preach?"

The student and I continued to push MBI to open the program to all women, and I was open and
active in my opposition to MB I's discriminatory practices. As a result, in April 2016, MBI
announced that they intended to remove the discriminatory restrictions and open the Pastoral
Ministry program to women, after decades of denying them access, though MBI continues to
informally discourage women from applying. There are currently just three women in a program
that has approximately 60 students enrolled. However, as of the date of the conclusion of my
appeal of my termination (June 26, 2017), it is my understanding that MBI still had not removed
the gender restrictions from that degree program.

I also assisted a transgender student with her hostile environment concerns, which I reported to
faculty and administrators. That student ultimately left the institution because of the
discrimination and harassment she experienced.

As a result of my advocacy, I was retaliated against by MBI. For example, after a meeting of the
"Respect for Women Professionally and Ministerially" Committee, in which I stated that
denying women access to the ministry program was discriminatory under Title IX, my facul ty
mentor called me into her office. She admonished me by reading me the section of MB I's
doctrinal statement on gender roles, then asked, "How do you have any integrity working here?"

In February 2016, as a result of open hostility from faculty who were aware of my Title IX
complaint assistance, I called a meeting with the supervising Deans and Vice Presidents, Larry
Davidhizar and Bryan O'Neal, to talk about the hostile work environment and gender
discrimination I was experiencing. I also shared my concerns that other female students and .
faculty were being treated differently because of their gender. ln response, my supervisors
treated me with increased hostility and questioned whether I could sign the doctrinal statement
again. At the end of the meeting, they began to discuss terminating my employment, telling me I
should voluntarily leave MBI. I decided to stay and fight.

In September 2016, one of the theology professors at MBI drafted a proposal that would require
all students to sign a statement that they could not be both LGBT and also "love Jesus." I spoke
out against this blatant bigotry at an all-faculty and administration meeting and told a story about
a student who came to me in tears over being told one could not be gay and "saved." I submitted
and co-presented (with a male faculty member) a counter-proposal with an inclusive message.
Mr. Davidhizar pulled me into his office the next day and told me my speech was "inflammatory
rhetoric." He told me I was "not a Moody fit. " The male faculty member who co-presented the
proposal was never the subject of any disciplinary treatment.




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Shortly thereafter, MBI denied my application for a promotion in my rank as a faculty member.
I was still ranked as an " instructor" - the lowest category and pay at MBI- despite my extensive
experience and many accomplishments at MBI. As a result of this retaliatory denial, I lost both
professional status and the additional income that I would have received at a higher rank.

Mv Unlawful Termination

In March 2017, at my two-year review, Mr. Davidhizar made it clear that MBI was considering
not renewing my contract due to alleged "performance and interpersonal issues." Later that
month, Mr. Strandt again threatened to terminate me, and delivered to me a negative
performance review - the first written criticism of my performance I had ever received at MBI -
prepared by someone unfamiliar with my work and filled with inaccuracies .

On April 12, 2017, I met with Mr. Davidhizar and the Vice President of Human Resources. Mr.
Davidhizar told me that I did not fit in and that I was not aligned with the doctrinal statement.

On April 17, 2017, I was officially terminated because ofmy gender, my form of Christianity,
and in clear retaliation for my complaints about my own treatment and my complaints on behalf
of female students who were discriminated against.

I filed an internal grievance and went through the grievance process in the summer of 2017. MBI
engaged in a variety of tactics to thwart any chance of success. In my grievance document, I
presented testimony from 12 women who reported violations ranging from rape to harassment in
the classroom and on the campus. My grievance was denied on June 26, 2017 in a document
filled with more inaccuracies.

I am now seeking all damages to which I am entitled in law and equity, including reinstatem ent,
back pay, front pay, compensatory damages (including future lost income, emotional distress,
mental pain and suffering, inconvenience, and loss of enjoyment of life), attorneys' fees , costs of
litigation, and punitive damages.

I bring this charge on behalf of myself and all others similarly situated.




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                   U.S. EQ.UAL EMPLO YMEN T OPPOR TUNIT Y COMM ISSION
                                    Chicago District Office
                                                                                        500 West Madison SITTet. Suite 2000
                                                                                                       Chicago, IL 60661
                                                                                                      PH: (J 12) 869-8000
     FILE REVIEWS FA.X: (3ll) 869-8220                                                              TTY: (312) 869-8001
     MEDIATIO N: (J 12) 869-8060                                                    ENFORCEMENT FAX: (312) 869-8220
     HEARINGS FA.X·. (312) 869-8125                                                ST ATE & LOCAL FAX: (312) 869-8077
                                                                                            LEGAL FA)(: (J 12) 869-812-t




                          NOTICE OF DISCLOSURE RIGHTS
    Parties to an EEOC charge are entitled to review and obtain copies of documents containe
                                                                                                   d in their
    investigative file. Requests must be made in writing to Sylvia Bustos and either mailed
                                                                                              to the address
    above, faxed to (312) 869-822 0 or sent via email to sylvia.bustos@eeoc.gov (please chose
                                                                                                    only one
    method, no duplicate requests). Be !mre to i1tcl11de vo11r 11<1111e addre.'iS pltone number
                                                                       1         1              and   EEOC
    clwfge 1111mher with vo11r req11est.

   If you are the Charging Party and a R[GHT TO SUE has been issued, you may be granted
                                                                                        access to your
   file:

              Before filing a lawsuit, but within 90 days of your receipt of the Right to Sue, or

             After your lawsuit has been filed. H more than 90 days have elapsed since your
                                                                                                 receipt of
             the Right to Sue, include with your request a copy of the entire court complai nt (with
                                                                                                     court
             stamped docket number) or enough pages to determine whether it was filed based
                                                                                                    on the
             EEOC charge.

  [f you are the Re!ipondent you may be granted access to the file 011/v after a lawsuit
                                                                                           has been filed .
  fnclude with your request a copy of the entire court complaint that includes an official
                                                                                            court stamped
  docket number.

  Pursuant to federal statutes, certain documents, such as those which reflect the agency's
                                                                                            deliberative
  process, will not be disclosed to either party.

 You must sign an Agreement of Nondisclosure before you are granted access to the file,
                                                                                         which will be
 sent to you after receipt of your written request. (Statutes enforced by the EEOC prohibit
                                                                                            the agency
 from making investigative infonnation public.)

 The process for access to the file will begin no later than ten ( I 0) days following receipt of
                                                                                                    your request.
When the file becomes available for review, you will be contacted. You may review
                                                                                             the file in our
offices and/or request that a copy of the file be sent to you. Files may not be removed from
                                                                                              the office.
 Your file will be copied by Aloha Print Group, 60 East Van Buren, Suite 1502, Chicago
                                                                                                 , IL 60605,
 (312) 542-lJ0O. You are responsible for the copying costs and must sign an agreeme
                                                                                             nt to pay these
 costs before the file will be sent to the copy service. Therefore, it is recomm ended that you
                                                                                                 first review
 your file to determine what documents, if any, you want copied. EEOC will not review
                                                                                                your file or
provide a count of rhe pages contained in it. If you choose not to review your file, it will be
                                                                                                   sent In it.s
entirety to the copy service, and you will be responsible for the cost. Payment must be
                                                                                              made directly
to Aloha Print Group, which charges 15 cents per page.

(Revised 04/20/2016. previous copies obsolete)




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      Case: 21-2683     Document: 46         Filed: 07/31/2023   Pages: 130
          FILING SUIT IN COURT OF COMPETENT JURISDICTION
   PRIVATE SlHT RIGHTS


   The issuance of this Notice of Right to Sue or Dismissal and Notice of Rights ends the EEOC process with
   respect to your Charge. You may file a lawsuit against the Respondent within 90 days from the date you
   rece\\'e \his Notice . Therefore, you should keep a record of the date. Once the 90 day period is over, your
   right to sue is lost. If you intend to consult an attorney, you should do so as soon as possible. Furthermore, in
   order to avoid any question that you did not act in a timely manner, if you intend to sue on your own behalf;
   your suit should be filed well in advance of the expiration of the 90 day period.

   You may file your lawsuit in a court of competent jurisdiction. Filing this Notice is not sufficient. A court
  complaint must contain a short Statement of the facts of your case which shov,·s that you are entitled to relief.
  Generally, suits are brought in the State \Vhere the alleged unlawful practice occurred, but in some cases can
  be brought where rele vant emplo)ment records are kept, where the employment would have been, or where
  the Respondent has its main office.

  You may contact the EEOC if you have any questions about your rights, including advice on which court can
  hear your case, or if you need to inspect and copy information contained in the case file.

  lF THE FIRST THREE CHARACTERS OF YO UR EEOC CHARGE :",'u:\IBER ARE "21B" ~ YO UR Cll-\RG£ WAS
  I:'liHSTlG.-\ TED BY THE ILLINOIS DEPARTMENT OF H VMA:\ RIGHTS (IDHR), REQUEST FOR RE\1E\\'1NG A.\ D
  COPYI.\G DOCt,:.\IENTS FRO.\! YO UR FILE M1[§l BE DIRECTED TO IDHR.

  A lawsuit against a private employer is generally filed in the U.S. District Court.

 A lawsuit under Title VII of the Civil Rights Act of 1964, as amended, against a State agency or a political
 subdivision of the State is also generally fil ed in the l! ,S. District Court.

 However, a lawsuit under the Age Discrimination in Employment of the American with Disabilities Act or,
 probably, the Equal Pay Act against a State instrnmentality (an agency directly fund ed and controlled by the
 State) can only be filed in a State court.

 A lawsuit under the Age Discrim ination in Employment Act or the American with Disabilities Act or the
 Equal Pay Act against a poli tica l subdivisi on of a State, such as municipalities and counties, may be filed in
 the U.S. District Court.

 For a list of the U.S . Distric t Courts, please see the reverse side .

.A HORSEY REPRESENT A TIO.'{

 If you cannot afford an attorney, or have been unable to obtain an attorney to represent you, the court having
jurisdiction in your case may assist you in obtaining a law·yer. If you plan to ask the court to help you obtain
a lawyer, you must make this request of the court in the form and manner it requires. Your request to the
court should be made \veil in advance of the 90 day period mentioned above. A request for representation
does not relieve you of the obligation to file a lawsuit within the 90-day period.

DESTRL'CTION OF FILE

If you file suit, you or your attorney should forward a copy of your court complaint to this office. Your fill!
will then be preserved. Unless you have notified us that you have filed suit, your Charge file could be
destroyed as early as six months after the date of the Notice of Right to Sue.

If YOt FJLE SLH, \'Ot OR YOlIR ATTOR.'iEY SHOlILD ,\ OTIFY THIS OFFICE WHE:-i THE L.-\ \\'SllT IS RESOL \F.D.




                                                   A.128
